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                                    EXHIBIT A




Date: July 8, 2015


Case name: P         -M        family
Contractual arrangement: The Family Assessment Clinic through Co-Director, Kathleen
Coulborn Faller, Ph.D., was contacted by James R. Marsh of the Marsh Law Firm on
February 3, 2015 to undertake a document review and family member assessments related
to the exploitation of the P     -M       children in pornography. The contract specifies a
fee of $295 an hour for work on this case (document review, interviews, testing, report
writing, deposition, and court testimony) paid to Catholic Social Services of Washtenaw
County. No personal compensation is received for this review. The Clinic’s administrative
support and internal consultation are not billed.
Brief biographical sketch: KATHLEEN COULBORN FALLER, Ph.D., A.C.S.W., D.C.S.W., is
Marion Elizabeth Blue Professor Emerita at the University of Michigan. She is also Co-
Director of the Family Assessment Clinic at Catholic Social Services of Washtenaw County.
Dr. Faller is involved in research, clinical work, teaching, training, and writing in the area of
child welfare, child sexual abuse, and the child welfare workforce. She conducts case record
reviews where the issues related to child sexual abuse, other types of child maltreatment,
and child welfare and social work best practice. She has conducted over 300 juried
conference presentations at state, national, and international conferences and over 250
workshops.
She is the author, editor or co-editor of 10 books, including Social Work with Abused and
Neglected Children (The Free Press, 1981), Child Sexual Abuse: An Interdisciplinary Manual
for Diagnosis, Case Management, and Treatment (Columbia, 1988), Understanding Child
Sexual Maltreatment (Sage, 1990), Child Sexual Abuse: Intervention and Treatment
(Department of Health and Human Services, 1993), the American Professional Society on
the Abuse of Children Study Guide: Interviewing Children Suspected of Having Been Sexually
Abused (Sage, 1996), Maltreatment in Early Childhood: Tools for Research-based Intervention
(Haworth Press, 2000), Understanding and Assessing Child Sexual Maltreatment, Second
Edition (Sage, 2003), Interviewing Children about Sexual Abuse: Controversies and Best


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Practice (Oxford, 2007), Seeking Justice in Child Sexual Abuse: Shifting Burdens and Sharing
Responsibilities (Columbia, 2010) and Contested Issues in Child Sexual Abuse Evaluation
(2014), as well as approximately 100 research and clinical articles.
Reason for referral: The P       -M       family was referred by James R. Marsh of the
Marsh Law Firm for evaluation based on the M           children’s victimization through child
pornography. The producers of the pornography were R                     M       , the
children’s biological father, and J    B      , a General Motors executive. Both men are
currently incarcerated, but they distributed the pornography on the internet. Thus, the
images are still available and involve scores of additional offenders who have accessed,
traded, shared, and utilized the M       children’s sexual abuse images.
The questions the Family Assessment Clinic was asked to address are as follows:
1.      The psychological harm that the children, and their mother, have suffered and are
likely to suffer because of the child pornography which is widely available online and is still
being collected, viewed, and traded.
2.      The impact that the existence and wide distribution, trading, collecting, and viewing
of Erin and Fiona’s child sexual abuse images had and will have on their ability to form and
maintain relationships.
3.      How it will likely impact Erin and Fiona’s ability to one day have a family.
4.      How it impacts the family on a daily basis.
5.      What medical services will Erin and Fiona likely need over their lifetimes including
physical, psychiatric and psychological care?
6.      Overall impact on Erin and Fiona’s potential for “enjoyment of life.”
7.      How the existence and wide distribution, trading, collecting, and viewing of Erin and
Fiona’s child sexual abuse images caused and will cause additional and long-lasting harm
beyond the original abuse.


Process of evaluation: Background materials related to the criminal cases against R
M       and J     B      and other documents furnished by the Marsh Law Firm were
reviewed. The list of these documents can be found in Appendix 3.
On Feb. 24, 2015, Dr. Faller, assisted by Nicole Hall, M.S.W. graduate student at the
University of Michigan School of Social Work, interviewed A          P      , mother of the
victims, and “Erin” and “Fiona ,”. Mrs. P
                                1              was interviewed for two hours in the morning
and then for about 15 minutes after lunch. Then Erin was interviewed for a little less than
an hour and Fiona for a little more than a half hour. Dr. Faller’s curriculum vitae is attached
(Appendix 4).
On the Feb. 24 date, family members also completed standardized measures, which were
subsequently scored (See Appendix 2). Scoring was supervised by Mary Ortega, L.M.S.W.,
A.C.S.W. Her resume is attached (Appendix 4).


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    The victims’ names have been changed to protect them.


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“damaged version of me.” She recognizes that she will never be the person she was before
she discovered that her children were violated through child pornography. She knows that
this has impacted all her children. She said that C     , who was a year old when this all
occurred has never known her as she was before. C          is now 6.
The Federal Case: The Federal case concerned the production, possession, and distribution
of child pornography. Ms. P       ’s ex-husband was arrested on July 10, 2010. His
arraignment occurred in August 2010. He pleaded guilty in August 2011 and was sentenced
in September 2011. He received a 45 year sentence in the Federal case. His was the first
case to be resolved and it took over a year.
In order to avoid the potential impact of the arraignment on the children, the family went
to Chicago. They were in a hotel when their phones started ringing (Ms. P          said
“blowing up”). She describes having a panic attack, bolting from the hotel room, leaving the
hotel, crossing the street to a bus stop and considering stepping in front of the bus and
ending her life. The event that snapped her out of this response was a text from Erin saying,
“Mom where are you? I’m really worried about you.” When asked if that was the only time
she was suicidal, she said she had thought about suicide many times. She has also wanted
to run away, to leave the state with her family to get away from their environment and start
over.
Mrs. P        describes the professionals involved in the Federal case as being very
supportive of her family throughout the legal process. She described a social worker named
Amy who became their advocate. The Federal officials protected the family from the media
even though the cases against both perpetrators, Mr. B         and her ex-husband, were
featured prominently in the media. The Federal officials were quite concerned about the
family’s safety because her ex-husband had provided information on the internet that could
identify who they were and where they lived. The FBI even advised Ms. P            to change
the children’s names although she ultimately decided not to do so. The children had to
change schools in order to be in a safe school environment, which resulted in them losing
all their friends and their support systems. The transition was especially difficult for her
twins, who were 15 and involved in theater. The school they left was in their father’s
district, and the one they transferred to was in Mrs. P      ’s district. The former school
district was superior, which is why the children were attending school there.
At the sentencing in the Federal case against her father in September, 2011, Erin read her
victim impact statement as did Ms. P       . The other children were apparently present, but
did not read their statements in court. Ms. P      said that Erin’s knees were shaking. She
also reported that her ex-husband was pretending to cry which, according to one Federal
agents’ impression, was to drown out what Erin was saying. Ms. P          described speaking
to the judge as the “most important and scariest thing I have done in my life.” She added,
“There aren’t words to describe the pain” of what she experienced then and continues to
experience now.




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The State Cases: The State cases concerned the violation of Michigan law which included
digital vaginal penetration and cunnilingus on Fiona. These cases were against her ex-
husband and Mr. B          . These cases were important to Mrs. P       because they involved
the physical sexual acts against her children. However, she felt that the local prosecutors
did not handle the case in the manner she anticipated. She explained that there was a
reduction in the charges based on a technicality and an apparent wish on the prosecutors’
part to “get the case over with.” Even though the Federal case had already concluded and
her ex-husband and Mr. B           had been sentenced to 45 and 35 years respectively, the
failure of the local district attorney to vigorously prosecute the State cases was another
source of distress for Mrs. P        .
Mrs. P         went to the sentencing of both her ex-husband and Mr. B        , and read her
victim impact statements. She would not let her children go to their father’s sentencing,
which was fortunate since. he used the occasion to rail against her for her inadequacies as a
wife, as if attempting to blame her for his sexual exploitation of their children and the other
children.
Impact upon Employment: Ms. P           ’s career suffered as a consequence of the
victimization of her children through child pornography. She described herself as having a
reputation of being highly dependable and excelling in the work environment. After she
discovered what happened to Erin and Fiona, she began missing meetings and double
booking appointments. Ms. P         was grateful for having a boss who was most supportive.
Her boss moved her to a position where she was more isolated--and where her errors did
not have such an impact--but definitely the sexual exploitation of Erin and Fiona negatively
impacted her ability to seek promotions and her earning capacity. Indeed, she was often
fearful that she would be fired. She also said she “missed a ton of time from work.” She felt
compelled to attend court hearings and she had to take care of her children. She said that
even though she had sufficient vacation time to cover lost days, this meant that she did not
have vacation time to do things with her family.
Impact on the Marriage: Ms. P         described the serious impact that the child
pornography had on her marriage. She explained that when she and her husband, A                ,
married, they agreed that he would be a stepfather to Erin and Fiona and not attempt to
replace their father. The situation that he is in now is not what he ever anticipated or
bargained for. Ms. P        described the entire nightmare as “not fair” to him. There is now
a great deal of tension in their marriage especially as it relates to parenting. She tells him
that he should just leave and that they should separate, while he responds that he wouldn’t
do that because then she would be left to cope alone.
Impact of the Response of Mr. M        ’s Family: Erin and Fiona’s paternal grandparents,
who live on the next street over from the P       ’s residence, have exacerbated the impact
of what happened. Ms. P        reported that instead of being supportive of their
grandchildren, they are supportive of her ex-husband. She said this troubling behavior
started right after Mr. M      was arrested. They were apparently unaware of what


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happened and repeatedly demanded the key to Mr. M           ’s residence from Ms. P          so
they could go into the house and clean it. They called repeatedly. At one point, Ms. P
confronted her ex-mother-in-law, saying, “Your son raped my daughters.” Ms. P
thinks that Mr. M       ’s mother did not know that his own children were his victims.
Ms. P       finally gave her ex-in-laws the key to Mr. M         ’s house. When she and Mr.
M        divorced, she left most of the children’s possessions in the house so it would seem
like home when Erin and Fiona visited their father. Although the children were able to
enter the house one time after Mr. M         ’s arrest to retrieve their possessions, most of
the children’s things were still there. Mrs. P       reported that her ex-in-laws had garage
sales where they sold off Erin and Fiona’s belongings. Moreover, they would often leave
notes in the P       mailbox demanding, for example, that Ms. P            to pay Mr. M      ’s
outstanding bills. Because these various notes were so disturbing, she asked her husband
to retrieve the mail and deal with the demands. The paternal relatives also stalked P
family members. She described a time when Erin was home alone and a paternal sister-in-
law came to the door. Erin hid in the house and called her mother. Mr. M           ’s family
members would also show up at places the P             family frequented such as their gym.
Impact on the Children: Mrs. P        stated that her children now have a mother who is
crying all the time. She also revealed that her parents did not know how to help. Her
children went to each other for support, which Mrs. P         said “may not have been the
best.” One of the twins tried to commit suicide. The other has an eating disorder. Erin is the
most affected. Her acting out and risk-taking behaviors are not only dangerous to herself
but are also very distressing to Mrs. P       and a source of conflict with her husband.
Impact upon Ms. P         ’s Functioning: In addition to the immediate impact on her
parenting, Ms. P        described some longer term impacts from the production,
distribution, and possession of her daughters’ child sexual abuse images. She reported that
she overindulges her daughters, spending excessively on them. She also revealed that she is
very fearful now. Because Mr. M         put Erin and Fiona’s identifying information on the
internet, Ms. P       is afraid that someone will kidnap her daughters. She said, “How do I
let them spend the night” with friends? She stated that only after two years of counseling
did she finally conclude that she could not have known about her ex-husband’s deviance
and his production of child pornography. .
She added that the impact from child pornography is not limited to her parenting and
marriage, but affects every relationship she has. When asked if the impact was less today,
Ms. P       reported that it was not; although the impact was different, it was not less. She
used the analogy of being repeatedly hit by a truck. She gets up, and then the truck hits her
again and again and yet again. She is aware that the effect from child pornography will
never end, in part because it will affect her children at different developmental stages, but
mostly because Erin and Fiona’s child sexual images are available online to everyone
everywhere constantly forever.




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Ongoing Effect from the Existence of Child Pornography: Ms. P         was asked about the
impact of the existence of Erin and Fiona’s child sexual abuse images on the internet. She
said that the Department of Justice regularly updates her when more offenders are found
and keeps her abreast of the progress of pornography cases involving images of her
children. Initially, these notices came via the regular mail. Now most come via email. When
they were coming in the mail, she had to stop her children from retrieving the mail from
the mailbox. The volume is very high, in the hundreds. For example, she said in the last two
weeks (in February, 2015), she received 35 emails. However, she says she thinks they
represent approximately 150 cases. Some cases have more than a single offender. Each
notification represents a new assault on her children and on her family. She was asked
about her daughters’ awareness of the new cases. There is an attempt to shield them, but
this is not always possible.
                           Interview with Erin M          , age 16
Erin was interviewed for a little less than an hour on February 24, 2015 as part of a family
assessment to evaluate the impact on her and her sister from the production, distribution,
and collection of their child sexual abuse images starting with her father and his
collaborator, J     B     . This impact includes the effect of the original criminal acts and
the ongoing impact of the wide availability of her child sexual abuse images on the internet.
Erin was forthcoming, frank, and cooperative during the interview. She does not enunciate
clearly, so some of her answers were unclear. She also became quite upset during the
session, and so we did not probe beyond what she volunteered about the child
pornography.
When we asked Erin if she understood why she was here, she replied “To talk about how
what dad did affects our lives.” We then asked some rapport-building questions before
asking questions about how child pornography had impacted her life.
Erin said she is in the 11th grade and that school was OK. She goes to            , and it is a
nice school. Her subjects are government and economics, algebra 2, English, art, and
chemistry. Her favorites are art and chemistry. She acknowledged that her grades are
uneven. She said in the 9th grade she had all As. Presently her grades vary from As to Fs. She
intends to finish high school and wants to pursue art or go to college, perhaps go to college
and then pursue art. Although she is at the age that most adolescents who intend to go to
college have selected schools, she has not considered where she might go. As to art, she
draws and likes pastels. She brings her art home from school and has it in her room.
We asked her about her siblings. She first spoke of the twins, who are S         and K      .
Erin said that she does not talk very much to K       . She did not know where K         was
attending school, but knew that she was currently doing an internship in Florida. S
(Dan), who appears to be transgendered, attends                     University. Erin described
S      as cool and said she talks to him a lot. S     wants to be a boy. Erin wishes he
spent more time at home. She is closest to Fiona, whom she described as wild and funny.


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They do lots of things together, such as watching TV. She described C           not as a sister,
but as a half-sister, and said she was spoiled.
When asked about her mom, Erin said that they fight a lot. They butt heads. Her mother is
upset about her grades. Also they fight about the fact that Erin smokes and skips school.
When she skips school, she hangs out with friends. Sometimes she will just go and sit in a
friend’s car instead of going to class. She wants to be alone. She also sometimes leaves the
school grounds. When she is caught for these behaviors, she is grounded, which means she
is not supposed to be able to see her friends. She sneaks out anyway.
Erin has considerable insight into her risk-taking behavior. She is aware that it derives
from her father exploiting her and her sister to produce child pornography. She also knows
that these behaviors are self-destructive, but she said that sometimes she just doesn’t care.
What happens is even though she knows she is harming herself, she acts out anyway to
change the day. She also admitted that she is sad a lot of the time, and the acting out
disrupts her feelings of sadness.
When asked about her stepdad, whom she calls A         , she described a recent incident.
Fiona’s dog peed in the house, and her stepdad threw the dog out of the house. Fiona
became very upset and was crying and Erin was crying.
Erin also revealed that her mom and stepdad fight a lot. In her view, her mom is mad at her
stepdad and takes it out on her. When asked, Erin said sometimes her mom takes it out on
Fiona. She added that Fiona can be rude sometimes, but she doesn’t mean to be. Erin said
the mood of the family is mostly not good.
We asked Erin to describe a recent incident when her mom took her anger out on Erin. Erin
said that she was going on a cruise from Miami. Erin was going with a friend and the
friend’s family to Miami and then on the cruise. Her mother and stepdad had been fighting
the whole day. Erin was supposed to be packing. She said her mother came into her room
and started yelling at her. Evidently her mother was afraid Erin wouldn’t be packed in time
and would make the friend’s family miss the plane. Her stepfather came into the room and
also started yelling at Erin. He said, “Fuck You” to Erin, and she called him an “asshole.”
A         then “called her the C word (cunt).”
Erin said her mother and stepdad fight about three times a week. She added, “I really hate
listening to them.” She said, “It has gotten physical a couple of times.” These fights lead to
her mother crying and leaving the house. Sometimes her mother just sits in the car. When
asked if the parents make up, she said, “They never make up.” She then said that everyone
in her family is stubborn. She said, “This is not fun for me.”
She has some insight into the arguments. She said, “My mom has bad anxiety.” She said that
this got much worse when her dad was arrested.
We then asked Erin about how she found out her dad was arrested. She said a detective
came to the house. The kids had to go outside, and mom was inside talking for a long time.


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She knew her dad had done something illegal. Then they had to go to      House. She knew
that the detective was suspicious about her mother because her dad said she was a drug
addict. She said the kids were interviewed at    House. They were asked if their dad ever
gave them medicine.
A friend had seen her dad get arrested. Friends would “call me and bother me.” Parents of
her friends were instructing them to ask her what was going on. Erin just told them that
her dad was in Florida.
She also said that they had to change schools, and the middle school she had to go to was
not a good school. She said she got into drugs and she was suspended from that school
twice.
Erin admitted, “My dad and me were really close.” “I looked up to him.” She described him
as easy to talk to, but did say that he had a really bad temper. Her friends had seen him lose
his temper, and they were scared of him. Erin then began crying and cried for quite a long
time.
Erin also revealed that “There was no food in the house (father’s house).” She would have
to call her mom to find out what she could make from what there was in the house. The
house was also really dirty and messy. She said Fiona’s room “was so trashed” that Fiona
slept in their dad’s room. She said that she and her brother (S     ) had their own rooms.
She then explained that her dad would only want Fiona with him and would get really mad
when the other kids were there. She said the day before her dad was arrested Fiona was
supposed to go for a visit with K       because K       was going to visit a friend in a
nearby town. Her dad got really mad and cancelled the visit.
We also asked her about dad’s friend and co-conspirator, J     , whom she said was really
weird. She also revealed that her dad had another friend, Ace, who would call and that she
would answer the phone. Her dad refused to talk to Ace so Ace would talk to her. He
sounded nice on the phone and she felt bad that her dad didn’t want to talk to him.
Erin described reading her victim impact statement at her dad’s sentencing (she called it
his arraignment). She again was crying. She was very scared and felt bad for her dad, but
she told him that he had ruined her life. She said she hated switching schools, moving out of
her house, and having to leave all her stuff. She added, “He really messed up my life.” She
said she felt bad that she made him cry when she read her statement.
Erin also spoke about the longer term effects of her father’s exploitation of her to produce
child pornography. She said that she has issues with boys. She can’t have a stable
relationship; yet she feels compelled to have relationships with boys, often several at a
time. She said she had an abusive boyfriend, but she “just put up with it.” She still has a
relationship with him but also with other boys. She said, “I feel bad about myself.” “I just
want to feel loved.” She started being sexual at 13 and had intercourse at 14. She does not
use a condom, even though she does not want to get pregnant. She added, “I feel sad a lot. I
hate feeling sad. I don’t care about myself.” She described herself as reckless and not caring


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about what happens to her. It is “impossible to be happy.” She said, “My family is so
different” since her father’s child pornography crimes were discovered. “I don’t want to
trust.” “He (her dad) was supposed to care. He’s your parent. How are you supposed to live
with this?”
Erin is currently seeing a therapist. She likes her and has seen her twice. She couldn’t
remember her therapist’s name, however.
Impressions:
Erin has been markedly affected by her father’s betrayal and the production of child
pornography by her father and his accomplice, J       B      . Moreover, she is old enough to
understand that other pedophiles and child molesters are distributing and collecting her
and her sister’s child sexual abuse images, and the implications of having her images on the
internet. Of her siblings, she appears to have been the closest to her father. Nevertheless,
she was the child who was so moved by the impact of her sexual exploitation (which
impacted not just her but her entire family) that she read her victim impact statement in
court.
Of grave concern is her depression and her method of coping with it. Essentially she is
engaging in risk-taking behaviors, promiscuity, unsafe sex, using drugs, smoking, and
skipping school to alleviate her depression. At the same time, she is aware that her sexual
behavior is an attempt to find love that she lost in her relationship with her father. What
her father did serves as a model for exploitive close relationships, which she reports
compulsively repeating.
Her description of how her stepfather treats her is concerning because what he is doing is
reinforcing her sense of herself as damaged goods. Moreover the regular fights between
her mother and stepfather exacerbate her depression and present yet another model for
toxic adult behavior.
                           Interview with Fiona M          , age 13
Fiona was interviewed for a little over a half hour on February 24, 2015 as part of a family
assessment to evaluate the impact on her and her sister from the production, distribution,
and collection of their child sexual abuse images starting with her father and his
collaborator, J     B     . This impact includes the effect of the original criminal acts and
the ongoing impact of the wide availability of her child sexual abuse images on the internet.
Fiona was asked what she knew about coming to the Family Assessment Clinic and she said
to talk about her dad. She presented as quiet and cooperative, although she did not
volunteer information and her answers were short. To build rapport, we talked about
school and a typical day.
Fiona is in the 7th grade and named her school as Middle School. She said she does not like
school; it is boring, but she gets really good grades. Her subjects are math, Spanish, social



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studies, science, and English. She also is in a support class where she does her homework.
Her grades are As and Bs. She does not do any afterschool activities. She used to do dance.
A typical day begins with her mom waking her up. She then goes back to sleep and her
mom wakes her up again. She gets up, puts on her make-up, gets the bus, goes to school,
attends all her classes, comes home, and eats dinner. Her mom usually cooks, but her
stepdad can make tortellini alfredo. Chores are to clean her room, and she and Erin do the
dishes.
We asked her who was in her family and she named her stepdad, Erin, C              , me, and
mom. She was asked about each family member. With regard to C               , she said she is 5,
they get along, but C          whines. She plays games with C          and they watch
wrestling. About Erin, she said they are really close and lately they have gotten closer. Erin
is often sad, but she can rely on Fiona. They are talking more.
She described her mom as really nice, but also she yells a lot. Her mom and stepdad fight.
When they have a fight, she goes to her room. She said her stepdad is nice and said he had
bought tickets for them to go to a wrestling match on March 10.
She then related an incident when her stepdad was really angry and screaming because her
dog peed inside the house. Her dad threw the dog out of the house. The dog is named
Champ, he is a bulldog, and he does lots of things he is not supposed to do. He jumps on the
couch, chews stuff up, and pees in the house. He is 7 years old. She cried when her stepdad
got angry at Champ and Erin gave her a hug.
With regard to K         , Fiona just said, “She’s rude to me.” She is very fond of her brother
who goes to                    University. She called him Dan instead of S        . Fiona said he
is helpful and he is a “good sibling to me.” She asks him to come home for the weekend and
she is really glad he will have a Spring Break next week and will be home.
When asked about her dad, she said he would buy her things and “was really nice to me,
but not to my brother.” She added that his house was messy and he never cleaned. She
would visit him two times a week, Wednesdays and the weekend. When she would go
there, she would hang out with her friend, Teresa, and talk to Erin. Her dad would cook
when she visited, noodles or beef stroganoff, which Fiona said was “really good.”
When asked about her father’s arrest, Fiona said they had come back from Frankenmuth,
and didn’t know about the child pornography. She was scared. The detective came over,
then a lot of stuff happened for about two weeks, and then it was over. She knew that her
“sister (Erin) did a speech” and then her sister “came over and tried to cheer me up.” She
added that she wished she had said hi to her dad in court.
Because Fiona’s response was so muted, we asked her what she thought about what
happened to her dad, and she explained, “He’s in prison for a reason.” She claimed not to
remember that much and not to know details about what he did.



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When asked how what her dad did affected them, she said that it really affected Erin, who
is making bad choices. She also added that it “affected my mom a lot.” She said it made her
closer to her siblings. She hasn’t talked about her dad in a long time and thinks about him
sometimes.
She said she went to counseling after her dad was arrested and thinks she wants to go back
to counseling now. She believes the sexual exploitation affects her, but she doesn’t think
about it much.
Fiona was asked what she would wish for if she had three wishes. She said:
    1. “That this would never have happened (the sexual exploitation).”
    2. “My mom and stepdad wouldn’t fight.”
    3. “My brother still lived with us.”
Impressions
Fiona has erected a protective wall around herself with regard to having been sexually
exploited by her father, J    B      , and the scores of other offenders who have access to
the images of her being sexually abused. The fact that she was drugged at the time helps
make this possible. At the same time, she knows that the abuse is affecting her. She is also
acutely aware of how the sexual exploitation has devastated her family, especially Erin, the
sibling to whom she is the closest. It has also wreaked havoc in her world because of the
exploitation’s impact on her mother, who cannot function as a consistent nurturing parent,
and because it has led to chronic strife between her mother and her stepfather.
It is very likely as Fiona becomes older, her protective wall will crumble. She will come to
appreciate the reality of her exploitation. She is just entering puberty. As she becomes
more aware of herself sexually, the trauma of her abuse and exploitation will have
additional negative impact.
Summary of the Projective Testing results on A             P      , Erin M        , and Fiona
                                     M
Dr. Toplyn’s test findings and interview results augment and corroborate other information
related to the impact from child pornography and its wide and unending availability on the
internet on these family members. This section of our report highlights additional findings
by Dr. Toplyn. See Appendix 1 for the Dr. Toplyn’s reports.
Projective tests provide the respondent with ambiguous stimuli, with the intent of allowing
emotions and internal conflicts to be revealed in their responses to the stimuli. The
responses to projective tests are then content analyzed for meaning.
A      P
Projective measures employed with Mrs. P           were the Thematic Apperception Test and
the Rorschach.



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With regard to Mrs. P       , her responses were significant for trauma, anxiety, and
depression. She feels that she has been stuck in negativity too long and yearns for less
chaos, peace, and time for herself. She also feels resentful that her feelings don’t count. Her
experience with the sexual exploitation of her daughters and her experience with the
aftermath have undermined her ability to trust others.
Erin M
Projective measures employed with Erin were the Thematic Apperception Test, the
Rorschach, and the House, Tree, Person.
With regard to Erin M          , Dr. Toplyn’s findings reinforce grave concerns about the
impact of the child pornography and its availability on the internet on her. First, Erin
believes, like her sister, Fiona, she was also drugged, sexually abused, and had pictures
taken. Second, Erin described to Dr. Toplyn additional instances of sexual exploitation.
When in the eighth grade, she would provide sex to any boy who asked her because it was
easier than saying “no.” Often this was oral sex, although she had and continues to have
unprotected sexual intercourse, even though she does not want to get pregnant. She also
described giving sex to boys as a way to feel wanted. Third, she has a serious substance
abuse problem. This includes stealing Oxycontin and Xanax from her mother and smoking
marijuana daily, which she said she does to make her calmer and happy. She resorts to
other drugs when marijuana is not producing the calming effect.
With regard to the projective testing, although Erin does have some strengths, specifically
that she is very attuned to her world and is interested in support and human contact, she
has significant vulnerabilities. She feels badly about herself and experiences “damaged
goods syndrome.” She is depressed; she is both angry at her father for messing up her life
and sad at the loss of him in her life. She also feels unheard by her mother. Much of her
sadness and anxiety center on issues of her sexuality.
Fiona M
Projective measures employed with Fiona were the Thematic Apperception Test, the
Rorschach, the Sentence Completion, and the House, Tree, Person.
Fiona’s strengths are in relationships with others and her ability to integrate thoughts and
feelings.
Although Fiona denies thinking about her father, her projective test findings indicate he is
very much on her mind. She thinks what her father did was a terrible thing, and it has
resulted in fears of being around older men. She has a fair amount of unconscious anxiety,
especially about the lower half of her body. She spends a lot of time in her head with little
awareness of her physical body. There was a sense in her stories that something has been
stolen from her (probably her innocence or past life), and she is very angry about this loss.
In addition, she experiences herself as small and helpless. She has a sense of herself as not
as important as other people.

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Her projective measures indicate she sees quiet defiance as the only strategy to gain
independence; at the same time she feels guilty about being defiant.




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                            Results of Standardized Measures
To gather additional information about the impact of sexual exploitation and the
availability of the sexual abuse images of Erin and Fiona M     , the girls and their mother
completed standardized instruments that yield data about various aspects of functioning.
Mrs. P        completed the Achenbach System of Empirically Based Assessment
(ASEBA) Child Behavior Checklist (CBCL) and the Trauma Symptom Checklist for
Young Children (TSCYC) on Erin and Fiona. The girls completed the Youth Self Report
(YSR) and the Trauma Symptom Checklist for Children (TSCC) on themselves. See
Appendix 2 for tables displaying complete findings.
The CBCL and the YSR gather data about comparable domains, the CBCL from a caretaker
and the YSR from the youth. Similarly, the TSCYC gathers data from a caretaker and the
TSCC from the young person. The CBCL has 9 subscales, an internalizing (self-traumatizing)
sub-score, an externalizing (acting out) sub-score, and a total problems score. The YSR has
6 subscales and a total problems score. The TSCYC has 9 subscales and the TSCC has 10
subscales.
There is a convergence of findings between mother and each daughter, with some
differences (Rescorla et al., 2013). The findings indicate that at the time the data were
collected both girls have marked and worrisome symptoms related to their sexual
exploitation. These data are consistent with interview and projective testing findings.
With regard to Erin, both mother and Erin rate Erin in the clinically significant range on the
total scores of the CBCL and the YSR. Mother rates Erin as in the clinical range on 7 of the 8
subscales and both internalizing and externalizing behavior sub-scores. Erin rates herself
as in the clinical range on 4 of the 6 subscales of the YSR and in the borderline clinical range
on 1. On the TSCYC, mother rates Erin in the clinically significant range on 6 of the 9
subscales. On the TSCC, Erin rates herself in the clinical range on 7 of 10 subscales. Mother
does not rate Erin as having clinically significant sexual concerns, but Erin rates herself as
having clinically significant sexual concerns.
With regard to Fiona, mother rates her as in the clinical range on 3 of the 8 subscales of the
CBCL and in the borderline range on 5. She scores Fiona in the clinical range on the
internalizing, externalizing and total scores of the CBCL. Fiona rates herself in the clinical
range on one subscale of the YSR and in the borderline range on 3 subscales. Consistent
with her mother’s total score for her on the CBCL, Fiona’s total score on the YSR is in the
clinical range. Mother’s rating of Fiona on the TSCYC indicates clinically significant scores 7
of the 9 subscales and 1 as potentially problematic. Fiona rates herself as having clinically
significant symptoms on three of the 10 subscales and potentially problematic on 1.
Neither Fiona nor her mother rate her as having sexual concerns at this time.
Overall the standardized measures indicate both Fiona and Erin suffer from depression,
use dissociation to cope with their trauma, and have symptoms of post-traumatic stress
disorder.


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                                         Questions
Responses to the questions posed by the Marsh Law Firm are based upon the data available
at the point the impact statement was prepared. These opinions may supplemented based
upon additional information and materials.
1.     The psychological harm that the children and their mother have suffered and
are likely to suffer because of their exploitation through Child Pornography, which is
widely available online and is still being collected.

Although the child pornography features images of the both Fiona and Erin, the
pornography negatively impacts upon the whole M          -P     family. The fact that the
child sexual abuse images were posted on the internet and are being repeatedly
downloaded by individuals who use them to satisfy their pedophilic interests are sources of
ongoing trauma to the family and will continue to negatively impact Fiona and Erin as they
enter adolescence and adulthood.

Mrs. P       was asked about the impact of having child pornography featuring her
daughters on the internet. She said that the Department of Justice regularly updates her
when more offenders are found and keeps her abreast of the progress of cases involving
images of her children. Initially, these notices came via the regular mail. Now most come
via email. When they were coming in the mail, she had to stop her children from retrieving
the mail from the mailbox. The volume is very high, in the hundreds. For example, she said
in two weeks in Feb. 2015, she received 35 emails. However, she says she thinks the total
number of cases is approximately 150. Some cases have more than a single offender. These
new cases represent ongoing assaults on the M          -P       family and the family’s
privacy. Mrs. P      was asked about her daughters’ awareness of these new cases, and she
said that depended upon where they were when she received a notification. There is an
attempt to shield them, but this is not always possible.

The stress associated with the sexual exploitation of her daughters has also gravely
compromised Mrs. P        ’s functioning as a mother and a wife. See the response to
question 2.


2.     How the Child Pornography which is available online and is still being
downloaded, viewed, and traded has impacted the ability to form and maintain
relationships.

Mrs. P      stated that the experience of having her children victimized by child
pornography has affected all of her relationships. That is, this trauma impacts not only her
relationships with her children and her husband but every single relationship she has. She
cannot trust people she encounters. Moreover, the response of her children’s paternal
grandparents of siding with their son, who sexually exploited his children and their
grandchildren, has effectively ended the children’s relationships with their paternal


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grandparents. Mrs. P     is also fearful that more abuse will happen to her children and
does not allow them much freedom.

Erin spoke specifically about the effect of having a father who was “supposed to care. He’s
your parent. How are you supposed to live with this?” She also said that she does not want
to trust other people. Erin’s awareness that people are constantly viewing her child sexual
abuse images has led her to experience herself as “damaged goods,” which, in turn, has led
to promiscuity. She has multiple unprotected sexual relationships with boys.

One of Fiona’s strengths is that she is able to form friendships. However, her family
relationships are compromised because of the impact of her exploitation. Her relationship
with her mother is affected in that her mother restricts Fiona’s independence for fear of her
being additionally victimized. Her mother and stepfather fight often, the fighting
precipitated in part by her mother’s heightened anxiety associated with the sexual
exploitation of her children and consequent inability to trust her parenting instincts. Fiona
also feels that her mother is more punitive toward her than toward Erin.

3.     How it will impact the children’s ability to one day have a positive personal
relationships.

There is scant research on the long-term impact of sexual exploitation and particularly on
the effect of the long-term availability of a victim’s childhood sexual abuse images on the
internet (e.g., Rogers, 2008), in contrast to the numerous studies of and articles about the
offenders themselves (e.g., ATSA, 2010; Temporini, 2012). Unfortunately being a victim of
child pornography is likely to have a negative effect on victims throughout the lifespan, not
just on their ability to form positive personal relationships.
First, as victims gain a more sophisticated understanding of the violation of the taboo
represented by the sexual abuse and the child pornography, they face renewed challenges
in coping. Fiona, at this time, seems to have little comprehension of what her father did and
the impact of the availability of the images of herself being sexually abused and exploited
not just by her father but by a stranger. This comprehension will change as she grows older
and likely will cause her significant ongoing trauma. In contrast, Erin is much more aware,
and the knowledge is having a dramatic impact on her behavior—promiscuity, depression,
and self-medication by using drugs and alcohol.
Second, victims of sexual abuse and child pornography essentially have fewer psychological
resources for dealing with other adversities in life, such as the death of a caretaker, a car
accident, loss of employment, or a divorce. Sexual abuse and being a victim of child
pornography also literally compromises the immune system (Adverse Childhood
Experiences, 2014; Kendall-Tackett, 2013).
Third, sexual abuse and being a victim of child pornography generates special problems as
victims reach developmental milestones related to sexuality, intimacy, and close personal
relationships. Typical milestones that create crises for victims are puberty, dating


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relationships, sexual encounters, marriage, decisions to have children, and when the
victim’s child or children reach the age when he or she was victimized.

Known specific longer term impacts from being victimized by child pornography include:

     1. Distorted and unhealthy sexuality.
     2. Difficulty establishing healthy relationships in general.
     3. Difficulty trusting others, especially individuals who remind the victim(s) of the
        offender(s).
     4. Risky behaviors, including substance abuse, promiscuity, self-mutilation, suicidal
        ideation, and suicide attempts.
     5. Greater risk for getting ensnared in commercial sexual exploitation.
     6. Ongoing humiliation and lack of privacy. Victims are unable to escape the reach of
        the images and constantly live with the knowledge that anyone they meet may have
        viewed the images.

Moreover, the availability of the images online can impact educational opportunities,
educational success, employment possibilities and potential, day-to-day activities, and
other aspects of life. (Foothills Child Advocacy Center, n.d.; Rogers, 2008; Wortley &
Smallbone, 2006).

Finally, there will likely come a time when both Fiona and Erin become concerned that the
images of themselves are not only being used to satisfy the perversions of those who view
them, but precipitate the assault of other victims and are being used for grooming other
victims. (Babchishin, Hanson, & VanZuylen, 2015)

4.      How it impacts the family on a day-to-day basis.

The availability of the M      children’s child sexual abuse images on the internet and the
dynamics of having it repeatedly circulated and downloaded are sources of day-to-day
trauma. They have damaged the P          parents, their marriage, each of the children, Erin
and Fiona, in separate ways, the family as a whole, their relationships with extended family
members, and their relationships with the community. See responses to questions 1, 2, 6,
and 7 for further details.

5.    What additional or increased medical services will family members likely
need over their lifetimes (including physical, psychiatric and psychological care)?

Unfortunately, there is no research on effective treatments for victims of child pornography
and their families. Evidence-based treatments for child sexual abuse are insufficient for
treatment of victims whose child sexual abuse images are still available on the internet.
That is because safety is a prerequisite for successful treatment. Erin and Fiona are not
truly safe, nor can they ever be truly safe, because their images are still widely available on
the internet.

Recognizing this limitation, the following interventions are recommended:


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The most immediate need is for marital counseling for Mr. and Mrs. P            so that the
family does not fall apart. Moreover, the family needs family therapy so they can deal with
the impact of the sexual exploitation on their functioning as a family. Initially, these two
modes of treatment will need to be weekly. It should be expected that this therapy will
need to continue for at least two years.

Mrs. P       requires individual counseling to address her past sexual abuse, the sexual
exploitation of her children, her anxiety, her depression, and her panic attacks. It is to be
expected that this therapy will need to be intermittent until Erin and Fiona are adults.

Erin is at grave risk. She needs ongoing treatment hopefully to help her safely navigate
adolescence. Fortunately, she is currently involved in treatment and finds it beneficial. Erin
has an immediate need for birth control, and she may need services to deal with unwanted
pregnancy(ies) and sexually transmitted infections (STIs).

Erin will likely require hospitalization for substance abuse and depression. She is likely to
need four episodes of in-patient treatment for substance abuse and four for depression and
suicidal ideation over the course of her life.

Presently she is engaging in self-destructive behavior that may well lead to involvement in
the juvenile or adult justice system—truancy, substance abuse, and promiscuity. These
behaviors are likely to lead to the need for legal services.

Moreover, these behaviors are compromising Erin’s education. Unlike most middle class 17
year olds, she does not have a specific plan for post-secondary education. That is, she
thinks she wants to go to college, but has not thought about where she wants to go, despite
the fact she has two older siblings who are in college and she has parents who are
educated.

Longer term implications of Erin’s self-destructive behaviors are very troubling. They
narrow her options in life, in terms of health, mental health, education, and vocation. If she
continues on her current path, she is highly likely to end up becoming a burden on
society—unemployed, with unplanned children, and with crippling mental health
problems. Moreover, she is at high risk for early death, from suicide, accident, or drug
overdose.

It is critical that Erin receive multi-modal intervention to address her bleak prospects. Yet,
at this point, her parents cannot afford the help she needs.

Fiona voiced a desire to receive psychological treatment. She was in treatment in the past
and found it beneficial. The family finds it difficult to cover the cost of her treatment. She
has not only the sexual exploitation and internet images to deal with in treatment, but she
is entering puberty. Her projective testing indicates that she has nascent sexual problems.
Moreover, she is close to and emulates her older sister, Erin, who represents a very
worrisome role model. The extent of her future treatment needs will become clearer as she


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transitions puberty, but it would be imprudent to assume that all will be well for her
because her symptoms are less marked than Erin’s.

6.     Overall impact on the family members’ potential for “enjoyment of life.”

Interviews with Mrs. P        , Erin, and Fiona yielded information that the family is not
enjoying life. Mrs. P      acknowledged that she is a damaged version of herself, that her
youngest daughter, C            , has never had the opportunity to know her as a mother
before the child pornography was discovered, and that every new case of someone
committing a child pornography crime against her daughters re-traumatizes her. She and
her husband fight frequently and she has said to him repeatedly that he should just leave.
This contentious atmosphere colors the way Mr. and Mrs. P            parent. It is quite clear
that this family has only intermittent happy moments. Most of the time there is strife and
tension in the household.

7.    How the widespread distribution and viewing of Erin and Fiona’s child sex
abuse images has caused additional and long-lasting harm


This family will never completely recover and heal from the impact of the child
pornography featuring Erin and Fiona. Recovery and healing require safety. Because these
images remain available and continue to be shared among sexual deviants, the children and
the family will never be able to completely move beyond what happened.
It has been five years since Erin and Fiona’s child sexual abuse images were traced to Mr.
M        and Mr. B      . The first year was consumed by the Federal and State litigation.
Although both men were sentenced to long prison sentences (45 and 35 years
respectively), new cases, cases of additional individuals sharing and collecting images of
the M        children’s sexual abuse occur regularly and will continue years into the future.
Presently both Erin and Fiona are at a very vulnerable time in their lives. Erin is an
adolescent and is displaying extremely worrisome risk-taking behaviors, which are directly
attributable to the online availability images of her and her sister’s sexual abuse. Fiona is
just entering puberty. She had Erin are very close, and Fiona is already emulating some of
Erin’s behaviors, using drugs and defiant behaviors. Adolescence will be very rocky for
both of them.
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Respectfully submitted,




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Appendix 1: Test reports on A          P      , Erin M       , and Fiona M         from
Elizabeth Toplyn Ph.D., L.P.
                              PSYCHOLOGICAL ASSESSMENT
NAME: A        P
DOE: 4-22-15
DOB: 9-17-71
REASON FOR REFERRAL
A       P      was referred for psychological evaluation by the Family Assessment Clinic.
She is the mother of two girls who were drugged, sexually abused, and had the images of
that abuse posted on the internet. The perpetrators were the girls’ father, R    M       ,
and a General Motors executive named J      B      . Both men were criminally prosecuted
and are incarcerated. The psychological evaluation of Mrs. P       was requested in order
to assess emotional damage as a consequence of her daughters’ sexual exploitation.
ASSESSMENT INSTRUMENTS
CLINICAL INTERVIEW
RORSCHACH
THEMATIC APPERCEPTION TEST

FAMILY HISTORY AND BACKGROUND
Ms. P        stated that she was born and raised in           Michigan. She is the oldest of
three girls. She said that she gets along well with her siblings but one is substantially
younger than she is and she does not feel they necessarily had much of a relationship while
growing up. She said that her parents were married throughout her upbringing and remain
so. She reported that she had minor struggles with her mother as a young girl. She added
that her mother took the lead as the disciplinarian and she thought that had something to
do with their conflicts. She denied a history of mental illness or substance abuse in her
extended family. She has 5 children. The oldest are twins, two girls, although one girl is
transgendered. Ms. P         has a 17-year-old daughter, a 13-year-old daughter and a 6-
year-old-daughter. The oldest, the twins, are in their early twenties. The 4 oldest girls are
daughters of her ex-husband, Mr. M         . The youngest daughter is 6 and a product of her
union with her current husband.
EDUCATIONAL HISTORY
Ms. P      reported that she graduated from high school and that she was a very good
student. She had no behavioral problems and was involved in sports, student council,
broadcasting and the National Honor Society. She said that she earned a B.S degree in
Human Resources from Oakland University. She started at University of Michigan-



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Dearborn but felt that she didn’t belong and had difficulty feeling confident while there. She
took a short break but returned to school and finished her degree while the girls were
young. She said that in retrospect she thought the Michigan/Dearborn campus had been
too large for her. She described a solid work history starting in high school. She worked
briefly as a bank teller. She said that after she graduated and her twins were born, she
began working at                         Hospital’s corporate headquarters where she is still
employed. She said that she likes her job but that it is stressful and involves a lot of
responsibility.
ABUSE HISTORY
Ms. P       reported that she was sexually abused at age seven by an older second cousin.
The cousin was about 12. She said that he put her into a closet with him and had
intercourse with her. She says that she remembered someone knocking on the closet door
trying to get in, so he let her out. She did not say anything until many years later when she
told her parents. She reported that she saw this cousin years later in her twenties and had a
panic attack. She reported that the relationship she had just prior to meeting Mr. M
had also been abusive. She stated that it was verbally abusive.
RELATIONSHIP HISTORY
Ms. P        stated that she met Mr. M        when they worked together at the bank where
she was a teller. She had just turned twenty and he was eight years older. She said their
relationship moved quickly and they were engaged within one year. She thought that their
relationship was good but said looking back that her criterion for a good relationship at
that time was minimal. All she wanted was that someone “was nice to her.” She said that in
retrospect she also sees that there were concerns before their marriage. He lied to her and
didn’t share that he had been previously married until they had been dating for five
months. His other family members said negative things about him to her but she thought
they were just being malicious. She said that she was taught to work on and fix a
relationship rather than give up on it. She and Mr. M         were married for ten years. She
said that trust was always an issue in the marriage. He worked long hours and made up
stories about where he was and which job he was at. She said he would even make up
stories or lies over issues that were insignificant. She said that outside of their marriage he
“was charming and the life of the party.” After Erin was born, though, he changed. Erin was
premature by several months. Ms. P          went into premature labor. She was hospitalized
for the last 3 weeks of her pregnancy in an attempt to hold off the delivery. She was
depressed and on bed rest.

Erin was a more difficult infant than either of the twins had been. She was colicky at first.
As she became a toddler she was advanced and met all of her milestones early. She was a
“daredevil and had “nonstop energy.” She could be challenging and difficult to manage. Ms.
P      believed that Erin’s personality did not fit with Mr. M       ’s sense of what an infant




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and toddler should be like. She said that he became more involved in work and outside
sports that added extra expenses to the family.
She said that other difficulties from the beginning of her relationship with Mr. M      were
that they had no commonalties. She conveyed that it was difficult to have an intellectual
conversation with him. She reported that she made a decision to stay in the marriage and
became depressed for many years, but did not seek treatment. She said that the depression
lifted when she finished college and was exposed to the work world. She then sought
treatment for her depression. She said that she didn't want to be in the marriage and felt
trapped. They agreed that the marriage was over but continued to live in the same home
with the girls. They "just passed the kids back and forth.” She moved out when she began
dating Mr. P       . As she separated from Mr. M        she was beginning to feel more
confident, accomplished and more comfortable and able to interact with the world and
with work. Her divorce from Mr. M          was finalized in 2007.
When they began living in separate homes, the girls spent every other week at their
father’s. Ms. P      had concerns that there may have been some neglect. He reportedly
wouldn’t keep food in the house but she would buy it to ensure the girls had food while
there. He started to leave the girls alone at night and one night one of the twins called her
to say she was scared.
She said that her relationship with Mr. P      started as a friendship. They worked
together but tended to gravitate towards each other at work functions. They were married
in 2007. Ms. P       said that the marriage was “good at first.” He had never had kids or
been married so there were some understandable adjustment issues but they were able to
work through them. She said that he never tried to play Dad and usually left the discipline
up to her.
CHANGES TO THE FAMILY AS A RESULT OF Erin and Fiona’s Sexual Exploitation
Ms. P        stated that initially after Erin and Fiona’s sexual exploitation surfaced she felt
like she was living in a fog. She said that she was thrown into a legal system with complex
terminology and processes and found it difficult to navigate. She had a desire to protect her
kids and wanted to protect them from some of the legal aspects of the situation. She said
that prior to the abuse her relationship with the girls had been pretty good. She felt like she
knew how to parent them and wasn’t afraid to take the role of parent. Ms. P            said that
the abuse affected her perceptions of herself as a parent. She doubts herself and lacks
confidence in her parenting. She hesitates to set appropriate limits and is inconsistent. She
gave the example of going to Chicago. She stated that they went as a means to relax and
escape the child pornography and legal situation. While there she had a panic attack and
ran from the hotel. When she returned she calmed down and took the girls shopping. She
told them they could buy whatever they wanted regardless of expense. She realizes that she
is not setting good limits and that it allows the girls to manipulate her. However, she finds it
hard to return to her old style of parenting. She added that she continues to blame herself
for not knowing that the abuse was occurring. She is more anxious than in the past and has


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panic attacks on a regular basis. She takes Xanax for these panic attacks. However, she
hesitates to use enough of the medication even at the doctor’s recommendation. She feels
that she should be able to able to fix everything for the girls.
Ms. P      has been suicidal at times, but only had thoughts of it, never to the point of
actually making a specific plan. She adds that she thinks she screwed the girls up. She
denies being angry at her ex-husband except for feeling angry when she watches Erin
struggle and feels mad that she has to clean up the mess that he made. She feels sad
because she feels that he “took my kids away." She feels a loss for who they might have
been had the sexual exploitation not happened.
The sexual exploitation, the prosecution and the aftermath initially affected her work. She
had just been placed in a new position and was having difficulty focusing on the work of
supervising others. Her superiors moved her to a less busy area. Ms. P          at the time was
trying to deal with Erin's difficulties at school and her oldest daughter’s suicidality.
She said that it wasn’t until about two years after discovering about the child pornography
that she "fell apart." She feels that different parts of the family are always falling apart at
different times and that she is trying to keep the family members all in one piece.
Her marriage has also been affected. She conveyed that the abuse and legal situation put a
lot of tension into her relationship with her husband. She felt bad for her husband. She said
that they began having parenting conflicts. He would express that she was not parenting
the girls in an appropriate manner. She said that she thinks that she presented to her
husband as needy and emotionally weak. She thought that her anxiety drained her husband
and that he found it difficult to deal with her. She said that she was often crying and feeling
helpless and that he did not know what to do to help her. Dealing with Erin’s issues also
takes away from time that they can spend together.
Ms. P       added that she had noticed changes in all of her daughters since the sexual
exploitation surfaced. After the allegations, her two oldest children changed. S      clung
to her and C      became even more emotionally detached. She said that C          has
become less detached since going away to college. S         was suicidal and was placed in a
psychiatric day hospital for a period of time.
Ms. P       reported that she has seen the biggest change in 17-year-old Erin. Erin is
struggling with substance abuse and promiscuity. She is defiant and has been caught
stealing. The substance abuse started four years ago with marijuana. Erin also started
stealing around the same time.
Ms. P       recognized that Erin’s having to change schools in middle school was
particularly difficult. During her second year at the new school she began associating with a
group of friends who were a bad influence. Ms. P        says that at the time she thought
that Erin was looking for a way to connect in a new situation.




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She said that her relationship with Erin has also changed. Erin was always close to her
father. Ms. P      thinks that Erin finds it hard to believe that her father would have done
something like this to her and takes her anger at the changes in her life out on her mother.
Ms. P       said that Fiona has also been adversely affected. She had always been a "super
easygoing child." She became very forgetful and would have extremely angry outbursts
over minor things. Her grades also suffered briefly. She fell behind in her schoolwork and
didn’t catch up until the 3rd grade.
She said that her youngest child, C         , was also affected. For the first two years of her
life while the prosecution was going on, C           was often farmed out to different
relatives. She felt that this transfer among different parenting styles undermined her own
parenting consistency with C            .
EMOTIONAL FUNCTIONING
Ms. P        was asked to complete the Personality Assessment Inventory. This is a
standardized assessment tool that measures an individual’s response style and the
presence of possible psychopathology. Ms. P           responded in a consistent fashion and
appeared to be sincere and forthright in her responses. There were no attempts to portray
herself as free of shortcomings or as more impaired than she was. Her clinical scores were
significant for trauma, depression and anxiety. Her anxiety scores were very high and
people with such scores generally show generalized impairment. Their lives tend to be
seriously constricted and they may not be able to meet even minimal role expectations
without feeling overwhelmed. In particular, her anxiety score related to traumatic stress
was high. Her anxiety affects her thinking, her emotions and may lead to somatic concerns.
Usually, the individual has experienced a trauma that is the overriding focus of their life
and she views herself as being severely damaged perhaps irreparably by having
experienced that trauma. Ms. P         's scores also suggest that she is experiencing a
significant amount of depression. She is likely to feel hopeless, discouraged and useless.
Interpersonally, she may be withdrawn and may feel misunderstood or insignificant to
other people. Typically, such individuals have little energy to pursue social role
responsibilities let alone outside interests.
Ms. P        ’s projective themes focus heavily on feeling that she has been stuck in
“darkness” and negativity for too long. A large part of her wants to leave it behind but she
finds it difficult to trust that the future is better. She very much wants to trust that there is
something better. There is also a sense in her stories of feeling that she is defeated at times
and frustrated by her failure to adequately "impose her will" or find any other solution to
fix problems. She seems to try to remind herself that she is powerful. Ms. P           also seems
to yearn for a place with less chaos and wish for the ability to take comfort in other people.
She seems to yearn for peace and time for herself but struggles with allowing herself to
meet her own needs. She believes that obligations come before her own needs but it also
leaves her feeling resentful and as if her needs don’t count.



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In terms of the ability to integrate her thoughts and her feelings in an organized manner,
Ms. P       does fairly well. She may do so by constricting the amount of emotions she
allows herself to feel. She can appear to be very cut off from affect regarding people who
have done horrible things. She may also limit the amount of emotion in her life because
currently she is easily overwhelmed by it and her anxiety takes over. When very anxious,
she doesn’t always think in the most logical way.
The themes in these stories probably reflect her experience with her ex-husband, her
daughters and her experience with the court system. The entire experience has left Ms.
P       with damaged trust and difficulty in finding hope for her future. She finds it difficult
to move past what has occurred. In part, this may be because some of her anger at her ex-
husband is cut off, but there is a reality to always having to deal with the abuse as the years
go on, given that the pictures are online, most likely forever.
Her frustration and sense of feeling defeated may relate to her difficulties with Erin. The
two of them appear to often be in conflict and the stories suggest that Ms P         is worried
about her and wants her to learn to care for herself. At the same time, I think she is very
angry at her daughter and resentful of her needs right now. She perceives her behavior at
times as one more demand she can’t handle right now. I think that the exploitation of her
children, her anxiety, and resentment related to the effects of the child pornography on her
life impact her ability to parent Erin effectively through her difficult teenage years.
SUMMARY
Ms. P         describes dramatic effects on her family as a consequence of her daughters’
sexual exploitation at the hands of their father and his accomplice. The exploitation
occurred at a time when she was just recovering from a depression and beginning to
approach work and the world in a more competent and confident manner. She has lost
much of her confidence especially in regards to her parenting. She no longer trusts her
parenting instincts. She hesitates to set limits and this examiner believes that she feels
responsible for the girls having been abused. She admits to blaming herself. Issues
regarding her ability to parent appropriately or set limits are likely due in part to feeling
guilty that she did not know what was occurring. It is also likely that the abuse has made
her question how good a parent she is and to doubt her own ability. Her anxiety has
increased dramatically and she now has panic attacks. Her marriage has suffered under the
strain as well. When the abuse surfaced she had just remarried and both she and her new
husband were trying to adjust to their marriage and his becoming a stepparent. He also had
to deal with changes in his new wife's behavior. From her description he often may have
felt that he needed to step in and parent which was never their plan. Ms. P           seems to
be overwhelmed by the past few years and possibly even resentful of having to take care of
everyone all the time. She stated that she feels that it's her responsibility to somehow fix
the girls. I suspect that some of her difficulties with Erin are related to resentment of
having to continue to do for others when no one is doing for her. Ms. P           has been so
traumatized by her ex-husband’s betrayal of their daughters and of her that she sees


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herself as irreparably damaged and unable to function. She is also significantly depressed
which makes it difficult for her to find the energy to meet basic role responsibilities such as
parenting effectively.
                __________________________
                Elizabeth Toplyn, PhD
                Licensed Psychologist




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                               PSYCHOLOGICAL ASSESSMENT
NAME: Erin M
DOB: 5-1-98
DOE: 5-9-15
REASON FOR REFERRAL:
Erin M        is a seventeen-year-old girl who was referred for a psychological assessment
by the Family Assessment Clinic. Erin was depicted in child sexual abuse images created by
her father and an accomplice and was possibly drugged and sexually exploited. Her father
is currently incarcerated in a federal prison, but the images continue to be widely
distributed on the internet. An assessment was requested in order to assess the emotional
damage to Erin from Her exploitation by child pornography.
ASSESSMENT INSTRUMENTS
CLINICAL INTERVIEW
RORSCHACH
HOUSE, TREE, PERSON
THEMATIC APPERCEPTION TEST

BEHAVIORAL OBSERVATIONS
Erin was a pleasant and cooperative teenager. She answered questions directly and with
little guardedness. She did not seem overly concerned that the examiner might share some
of the information with her mother (i.e., ongoing violation of house rules.) She looked sad
frequently and was able to talk about her emotions.
FAMILY HISTORY
Erin reported that she grew up in          Michigan. Her parents separated when she was
about seven but she said it was difficult to tell if they were actually separated. She said that
her parents continued to live in the same home despite the dissolution of the marriage. She
said that she and her siblings were not told of the divorce until a year or so after it
occurred. She said that her mother had begun to date the man who is currently her
stepfather. Erin reported that she is one of four girls. Her older sisters are twins, although
one identifies as male. She said that she thought for a long time that her older sister C
did not like her and that at times she still thinks that is true. She described herself as very
close to S             and finds it easy to accept his transgendered status. She has two
younger sisters, Fiona and C          . She reported that she gets along really well with
Fiona. She said at times they fight but they are quick to forgive each other. She described




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her youngest sister as “kind of a brat” but doesn’t have much of a connection to her given
the large age difference. C        is only six.
Erin was asked about her relationships growing up with her parents. She said that she and
her father were “pretty close.” She added that “I used to get in trouble a lot in 6th grade. My
dad was like that too so he understood.” She said that she got along well with her mother
when she was younger but that there is significant conflict now. She was asked what she
thought the problem was between them and she said “me and my behavior. It upsets her
and we fight a lot.” She added that “we fight because of her extreme worry. I understand
that she has anxiety but it is not my fault. She is nervous regarding anything I do, so she
questions me and asks me 900 questions.” She was asked to give an example and she said
that, sometimes, if she asked permission to go shopping with a friend, her mother would
insist on knowing what store they were going to before allowing her to go. Erin said that
she found this difficult because she didn’t necessarily know what store they were going to
go to. She said that they used to be pretty close and she reluctantly admitted to missing the
mother she used to know. She said that “now I can’t talk to her.” She said that part of her
difficulty was that her mother changed immediately after the sexual exploitation surfaced.
She said her mother would not allow the girls to do anything and thought that people
would try to kill them.
She was asked about her relationship with her stepfather. She said that initially they got
along well and that she liked him. She thinks now that he doesn’t like her. She says that he
is rude to her and she thinks that he behaves inappropriately with her. She says that he will
say odd things to her. She added that “he creeps me and freaks me out. If I'm wearing a
shirt that shows my belly he will touch my belly and say he sees it. When I wear leggings he
slaps your butt." She said that she has not told her mother about these behaviors.
SCHOOL FUNCTIONING
Erin reported that she is currently attending               high School in the       Public
School system. She is an 11th grader. She said that she did better academically this past
term than she had in the one previous to it. This term she received two A’s and a B,
although she had dropped a class that she was failing. She said that the term previous to
this one, she failed all of her classes because she never went to class. When asked why she
didn’t go, she said that she “was really depressed for a while. I wanted to cry all the time.”
She explained that she didn’t want to cry in front of her peers so she would just leave the
classroom. Erin reported that she continues to skip school currently. She said she had done
so three times the week of this interview. She also added that in some ways her school
situation had made it easier for her to do this. She had dropped a class which her mother
was aware of but it has not yet shown up formally on her record. Therefore the school
continues to call and say she missed class (automated) so the mother can't tell if it is the
dropped class or another class. She tried to minimize her skipping behavior and said that
she only did it if someone else wanted to do it. She said that really no one does. She added




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that most of the time she just wants to be alone and not let people see her cry. She added
that she often just goes outside and sits by herself in Richard's car.
Erin was asked about what it was like to have to move schools when her father was
arrested and incarcerated. She said that it was difficult. She moved in the beginning of
seventh grade and began attending a middle school that was 6-8 grades. Her previous
school had been a K-6 elementary school. Erin said that she felt that it was hard to make
friends because most of the kids had known each other for a year and groups had already
been formed. She said that the first year she only had 2 friends and that she was lonely and
sad. She said most of her sadness was about her father but also “mainly my whole life.” Erin
reported that initially she had done well in school until 8th grade when she began receiving
detention frequently. She added that she was mouthy with teachers.
Erin was asked how she saw her future and what she wanted to do after graduation. She
said that when she turned seventeen she had decided she needed to buckle down and stop
her problematic behaviors. She added that she had no idea about her future and was
frustrated because everyone expected her to know what she wanted. She said that she
didn’t and was irritated that her mother expected her to know as well. She said that she
thought she might like to go into something in engineering because she is good at math and
science. She is also a good artist and particularly likes to paint.
PEER RELATIONSHIPS
Erin was also asked if she had friends. She said that she had a best friend, a girl named
A      . She and A      have known each other for 13 years and she was the reason that
Erin chose to switch back to her current district. When her father was arrested, there were
concerns for the family’s safety and the girls moved and attended a different school district.
She said that she could talk to A      about anything and that A         was aware of what
had happened with her father.
Erin stated that she also has a boyfriend of sorts. She said that she and Richard had known
each other since the 9th grade but that they frequently ended their relationship and then
resumed it. She referred to him as her ex-boyfriend and said that even when they were
apart he was her friend and one of the few people to whom she felt she could talk openly.
She said they had officially been broken up for most of the past year but their relationship
had been the best it had ever been over that same time period. She said that Richard was
the second of two relationships and that she and Richard have had sexual relations. She
said that her mother was aware of this because at the time they were parked in the school
parking lot and were caught by the police. She said that Richard was allowed to go home
and she was brought to the police station for her mother to pick up. At the time, Richard
was 17 and Erin was not. I brought up these issues with Erin as a possibility for why she
was brought to the police station and Richard was not, but she didn’t think it “was a big
deal” and that the police overreacted. Erin was asked about her knowledge and ability to
protect herself while having intercourse. She said that she did not want to become
pregnant and that she didn’t use birth control. She said that fairly strongly. When I


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questioned Erin regarding the need to use birth control she said that she couldn’t get her
mother to follow through. She added too that Richard objected to the use of condoms. She
said that her mother had said that they would get her birth control when she found out that
Erin was having intercourse but never made an appointment. I asked Erin why she couldn’t
make her own appointments. She said she could but had not had driver’s training and that
if she made an appointment her mother would get upset and say, “How do you expect me to
get you there?” She added that she hasn’t seen her general practitioner in one year. She said
that her mother had registered her for driver’s education but then decided she didn’t want
her to drive.
Near the end of the interview Erin volunteered that she had done "whorish things”. She
said that in 8th grade she provided oral sex willingly to anyone. She said that she did so
because it was easier than saying no. Peers then made fun of her for this behavior and it
affected her reputation at school. She said that she has engaged in this behavior even when
she and Richard were officially together. She said that she didn’t know if she really liked
providing oral sex but that she did like the thrill of doing it. She said that she feels badly
about herself afterwards. She was asked if she had ever felt forced to do anything sexually.
She said that Richard's older brother used to “crush on her” and that he once got her into
his room and placed her hands on his genitals. She left the room. She said that she had not
told anyone about that incident. She said that two months later he text messaged her
asking her to come to his room. This time she did and provided oral sex. She said that she
felt pressured to do it because it was easier than trying to argue and say no. She said that it
took too much time to argue with the boys. She added that giving the boys what they
wanted sexually was also a way to feel wanted. I asked her about this statement. She said
that sometimes she thinks that no one will want her because she is damaged somehow.
PSYCHIATRIC HISTORY
Erin was asked about her current mood. She said that she is depressed and that it feels like
the depression has lasted for years. She said that she probably first experienced it when the
allegations of sexual exploitation surfaced. She denied being on any psychiatric
medications besides Adderal. (She was recently diagnosed with ADHD). She added that her
therapist has suggested an antidepressant but that she didn’t want to go and talk to the
doctor. Thus when her mother arrived to take her to the appointment she made sure she
wasn’t home. I asked Erin what frightened her about taking medication. She said that
people told her it could make her suicidal. We discussed the real likelihood of that and I
gave her some unbiased information on benefits and side effects. I asked Erin about her
sleep and appetite. She said that she stays up very late at night because she has difficulty
sleeping. She is often tired the next day. Her appetite is good. She said that “I eat extremely
well.” She was asked if she had ever been suicidal. She said probably but explained that it
had been passive suicidal ideation in which she wished a car would hit her but that she
didn’t really want to die. She said, though, for a while she refused to wear a seat belt in the
hopes that the family would get in a car accident and she would be killed. She now wears a
seatbelt. She has thought about jumping off a bridge but can't think of where to go to do


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that. She also said that she wasn’t sure she would like being dead. She has also thought
about overdosing. She said that what stopped her was the thought that she didn’t want to
do that to her family or her friend A      . She then added that she and three of her siblings
had a suicide pact. She laughed at this and it was difficult to get an explanation. She said
that she didn’t think that anyone really wanted to do it because they knew it would destroy
their mother but that they all said to each other well if you do it, then I will have to. That is
apparently part of what stops them because losing all three of them would be too much for
their mother. She stated that at this point she does “want to see the future.” She denied any
counseling other than her current therapist and she denied psychiatric hospitalizations.
SUBSTANCE ABUSE
Erin was asked about her substance use. She said that she smokes marijuana and that her
mother “thinks I’m really reckless, but it’s casual smoking. She thinks weed is like heroin.”
Erin said that how often she smoked depended on how much money she had but that when
she had money she spent approximately 40 dollars on it. She added that she started
smoking at age 13 in the 8th grade. She said that initially her friends offered and she was
not interested. However, she indicated that her mother questioned her about the
possibility of her using drugs all the time and she decided she may as well use if her mother
was going to assume that she did. Erin said that she tried to tell her mom once that she had
been turning down the marijuana in 7th grade but she and her mother began to argue
instead. When asked about other drugs she said that she used to take bottles of Oxycontin
and Xanax from her mother’s medicine cabinet. She said that she used some of it and sold
some. She added that she used it every day last summer because the marijuana was not
helping her relax the way it had in the past. Although, Erin said this behavior was in the
past, she added that she had taken some of these pills from her mother in December 2014
and then again about one month before this assessment. She said that she uses marijuana
because it makes her “calmer, makes me happy.” Erin was asked what appealed to her
about using the painkillers. She said that initially she had been prescribed Vicodin at 14
after spinal surgery for severe scoliosis. She said that her prescription lasted for 6 months
and that she still wanted it afterwards even though she was not in pain. She said that it
helped her relax She said that she tended to use these medications when she really didn’t
want to think about something and the marijuana was not helping in that regard.
She was asked what these things were that she found so intolerable to think about. She
listed, “dad, school, future and death.” When asked what she thought about when she
thought about death she said that it disturbed her because there was no answer to what
happened to someone after they died. She didn’t know what it meant to be dead. It should
be noted that the night before this interview there was a well-publicized car accident in
which several teenagers were killed or injured. Substance abuse was suspected to be
partially to blame. Erin was good friends with one of the teens who had been killed and
knew some of the others as well. She added that she was irritated at her mother on the way
to this assessment because her mother kept saying that the accident was the fault of the



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teens because they were speeding and intoxicated. Erin’s response was that they didn't
mean to do it.
EXPERIENCE OF HER FATHER’S ARREST AND INCARCERATION
Erin was asked what she remembered about the arrest of her father. She said that “we were
on our way home from Frankenmuth and a detective came over. We had to sit in the car
while they were talking. I thought it was about me and that I was going to be arrested. We
had to go to        House with the detective and we all talked to the     House person.
Then we had an idea of what happened.” She said that the next day she was supposed to
see her dad and asked if they were going. Her mother’s response was that their father was
in jail. She said that her mother told them what happened about a week after the detective
had originally talked to everyone. I asked what her thoughts were at that time. She said that
she started crying and that it hadn't seemed real, "like he just disappeared.” She says that
she has seen him only once since this occurred. She added that she has no memory of the
abuse. She is aware that Fiona was abused and drugged and that it is believed that she was
drugged and abused as well. She said that she knew that there were images of both herself
and Fiona being sexually abused.
She said that that summer was a rough one. Initially all of her friends wanted to talk to her
to find out what happened. She did not want to talk about it with people and her mother
told her not to do so. She was embarrassed that people knew. She said first people began
keeping things from her and then stopped talking to her because she wouldn’t give them
information on what had occurred. Only three of her friends remained friends.
I asked her what her thoughts were now about her father. She said that she thinks he did
sexually abuse the two of them. She said that prior to this she had seen inappropriate
images on his computer (close-ups of female genitalia). She said that this occurred when
she was around 8. She explained that she had surprised her father one day when she came
to talk to him and he was on the computer. He slammed the computer shut and got angry at
her. She added that after that incident that she made a rule for herself to make as much
noise as possible when approaching her father when he was on the computer so that he
would know she was coming and could turn the computer off before she got there.
She denied that he ever hit them physically but said that he "screamed a lot." We talked
about the fact that her child sexual abuse images were still on the internet. She said that it
scares her because she could just walk past someone who recognizes her from those
pictures. She said that once a man in a van kept smiling at her and that she had wondered if
he was doing so because he had recognized her from one of the pictures. She said that she
knew that probably he was just inappropriate and “a pervert." She said that at times she
misses her father but that she does not feel anger toward him. Instead, she gets angry that
her life has been messed up and that it isn’t fair. I asked about her experience of reading
her victim’s statement in court. She said that it was hard to do and that it made her father
cry. She added that it was hard to see him chained up and that she had been a little afraid
for him because he has a bad temper.


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EMOTIONAL FUNCTIONING
Erin’s projective responses do suggest strengths in that she is very attuned to her world
and interested in support and human contact. There were indications that she feels badly
about herself. She sees herself as having both a good side and evil side and believes that she
has no choice but to listen to the evil side. Given what she said in the interview about
feeling that she may be damaged goods I suspect she thinks that she has to be evil. There
are indications that she feels alone and unheard by her mother. She tends to look to men
for comfort but may be too quick to accept any man because “she needs someone.” She sees
herself as “needy.” I think some her promiscuous behaviors with boys may in part be
related to her need to be wanted and to have some support from someone. There were
indications that Erin is very sad about what she has lost and what her father has taken from
her. She sees him as having gotten away with stealing from her. I think that she is angry
because he “destroyed my life.” At the same time, she seems to feel bad about feeling angry
at him. It is hard for her to see her father as “bad" and she has trouble accepting that he was
responsible for what he did. She also seems to feel abandoned by him. She said in the
interview that she was close to her father and the projective responses suggested that she
greatly misses his support. At the same time, she understands why she can no longer have
it.
I think it is very difficult for her to tolerate all of her conflicting feelings. Rorschach
responses suggested that she doesn’t wish to look too closely at her emotions and tries to
keep them at arm's length. She is able to think in an organized fashion in the presence of
her depression but is easily overwhelmed by the emotions when there is more than
sadness present. Erin is able to think rationally and with fairly good judgment despite her
depression although she has a tendency to see and act on only one detail of a situation. She
does so because allowing large amounts of emotions into her world tends to overwhelm
her and she becomes impulsive. It is likely that with the difficulties with her mother, the
end of high school closing in on her and her conflicting feelings about her father that she is
easily overwhelmed emotionally at this time. This examiner suspects that given these
factors, Erin is having increasing difficulty managing her emotions and utilizing her better
judgment. There were also indications that much of her anxiety and sadness centers on
sexuality issues and issues with relationships with other women.
Erin may have always protected her father from his own behaviors and she relied on him
for support. Part of her loss and abandonment at the moment is the loss of their
relationship. She turns to boys for attention and a sense of being wanted. She conveyed that
she thinks that she is damaged goods and her projective responses suggested that she
thinks that she has no choice but to allow her damaged side to overpower her good. She is
willing to give boys what they want sexually to ensure feeling wanted but her level of
depression may also leave her without the energy to stand up to their requests.




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SUMMARY
Erin is a seventeen-year-old girl who presents as being significantly depressed and at risk
for promiscuity and substance abuse. She has been acting out in numerous ways and can
present as angry and oppositional. Depressed teenagers, however, often present with anger
and irritability as opposed to sadness. Erin tends to minimize both her own feelings and
her own behavior. She can speak insightfully about her actions but also tends to see them
as “not a big deal.” Her level of depression is concerning. She said that she is not suicidal at
this time but she has thought about ways to die at least in the past. Erin has had significant
and ongoing impact from her sexual exploitation and the continued circulation of her child
sexual abuse images on the internet. Additionally, because she and her father were close
and she and her mother are struggling, she may continue to struggle with relationships in
the future. The loss of her father as a support system is hard for Erin, much less to have to
accept and deal with the sexual exploitation at his hands.


                    ______________________________
                    Elizabeth Toplyn, Ph.D
                    Licensed Psychologist




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                                  PSYCHOLOGICAL ASSESSMENT
NAME: Fiona M
DOE: 4-25-15
DOB: 2-21-02
REASON FOR REFERRAL
Fiona M        is a 13-year-old girl who was referred for a psychological evaluation by the Family
Assessment Clinic. Fiona was depicted in child sexual abuse images created by her father and an
accomplice and was drugged and sexually exploited. Her father is currently incarcerated in federal
prison, but the images continue to be widely distributed on the internet. An assessment was
requested in order to assess the emotional damage to Fiona from her exploitation by child
pornography.
ASSESSMENT INSTRUMENTS
CLINICAL INTERVIEW
HOUSE TREE PERSON
SENTENCE COMPLETION
RORSCHACH
THEMATIC APPERCEPTION TEST
BEHAVIORAL OBSERVATIONS
Fiona was brought to the appointment by her mother. She was dressed neatly but casually. Fiona
was friendly and pleasant and cooperated with everything the examiner asked her to do. She
appeared to be honest and forthright in responding to questions and was able to speak about her
experiences with her father and her family. Her affect was positive throughout the interview and
she smiled easily. There was a full range to her affect and it changed appropriately with the topic of
her conversation. She frequently laughed in a self-conscious manner.
RESULTS OF CLINICAL INTERVIEW
Fiona was asked about herself as a way to establish a rapport prior to testing. She stated that she
was a seventh grader at Middle School South which is part of the                    public school
system. She said that she found school boring, particularly the subject of social studies. Her favorite
subject is science. Her grades are currently all A’s. She reported that she has friends both at home
and at school. Her best friend is Maddie. Maddie lives in the neighborhood. She added that last year
she had been best friends with Maddie’s sister but this year she was best friends with Maddie. She
explained that the two sisters were in the same grade although one was less than a full year older
than the other. She said that currently the three of them all “get along.” She conveyed that she had a
group of friends at school that she laughingly called the “cool group.” She said that she was involved
in sports at school. Last year she had run track and this year she is trying softball.
Fiona said that she has four sisters, one of whom is transgendered. She said that C        and S
were twins and in their twenties. Erin is seventeen and her youngest sister, C         , is six. She


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said that “Me and Erin are best friends. Me and C         don’t get along. She’s always mean. Now she
is in Florida. It was better when she visited. We got along better.” She added that she was good
friends with S        . She thinks of S     as a sister but does not have a problem with him
identifying as a male. She added that she sometimes fights with C            .
She described more feelings about Erin in relation to their mother. She said that Erin can “be
snappy and have an attitude.” She says that she thinks that Erin is allowed to get away with too
much. For example, she said that her mother will threaten to take away Erin’s phone for her
disrespect but doesn’t always follow through. Fiona says that she has told her mother that Erin
should lose her phone and privileges more often. Fiona added that she thought that her mother was
harder on her than she was on Erin. She said that if she gets an attitude with her mother, she will
take away her phone or her laptop for a while. She says that her mother says she can be
disrespectful.
When asked about her relationship with her mother, she agreed that she can be disrespectful but
feels that her mother doesn’t allow her to do anything she wanted to do. She said her mother
doesn’t trust the neighborhood because there “is a lot of crime.” She expressed frustration that her
mother doesn’t let her hang out with her friends outside. She explained that she is only allowed to
go a couple of streets past her own, and just recently her mother agreed to allow her to walk home
from school. She conveyed that her mother will ask the girls to do something, such as unload the
dishwasher, and Fiona will say she didn’t want to do it. Her mother will then start to yell that “she
does everything.” Fiona says once her mom yells, she will sometimes do as she is asked and that her
stepfather will help her. No one wants to make her mother angrier.
She was asked what she remembers about growing up. She said that she remembered living in
      and at that time she was the youngest in the family since C          had not yet been born. She
said that she was a good student without behavioral problems. She does not remember if she was
ever held back a grade in early elementary school. She said that her parents separated when she
was “three or four.” She added that initially the visitation schedule was that they visited their father
every Wednesday and every other weekend. She said that she remembered the visits as being
"good." She explained that she would hang out with a good friend from school named Theresa or
she and friends would talk through the computer and various apps. She said her sisters were there
as well and that she would "sometimes hang out with Erin and her boyfriend.” She added that she
got along with her Dad growing up.
She thinks her mother remarried when she was around six or seven but was uncertain of the
timeline. She said that she likes her stepdad and that they talk about music. They have a common
interest in classic hard rock bands such as Led Zeppelin and AC-DC. When pressed, she said that she
liked some of today’s music but not much of it.
Fiona was asked if she currently has a boyfriend. She said no, but that she had one until a month or
so ago. His name was Ben. They go to school together and she liked him because he is “attractive,
nice and funny.” She described him as being a good friend to her. She explained that she ended the
relationship because she didn’t want to be with him anymore. She thought he had been a little
upset, but she had decided that she didn’t like him all that much. She conveyed that there were
other boys that she found interesting or attractive at school and that she has been talking to one
named Alex.




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Fiona denied using drugs or alcohol currently. She said that she had smoked marijuana regularly
last summer with Erin. She said that Erin didn’t pressure her but just asked her one day if she
wanted to try it. She also drank vodka over the summer. She added that she has stopped using these
things because her mother caught her. She said that she liked marijuana and how it made her feel.
She lost her phone and was grounded as a consequence of this behavior. She said though that her
mother gave the phone back earlier than planned because she was upset one day and told her she
needed to talk to her friends to feel better. Fiona said that she wanted to focus on school, so she
stopped using these substances, but that she might use them again over the summer when there is
no school.
Regarding how her mother disciplines the girls, she said that she often takes away phones or
laptops or grounds them. She said that “Erin freaks out if you take her phone and starts having a
screaming fit.” She said that her mother is afraid to set limits on Erin because she doesn’t want to
upset her. She said that her stepfather generally lets her mother handle the discipline, although he
will sometimes yell at Erin.
Fiona remembered her father’s arrest and said that was the last time that she saw him. She added
that she hadn’t really known why her father was arrested or jailed until she was about eleven. She
said that she remembered waking up one night and remembered that her father had a friend over
while they were there during their weekly visitation. She asked S          and Erin about this memory,
and they explained that their father had drugged and sexually abused her. She said she was a little
surprised when they told her. She has no memories of the abuse. This examiner asked how Fiona
felt about her father after talking with her sisters. She responded that she “doesn’t like him
anymore. But now I don’t think about it. I see my stepdad as my dad.” She said that she did not have
to testify at her father’s trial but had gone to court the day Erin read her victim statement. She
wanted to support Erin. She was asked what her thoughts are now about her father. She said that
“like it's in the past, like it's not the present. Makes me feel more happy. I don’t have to worry about
what happened.” She was asked if she had any concerns about the images of her sexual abuse that
remain on the internet. She said that she didn’t really worry about them. She thought that if
someone close to her knew she might be embarrassed. She said in that case that she would tell her
mom who would probably make her switch schools.
Fiona was asked about depression and if she had ever felt suicidal. She responded that she had
thought about suicide because her parents used to yell a lot. She made a point of saying that they
seemed to be having a good, happy day on the day of the evaluation, and there had been no yelling.
She says that she hasn’t felt suicidal lately but if she does, she talks to her brother and sister, and
“they talk me out of it. Erin makes me laugh.” She also had a good friend who she knew for many
years die about a year ago. She said that after the friend’s death, she often thought about suicide.
She said that she does get sad sometimes because her mother yells at her more than she does at
Erin. She said that she told her mother she felt this way and her mother started to cry and hugged
her.
RESULTS OF PROJECTIVE TESTING
Projective testing suggests that Fiona sees herself as someone who can manage stress well. She is
able to seek out relationships and support from those relationships. However there were
indications that she also sees herself as small and helpless with a fair amount of unconscious
anxiety regarding her body, particularly the lower half of it. She connects easily to others and relies


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heavily on her friendships. There are age appropriate wishes for more independence from family
and a belief that her mother is too strict and possibly overprotective. Fiona’s stories suggest that
she sees quiet defiance as the only way to gain more freedom, but also feels bad about that defiance.
She recognizes and appreciates how much her mother has done for the family. There is also a sense
that she may see herself as not as important as the others. One of her stories talks about a daughter
dying and the mother being sad but “just going on with her regular life.” She sees her mother as
someone who works really hard and is very anxious and exhausted. She also feels that her mom is
resentful and takes it out on her on her children at times. Fiona wants to do well but is confused by
the inconsistent parenting and her mother’s emotional volatility at times. In terms of her
relationship with her father, Fiona stated that she doesn’t think about the abuse or him much
because it’s easier. However, her projective responses suggest that he is very much on her mind.
She sees him as bad, both because of the sexual exploitation and for having left them by being
incarcerated. She thinks that he did a terrible thing to her and she is afraid around older men.
Fiona’s stories also suggest that she believes that something (probably her innocence or past life)
has been stolen from her and she is angry at these things. She wants to listen to the adults in her
world but isn’t sure she can trust them.
Fiona does well in terms of integrating her thoughts and emotions. She is able to remain logical and
think deliberately in the face of strong feelings and is not easily overwhelmed by emotions. She
spends a lot of time in her head with little awareness of her physical body.
SUMMARY
In summary, Fiona is a 13-year-old girl who was sexually exploited by her father and a co-
conspirator. Fiona is currently doing well at school and seems to have good relationships with her
sisters, stepfather and friends. She makes friends easily and relies on them for support. She is
entering adolescence which is accompanied by wishes for more independence and freedom and
more time with friends as opposed to parents. She perceives her mother as too strict and overly
anxious. While this is an understandable reaction from her mother given the abuse by her father, I
think it is negatively impacting Fiona’s relationship with her mother. It may put Fiona more at risk
for acting out behaviors in the future. Fiona seems to already think that the only way to gain
independence is to take it anyway. Currently she is not yet sophisticated enough to not get caught,
but that is likely to change as she gets older. She is also very close to her older sister, Erin, who is
having a difficult time and may well begin to use Erin’s methods to try to gain independence for
herself. She also sees people still in fairly dichotomous terms, i.e., dad is either bad or good. She may
begin to struggle more as she gets older and realizes that frequently people are more nuanced and
complex.
There has been damage from the sexual exploitation. Fiona has difficulty trusting that adults have
her best interest although she struggles against that feeling. She has anger towards her dad but
currently seems to have cut off a lot of feelings about her body, her sexuality and her anger. As she
goes further into adolescence this may be much harder for her to do and she may act out more.




                     __________________________
                     Elizabeth Toplyn, Ph.D


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 Conduct Problems                19                          Clinical Range

 ACTIVITIES                      9
 SOCIAL                          7
 SCHOOL                          2.83                        Borderline Clinical Range
 TOTAL T                         25T                         Clinically Significant


Trauma Symptom Checklist for Young Children (TSCYC): For all the clinical scales
except PTS-TOT, T-scores less than or equal to 64 are considered normal, T-scores between
65 and 69 are deemed potentially problematic, and T-scores greater than or equal to 70 are
interpreted as clinically significant.
RL T-score of 70 or higher considered invalid. Scores from T=65-T=69 suggest significant
parental under-endorsement, although not at a level that renders the TSCYS invalid.
ATR T-score 90 or higher considered invalid.
PTS-TOT: An overall measure of posttraumatic stress. Elevated scores (T> 70) suggest
relatively severe posttraumatic disturbance. A T-score in the 65-69 range is often
associated with at least one elevated PTSD symptom-cluster, and thus suggests mile to
moderate posttraumatic stress. If the child has experienced or witnessed a trauma that
produces significant emotional distress or disorganized/agitated behavior, a raw PTS-TOT
score of 40 or greater suggests PTSD.
Completed by Mother, A       P          , 2/24/15:
 SCALE                           T-SCORE                     SIGNIFICANCE
 RESPONSE LEVEL                  37
 ATYPICAL RESPONSE               68
 ANXIETY                         42
 DEPRESSION                      92                          Clinically Significant
 ANGER/AGGRESSION                75                          Clinically Significant
 POST-TRAUMATIC STRESS-          64
 INTRUSION
 POST-TRAUMATIC STRESS-          90                          Clinically Significant
 AVOIDANCE
 POST-TRAUMATIC STRESS-          90                          Clinically Significant
 AROUSAL
 POST-TRAUMATIC STRESS-          84                          Clinically Significant /
 TOTAL                                                       Suggests Severe
                                                             Posttraumatic Disturbance
 DISSOCIATION                    75                          Clinically Significant
 SEXUAL CONCERNS                 51




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Trauma Symptom Checklist for Children (Completed by children from ages 8-15): For
all clinical scales except SC and its sub-scales, T-scores at or above 65 are considered
clinically significant. T-scores in the range of 60-65 are suggestive of difficulty and may
represent sub-clinical but significant symptomatology. For the SC scale and its sub-scales
(SC-P and SC-D) T-scores at or above 70 are considered clinically significant.
UNDERRESPONSIVE: t-score equal to or greater than 70, invalid; 65-70 t-score possibly
under-responding
HYPERRESPONSIVE: t-score 90 or higher invalid; 75 -89 potential over-responder
Completed by Erin          M       , 2/24/15:
 SCALE                             SCORE                           SIGNIFICANCE
 UNDERRESPONSE                     42
 HYPERRESPONSE                     70
 ANXIETY                           51
 DEPRESSION                        67                              Clinically Significant
 ANGER                             61                              Sub-Clinical but Significant
 POST-TRAUMATIC STRESS             58
 DISSOCIATION                      74                              Clinically Significant
 DISSOCIATION-OVERT                76                              Clinically Significant
 DISSOCIATION-FANTASY              63                              Sub-Clinical but Significant
 SEXUAL CONCERNS                   110                             Clinically Significant
 SEXUAL CONCERNS –                 111                             Clinically Significant
 PREOCCUPATION OR
 UNUSUAL FOR GIVEN AGE
 SEXUAL CONCERNS –                 87                              Clinically Significant
 DISTRESS OR CONFLICT
 REFLECTIVE OF SEXUAL
 MATTERS OR EXPERIENCES
For all clinical scales except SC and its sub-scales, T-scores at or above 65 are considered
clinically significant. T-scores in the range of 60-65 are suggestive of difficulty and may
represent sub-clinical but significant symptomatology. For the SC scale and its sub-scales
(SC-P and SC-D) T-scores at or above 70 are considered clinically significant.




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 ACTIVITIES                      5.75                        Borderline Clinical Range
 SOCIAL                          7
 SCHOOL                          4.4
 TOTAL T                         33T                         Clinical Range


Trauma Symptom Checklist for Young Children (TSCYC): For all the clinical scales
except PTS-TOT, T-scores less than or equal to 64 are considered normal, T-scores between
65 and 69 are deemed potentially problematic, and T-scores greater than or equal to 70 are
interpreted as clinically significant.
RL T-score of 70 or higher considered invalid. Scores from T=65-T=69 suggest significant
parental under-endorsement, although not at a level that renders the TSCYS invalid.
ATR T-score 90 or higher considered invalid.
PTS-TOT: An overall measure of posttraumatic stress. Elevated scores (T> 70) suggest
relatively severe posttraumatic disturbance. A T-score in the 65-69 range is often
associated with at least one elevated PTSD symptom-cluster, and thus suggests mile to
moderate posttraumatic stress. If the child has experienced or witnessed a trauma that
produces significant emotional distress or disorganized/agitated behavior, a raw PTS-TOT
score of 40 or greater suggests PTSD.
Completed by Mother, A       P          , 2/24/15:
 SCALE                           T-SCORE                     SIGNIFICANCE
 RESPONSE LEVEL                  41
 ATYPICAL RESPONSE               56
 ANXIETY                         76                          Clinically Significant
 DEPRESSION                      98                          Clinically Significant
 ANGER/AGGRESSION                78                          Clinically Significant
 POST-TRAUMATIC STRESS-          81                          Clinically Significant
 INTRUSION
 POST-TRAUMATIC STRESS-          109                         Clinically Significant
 AVOIDANCE
 POST-TRAUMATIC STRESS-          62                          Potentially Problematic
 AROUSAL
 POST-TRAUMATIC STRESS-          83                          Clinically Significant /
 TOTAL                                                       Suggests relatively severe
                                                             posttraumatic disturbance
 DISSOCIATION                    72                          Clinically Significant
 SEXUAL CONCERNS                 59


Trauma Symptom Checklist for Children (Completed by children from ages 8-15): For
all clinical scales except SC and its sub-scales, T-scores at or above 65 are considered


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clinically significant. T-scores in the range of 60-65 are suggestive of difficulty and may
represent sub-clinical but significant symptomatology. For the SC scale and its sub-scales
(SC-P and SC-D) T-scores at or above 70 are considered clinically significant.
UNDERRESPONSIVE: t-score equal to or greater than 70, invalid; 65-70 t-score possibly
under-responding
HYPERRESPONSIVE: t-score 90 or higher invalid; 75 -89 potential over-responder
 SCALE                             SCORE                           SIGNIFICANCE
 UNDERRESPONSE                     52
 HYPERRESPONSE                     69
 ANXIETY                           44
 DEPRESSION                        61                              Sub-Clinical but Significant
 ANGER                             67                              Clinically Significant
 POST-TRAUMATIC STRESS             54
 DISSOCIATION                      73                              Clinically Significant
 DISSOCIATION-OVERT                78                              Clinically Significant
 DISSOCIATION-FANTASY              52
 SEXUAL CONCERNS                   55
 SEXUAL CONCERNS –                 60
 PREOCCUPATION OR
 UNUSUAL FOR GIVEN AGE
 SEXUAL CONCERNS –                 41
 DISTRESS OR CONFLICT
 REFLECTIVE OF SEXUAL
 MATTERS OR EXPERIENCES
For all clinical scales except SC and its sub-scales, T-scores at or above 65 are considered
clinically significant. T-scores in the range of 60-65 are suggestive of difficulty and may
represent sub-clinical but significant symptomatology. For the SC scale and its sub-scales
(SC-P and SC-D) T-scores at or above 70 are considered clinically significant.




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Appendix 4: Curricula vitae and resume




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       KATHLEEN MAY LAWTON COULBORN FALLER, Ph.D., A.C.S.W., D.C.S.W., L.C.S.W.

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                                     CURRICULUM VITAE
EDUCATION
1981      Ph.D., Social Work and Psychology, University of Michigan, Ann Arbor, Michigan
1973-74   Advanced course in Family and Marital Treatment, Institute for Group Analysis,
          London, England
1971      Master’s Degree in Social Work, University of Michigan, Ann Arbor, Michigan
1964-65   Graduate study in Political Science, University of Chicago, Chicago, Illinois
1963      A. B. in Political Science, Oberlin College, Oberlin, Ohio

EMPLOYMENT
2014-pres Marion Elizabeth Blue Professor Emerita of Children and Families, University of
          Michigan
2014-pres Co-Director, Family Assessment Clinic, Catholic Social Services of Washtenaw
          County
2006-2014 Marion Elizabeth Blue Professor of Social Work, University of Michigan
1992-2014 Professor, School of Social Work, University of Michigan
1990-2014 Director, Family Assessment Clinic, University of Michigan
2008-2013 Principal Investigator, National Child Welfare Workforce Institute. Sub-award.
          Children’s Bureau, University of Michigan
2003-2009 Principal Investigator, Recruitment & Retention of Child Welfare Professionals
          Program, University of Michigan
2000-2005 Principal Investigator, Hasbro Early Assessment Project, University of Michigan
2000-2004 Principal Investigator, Training Program for Child Welfare Supervisors, University
          of Michigan
1997-2000 Principal Investigator, Interdisciplinary Child Welfare Training Program, University
          of Michigan,
1995-2000 Faculty Director, CIVITAS Child and Family Programs, University of Michigan
1988-1992 Associate Professor, School of Social Work, University of Michigan.
1977-1995 Co-Director, Interdisciplinary Project on Child Abuse and Neglect, University of
          Michigan
1982-1988 Assistant Professor, School of Social Work, University of Michigan.
1977-1982 Lecturer, School of Social Work, University of Michigan,
1973-1974 Senior Psychiatric Social Worker, York Clinic, Guy’s Hospital, London, England.
1970-1973 Family Therapist, Family and School Consultation Project, Funded by NIMH, Ann
          Arbor, Michigan.
1965-1968 Case Worker, Cook County Department of Public Aid, Chicago, Illinois.
1963-1964 Group Worker, Manhattan General Hospital Drug Addiction Service, New York, New
          York.




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AWARDS
2014 Michigan Child Abuse and Neglect Social Work Award.
2012 Institute on Violence, Abuse and Trauma (IVAT). William Friedrich Memorial Child Sexual
       Abuse Research, Assessment and/or Treatment Award.
2012 Michigan Chapter of the National Association of Social Workers’ Lifetime Achievement
Award.
2011 National Children’s Advocacy Center’s Outstanding Lifetime Achievement Award.
2010 University of Michigan School of Social Work Distinguished Faculty Award.
2008 American Professional Society on the Abuse of Children’s Outstanding Research Achievement
       Award.
1998 American Professional Society on the Abuse of Children’s Outstanding Service Award.

PUBLICATIONS
Books
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         London, UK: Routledge.
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         (Italian Translation of Interviewing Children about Sexual Abuse).
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         York: Oxford University Press.
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         Oaks, CA: Sage Publications.
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         York: Haworth Press.
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         Newbury Park, CA: Sage Publications.
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         Health and Human Services.
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         and Treatment. New York: Columbia University Press.
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         Interdisciplinary Practice. New York: The Free Press.
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         of extended assessments to resolve allegations of sexual abuse: It’s the performance that
         counts. Journal of Social Service Research.
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         custody and visitation in cases involving domestic violence: a comparison of professionals
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         Historical benchmarks. Social Sciences,4, 34–65.
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         Place for Extended Assessments for Evaluating Concerns about Child Sexual Abuse?


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         Place For Extended Assessments in Addressing Child Sexual Abuse Allegations? How
         Sensitivity and Specificity Impact Professional Perspectives. Journal of Child Sexual Abuse,
         23(2), 179-197.
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         evaluators' recommendations in cases of intimate partner violence. Journal of Family
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         Humility Perspective: A Paradigm Shift. Child Welfare, 90 (5), 27-50
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         allegations: Why consensus on best practice remains elusive; Contextualizing our concerns.
         Journal of Child Sexual Abuse: Research, Treatment, & Program Innovations for Victims,
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         evaluations: Why sexualized behavior still counts in assessments of child sexual abuse
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         ecological systems analysis. Children and Youth Services Review, 33, 1058-1066.
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         interviewers conducting extended assessments: Results from a multi-site study. Journal of
         Child and Adolescent Trauma, 20(3).
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         Innovations for Victims, Survivors, & Offenders. 19 (6), 648-668.
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Faller, K. C. (forthcoming). Child Abuse and Neglect, Special Needs of Families and Children of Color.
         In Linwood Cousins (Ed.). Encyclopedia of Human Services and Diversity. Thousand Oaks, CA:
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Protective Services for Children. Encyclopedia of Social Work. 18th Edition, Silver Springs, Maryland:
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Book reviews
Child sexual abuse in Victorian England, by Louise A. Jackson, Children and Youth Services Review.
        Forthcoming.
Vulnerable Populations: V.II, by Suzanne Sgroi. The APSAC Advisor. 1997.
With the Best of Intentions: The Child Sexual Abuse Prevention Movement, by Jill Berrick and Neil
        Gilbert. Children and Youth Services Review. 1993.
Preventing Physical and Emotional Abuse of Children, by David Wolfe. Journal of Teaching in Social
        Work. 1993.
Family Sexual Abuse: Frontline Research and Evaluation, by Michael Quinn Patton, (Ed.). Child Abuse
        and Neglect: The International Journal. 16, 1992.
Wounded Innocents: The Real Victims of the War Against Child Abuse, by Richard Wexler. Journal of
        Interpersonal Violence. 6(4), 1991.
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        International Journal. 15: 1991.
Child Abuse and Neglect: Sharing Responsibility, by Pamela Mayhall and Katherine Norgard. Children
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Techniques for Dealing with Child Abuse, by Arlene Baxter. Victimology. 1985.

Journal Editions
Faller, K. C. & Everson, M. (2012). Contested issues in the evaluation of child sexual abuse. Journal of
         Child Sexual Abuse: Research, Treatment, & Program Innovations for Victims, Survivors, &
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Faller, K. C. & Everson, M. (1996). The Child Interview: Special Section. Child Maltreatment. 1(2): 1-
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WORKS IN PROGRESS
Books
Faller, K.C. Interviewing Children about Sexual Abuse: Controversies and Best Practice, 2nd edition.
         Oxford University Press.
Journal editions
Faller, K. C. & Friend, C. The Witch Hunt Narrative: Revisiting Child Sexual Abuse in Daycare. Journal
         of Interpersonal Violence.

RESEARCH REPORTS
Final report: Recruitment and Retention of Child Welfare Employees 2010.
Final report: Hasbro Early Assessment Project, 2005.
Final report: Training Program for Child Welfare Supervisors, 2004.
Final report: Interdisciplinary Child Welfare Training Program, 2001.
Children Who May have Been Sexually Abused: A Summary of Findings, with Ellen DeVoe. 1999.
Final Report: Computer Assisted Interviewing of Children Suspected of Having Been Sexually Abused
        with Ellen DeVoe. National Institute of Mental Health, 1995.
Children at Risk: A Study of Fifty-One Families, with Donald Duquette and Sandra Mortenson, Ann
        Arbor, Michigan: Washtenaw County Coordinating Council for Children at Risk, 1981.

Monographs
Diffusion of Behavior Modification into Human Service Organizations: A Study of Knowledge Utilization,
        Ann Arbor, Michigan: CRUSK, Institute for Social Research, 1978, 98 pp.

Dissertation
Social Structural Variables in Families That Abuse and Neglect Their Children. 1981, 349 pp.

GRANTS, CONTRACTS, FELLOWSHIPS, AND SCHOLARSHIPS
2013-2014   Distinguished Faculty-Graduate Student Seminar: The Safety of Minors on College
            and University Campuses: A Social Justice Challenge. Principal Investigator. $7,500.
2011-2012   Systems of Care Infrastructure Development Grant with American Indian Health and
            Family Services and Michigan Intertribal Council. Substance Abuse and Mental Health
            Services Administration, Principal Investigator on Family Assessment Clinic
            subaward, Co-investigator (Sandra Momper, P.I.) on the University of Michigan
            School of Social Work subaward. $175,000.
2008-2013   National Child Welfare Workforce Institute. Sub-award. Children’s Bureau,
            Department of Health and Human Services, Principal Investigator. $300,000.
2004-2013   State of Michigan Department of Human Services Contract Coun 09-099475. $30,000
            per year.
2008        Child Welfare Planning Grant. Anne E. Casey Foundation. Principal Investigator.
            $18,000
2003 –      Curriculum for Recruitment and Retention of Child Welfare Employees, Children’s
2010        Bureau, Department of Health and Human Services, Principal Investigator
            $1,000,000.



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2001-        Hasbro Early Assessment Project, Hasbro Children’s Foundation, Principal
Investigator
2004         $144,000.
2000-        Training Program for Public Child Welfare Supervisors, Children’s Bureau,
Department 2004              of Health and Human Services, Principal Investigator. $600,000
1998-        Public Child Welfare Traineeship Program, Act 426, USDHHS, Principal Investigator.
2000         $150,000
1998-        Substance Abuse and Mental Health Services Administration. #SM-52379, USDHHS,
1999         Principal Investigator. $75.000
1997-        Interdisciplinary Child Welfare Training Program, Children’s Bureau, Department of
2000         Health and Human Services, Principal Investigator, $600,000.
1996-        Child Welfare Planning Grant, Michigan Family Independence Agency, Director.
1997         $50,000
1994-        CIVITAS Child and Family Programs; CIVITAS Initiative, Faculty Director.
1999         $900,000.
1993-        Computer Assisted Interviewing of Children Suspected of Having Been
1995         Sexually Abused, research sub-contract with Morphonix, funding source, National
             Institute of Mental Health; Research Director. $150,000
1986-        NIMH Child Mental Health Training Grant, U.S. Department of Health
1992         and Human Services; Principal Investigator.~$200,000
1985-        Family Assessment Clinic, A Multidisciplinary Team, University of Michigan
present      Director.~$150,000 per year.
1979-        Multidisciplinary Training Grant, Michigan Department of Social Services;
1989         Project Director.       ~$150,000 per year.
1978-        Research Grant from the University of Michigan Division of Research and
1984         Development Administration for “Family-Community Intervention: Child Abuse and
             Neglect.” $10,000.

PRESENTATIONS GIVEN AT CONFERENCES

2015   Protections for child witnesses. With Frank Vandervort, J.D. One Child, Many Hands:
       Multidisciplinary Conference on Child Welfare, Field Center for Children’s Policy, Practice, &
       Research, University of Pennsylvania.
2015   Sexual abuse disclosure failures and what to do about them. 31st International Symposium
       on Child Abuse, Huntsville, AL.
2015   Family treatment roadmap. With Mary Ortega, LMSW. 31st International Symposium on
       Child Abuse, Huntsville, AL.
2015   Comprehensive family assessments. Partners in Courage Annual Conference, Austin, TX.
2014   Applying new research to asking children about child maltreatment and endangerment.
       2014 Alaska Child Maltreatment Conference, Anchorage, AK.
2014   Comprehensive family assessments in child maltreatment cases. 2014 Alaska Child
       Maltreatment Conference, Anchorage, AK.
2014   Sexual abuse allegations in divorce. 2014 Alaska Child Maltreatment Conference,
       Anchorage, AK.
2014   Extended assessments/evaluations when there are concerns about child abuse; Current
       state of the art & science. 2014 Alaska Child Maltreatment Conference, Anchorage, AK.



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2014   The Coached Child: Is Coaching a Problem in Child Sexual Abuse Cases? Michigan 32nd
       Statewide Conference on Child Abuse and Neglect, Plymouth, MI.
2014   Comprehensive Family Assessments in Child Maltreatment Cases. With Mary Ortega,
       L.M.S.W. Colloquium of the American Professional Society on the Abuse of Children, New
       Orleans.
2014   Extended Assessments/Extended Forensic Interviews: Current State of the Art and the
       Science. When Words Matter, Baltimore, MD.
2014   The Importance of Early, Comprehensive Assessments of Families Involved in the Child
       Welfare System. The 30th National Symposium on Child Maltreatment, Huntsville, AL.
2014   The Coached Child. The 30th National Symposium on Child Maltreatment, Huntsville, AL.
2014   Extended Assessments/Extended Forensic Interviews: Current State of the Art and the
       Science. With Linda Cordisco-Steele. 2014 San Diego International Conference on Child and
       Family Maltreatment. San Diego, CA.
2014   Asking Children about Maltreatment & Endangerment. 2014 San Diego International
       Conference on Child and Family Maltreatment. San Diego, CA.
2014   Longitudinal Assessment of the National Child Welfare Workforce Institute Traineeship
       Programs: Innovative Approaches and Lessons Learned From a Multi-Site Partnership
       Evaluation. With others. Conference of the Society for Social Work and Research, San
       Antonio, TX.
2013   Sexual Abuse Disclosure: What the Research Tells Us (and Practice Implications). 10th
       Annual Seminar in Forensic Sciences, S. Padre Island, TX.
2013   Comprehensive Family Assessments. 13th Annual Children’s Cove Conference on Child
       Sexual Abuse, Hyannis, MA.
2013   The Coached Child: Is Coaching a Problem in Child Sexual Abuse. 13th Annual Children’s
       Cove Conference on Child Sexual Abuse, Hyannis, MA.
2013   Sexual Abuse Allegations in Divorce. 10th Annual Maryland Children’s Alliance Mid-Atlantic
       Conference on Child Abuse and Neglect, We Treasure Our Children, Annapolis, MD.
2013   Developmentally Delayed Parents and Permanency Planning. 10th Annual Maryland
       Children’s Alliance Mid-Atlantic Conference on Child Abuse and Neglect, We Treasure Our
       Children, Annapolis, MD.
2013   Assessment and Treatment of Parents whose Children Have been Sexually Abused, with
       Mary Ortega, ACSW and Orli Avi-Yonah, Ph.D, L.P., LMSW. 32nd Annual Michigan Child Abuse
       & Neglect Conference: Prevention, Assessment, and Treatment. Plymouth, MI.
2013   Family Treatment Roadmap, with Mary Ortega, ACSW and Roberta Hirshon LMSW.
       Colloquium of the American Professional Society on the Abuse of Children, Las Vegas, NV.
2013   First Do No Harm: Sensitivity and Specificity in Child Sexual Abuse Evaluations, with Debra
       Nelson-Gardell, Ph.D., & Javonda Williams, Ph.D. Colloquium of the American Professional
       Society on the Abuse of Children, Las Vegas, NV.
2013   The Need for Early, Comprehensive Assessments for Adequate Case Planning, with Frank
       Vandervort, J.D., One Child, Many Hands Conference, University of Pennsylvania,
       Philadelphia, PA.
2013   Keynote: Child Sexual Abuse and Social Justice: Who Are the Stakeholders And What Are the
       Stakes? Conference of the Society for Social Work and Research, San Diego, CA.
2013   First Do No Harm: Sensitivity and Specificity in Assessment for Alleged Sexual Abuse. 29th
       National Symposium on Child Abuse, Huntsville, AL.




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2013     Parental Alienation Syndrome/Disorder: Recent Developments. 29th National Symposium
         on Child Abuse, Huntsville, AL.
2013     Sensitivity or Specificity: Helping Children Tell What Happened, with Debra Nelson-Gardell,
         Ph.D., & Javonda Williams, Ph.D. National Organization of Forensic Social Work, Seattle.
2013     Panel Presentation on Expert Testimony in Child Abuse, with Viola Vaughn-Eden, Ph.D.,
         Javonda Williams, Ph.D., Debra Nelson-Gardell, Ph.D. Moderator. National Organization of
         Forensic Social Work, Seattle.
2012     Cultural competence + cultural humility=cultural responsiveness, with Prof. Robert Ortega.
         Colloquium of the American Professional Society on the Abuse of Children, Chicago.
2012     The challenges of collaboration between social workers and lawyers: When world views
         collide, with Prof. Frank Vandervort. Colloquium of the American Professional Society on
         the Abuse of Children, Chicago.
2012     Forensic interviewing panel, with Patricia Toth, J.D., and Kee MacFarlane, M.S.W. Julie
         Kenniston, M.S.W., moderator. Colloquium of the American Professional Society on the
         Abuse of Children, Chicago.
2012     Reflections on 30 years of evaluating and testifying about suspected child sexual abuse
         cases, with David Corwin, M.D. & Mark Everson, Ph.D. 17th International Conference on
         Violence, Abuse & Trauma, San Diego.
2012     Extended forensic evaluations for child sexual abuse allegations. 17th International
         Conference on Violence, Abuse & Trauma, San Diego.
2012     Family treatment roadmap, with Mary Ortega and Roberta Hirshon, Michigan Statewide
         Conference on Child Abuse and Neglect, Plymouth, MI
2012     Protecting Child Witnesses, with Frank Vandervort. 28th National Symposium on Child
         Maltreatment, Huntsville, AL.
2012     Family Treatment Roadmap, with Mary Ortega & Abigail Eiler. 28th National Symposium on
         Child Maltreatment, Huntsville, AL.
2012     Extended Assessments, a Review of the Research and Next Steps, with Debra Nelson-Gardell,
         Javonda Williams, & Linda Cordisco-Steele. 28th National Symposium on Child Maltreatment,
         Huntsville, AL.
2012.   Cultural Humility. With Robert Ortega. 28th National Symposium on Child Maltreatment,
         Huntsville, AL.
2011     Proving Child Sexual Abuse Cases in Court: Mental Health/Legal Collaboration. One Child,
         Many Hands: Interdisciplinary Child Welfare Conference, University of Pennsylvania,
         Philadelphia. With Frank Vandervort
2011     Report of the Qualitative Interviews with NCWWI Traineeship Principal Investigators.
         National Child Welfare Workforce Institute Traineeship Annual Meeting, Chicago
2011     APSAC Plenary Session on Forensic Interviewing—panel. American Professional Society on
         the Abuse of Children Colloquium, Philadelphia
2011     Research session: Perceived need for extended assessments of child sexual abuse. American
         Professional Society on the Abuse of Children Colloquium, Philadelphia With Debra Nelson-
         Gardell and Javonda Williams
2011     Questioning children about maltreatment and endangerment. American Professional Society
         on the Abuse of Children Colloquium, Philadelphia
2011     Comprehensive Family Assessments. 16th Annual Northern New England Conference on Child
         Maltreatment, Portland, ME.




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2011  Disclosure of child sexual abuse: An event or a process. 16th Annual Northern New England
      Conference on Child Maltreatment, Portland, ME.
2011 Keynote: Child Focused-Family Friendly Assessments in Child Welfare. Michigan State Court
      Administrators Office, Lansing, MI.
2011 Assessments of Mothers in Child Welfare. Michigan State Court Administrators Office,
      Lansing, MI.
2011 Brieland Child Welfare Lecture: Social Justice and Child Sexual Abuse, University of Illinois
      School of Social Work, Urbana-Champaign, IL
2011 Extended assessments when abuse is suspected but not disclosed: Perceived need and
      models for extended assessment process. With Debra Nelson-Gardell, Linda Cordisco-Steele,
      Javonda Williams, and Amy Tishelman. National Symposium on Child Abuse, Huntsville, AL
2011 Parental Developmental Disabilities and Permanency Planning with Mary Ortega. National
      Symposium on Child Abuse, Huntsville, AL
2011 Asking open-ended questions about parental maltreatment and endangerment. National
      Symposium on Child Abuse, Huntsville, AL
2011. Allegations of abuse in divorce: Latest research and best practice. San Diego International
      Conference on Child Maltreatment
2011 Questioning children about people, places, maltreatment and endangerment. San Diego
      International Conference on Child Maltreatment
2010 Fauri Memorial Lecture: Can Class Action Lawsuits Be A Catalyst For Change In Child Welfare?
      What Can The Michigan Case Tell Us? With Terri Gilbert, Sara Bartosz, & Vivek Sankaran.
2010 Parents with Developmental Disabilities and Permanency Planning. Michigan Statewide
      Conference on Child Abuse & Neglect, with Mary Ortega, Plymouth, MI.
2010 Cultural Humility: A paradigm shift in child welfare, with Robert Ortega International Society
      for the Prevention of Abuse & Neglect. 18th International Congress, Honolulu.
2010 Interactive Session: Extended Assessments in Child Sexual Abuse. International Society for
      the Prevention of Abuse & Neglect, with Debra Nelson-Gardell. 18th International Congress,
      Honolulu.
2010 Allegations of sexual abuse in divorce. Oklahoma Conference on Child Abuse and Neglect,
      Norman, OK.
2010 Extended Assessments in Child Abuse. Oklahoma Conference on Child Abuse and Neglect,
      Norman, OK.
2010 Extended Assessments in Child Sexual Abuse with Debra Nelson-Gardell & Linda Cordisco
      Steele American Professional Society on the Abuse of Children, New Orleans
2010 Allegations of sexual abuse in divorce. American Professional Society on the Abuse of
      Children, New Orleans
2010 Grandparents in distress. Michigan Chapter of the National Association of Social Workers,
      Dearborn, MI presented with Mary Ortega.
2010 Allegations of abuse in divorce.        National Symposium on Child Maltreatment.
      Huntsville, AL.
2010 Grandparents in distress. National Symposium on Child Maltreatment             . Huntsville, AL.
      Co-presented with Mary Ortega.
2010 The Shifting Boundaries of Childhood. Discussant on a panel of papers, School of Social Work,
      University of Michigan.




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2009  Social Work and Legal Collaboration: When world views collide. Field Center National
      Conference on Child Welfare: One Child, Many Hands, University of Pennsylvania. Co-
      presented with Frank Vandervort, J.D.
2009 Plenary—20 years of experience in interpersonal violence International Violence, Abuse,
      and Trauma Conference. San Diego.
2009 Extended Assessments in Child Sexual Abuse. International Violence, Abuse, and Trauma
      Conference., San Diego.
2009 Final Plenary. International Violence, Abuse, and Trauma Conference . San Diego.
2009 Grandparents in distress: Grandparents raising their grandchildren. Michigan Statewide
      Conference on Child Abuse & Neglect. Co-presented with Mary Ortega
2009/ Trauma and Memory. International Congress on Violence, Trauma, and Abuse, Buenos Aires,
      Argentina.
2009 Legal issues in child protection: A United States perspective. International Congress on
      Violence, Trauma, and Abuse, Buenos Aires, Argentina; Spanish translation
2009 Decision-making in child sexual abuse . International Congress on Violence, Trauma, and
      Abuse, Buenos Aires, Argentina          ; Spanish translation
2009 Commitment to Child Welfare Work. National Conference on Child Abuse & Neglect, Atlanta,
      GA. With Prof. Robert Ortega.
2009 Recruitment and Retention of Child Welfare Professionals: Race Matters. National Conference
      on Child Abuse & Neglect, Atlanta, GA. With Prof. Robert Ortega.
2009 Children who are reluctant to disclose Child Sexual Abuse. National Symposium of Child
      Abuse, Huntsville, AL.
2009 Extended assessments in child sexual abuse. National Symposium of Child Abuse, Huntsville,
      AL. With Linda Cordisco-Steele & Prof. Debra Nelson-Gardell.
2009 Assessment of child sexual abuse. Special Symposium I: Assessment of Alleged Child Victim:
      Finding the Truth and Protecting the Child, Korean Association of Forensic Psychologists.
      Seoul National University, Seoul, S. Korea.
2008 Allegations of sexual abuse in divorce: Research and case management. Summit Conference
      for Judges and Court Staff: Stop the Silence; Stop Child Sexual Abuse, University of Maryland,
      College Park, MD.
2008 Outsourcing child welfare services. Colloquium of the American Professional Society on the
      Abuse of Children. Phoenix, AZ With Prof. Robert Ortega & Prof. Alberta Ellett.
2008 Extended Assessments in Child Sexual Abuse. Colloquium of the American Professional
      Society on the Abuse of Children. Phoenix, AZ With Linda Cordisco-Steele.
2008 Cultural Humility in Child Welfare Service Delivery. Colloquium of the American Professional
      Society on the Abuse of Children. Phoenix, AZ With Prof. Robert Ortega.
2008 Facilitating children’s disclosures of sexual abuse. San Diego International Conference on
      Child and Family Maltreatment.
2008 The coached child: Is coaching a problem in child sexual abuse. 24th National Symposium on
      Child Abuse. Huntsville, AL.
2008 Extended assessments/forensic evaluations of children who may have been sexually abused.
      24th National Symposium on Child Abuse. Huntsville, AL. With Linda Cordisco Steele and
      Debra Nelson. Gardell, Ph.D.
2008 Sources of disclosure failures in child sexual abuse. 24th National Symposium on Child Abuse.
      Huntsville, AL.




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2007   Multidisciplinary assessments in complex child welfare cases. Bergstrom Conference,
       University of Michigan Law School.
2007   Decision-making in child sexual abuse. Colorado State Child Welfare Conference, Keystone,
       CO.
2007   Disclosure of child sexual abuse. Colloquium of the American Professional Society on the
       Abuse of Children, Boston, MA. With Erna Olafson, PhD, PsyD.
2007   False allegations of sexual abuse. Colloquium of the American Professional Society on the
       Abuse of Children, Boston, MA. With Erna Olafson, PhD, PsyD
2007   Psychological evaluation in juvenile and family cases: Essentials of mental health assessment.
       National Association of Counsel for Children Conference, Keystone, CO. With Thomas Lyon,
       JD, PhD & Norton Roitman, MD.
2007   Assessing allegations of abuse in divorce: What lawyers need to know. National Association
       of Counsel for Children Conference, Keystone, CO.
2007   Extended assessment of children. Michigan Statewide Conference on Child Abuse and
       Neglect, Plymouth, MI. Peer reviewed. With Mary Ortega, ACSW.
2007   Rountable: Cultural Humility. Council on Social Work Education: APM, San Francisco. With
       Robert Ortega, Ph.D.
2007   Keynote: How children disclose sexual abuse. Congreso Violencia, Buenos Aires, AR.. Keynote.
2007   Open forum: Child sexual abuse. Congreso Violencia, Buenos Aires, AR.
2008   Parental alienation syndrome. San Diego International Conference on Child and Family
       Maltreatment.
2007   Deciding whether the child has been sexually abused. 23rd National Symposium on Child
       Abuse. Huntsville, AL.
2007   Extended assessments in child sexual abuse cases. 23rd National Symposium on Child Abuse.
       Huntsville, AL.
2007   Cultural Humility. Grantees’ Meeting of Child Welfare Grants. Washington, D.C. with Robert
       Ortega, Ph.D.
2007   The Hasbro Early Assessment Project. Child Advocacy Law Clinic 30 Anniversary Symposium.
       UM Law School. Panel presentation—Chair Anne Reyes Robbins, MSW.
2007   The Challenges of Interdisciplinary Professional Education in Child Advocacy. Child Advocacy
       Law Clinic 30 Anniversary Symposium. UM Law School. Panel presentation—Chair Frank
       Vandervort, JD.
2007   How Children Talk About Abuse. Arizona Court Improvement Project. Arizona Supreme
       Court. Keynote.
2006   Demonstrative Communication in Forensic Interviewing. Midwest Conference on Child
       Sexual Abuse. Madison, WI
2006   Beyond leading questions: Question controversies in forensic interviews. Midwest
       Conference on Child Sexual Abuse. Madison, WI.
2006   Questioning children about Sexual Abuse. Child Maltreatment Conference, University of
       Toronto SCAN Program and Hospital for Sick Children.
2006   Keynote: Allegations of Abuse in Custody/Access Cases. Child Maltreatment Conference,
       University of Toronto SCAN Program and Hospital for Sick Children.
2006   Early Multidisciplinary Assessment of Serious Child Protection Cases Involving Young
       Children. Children’s Bureau 2006 Conference “Many Paths, One Direction: Strategies for
       Achieving Lasting Reform in Child Welfare.”




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2006   Beyond leading questions: Complexities of interviewing children. APSAC Colloquium,
       Nashville, TE .With Mark Everson, Ph.D., University of North Carolina at Chapel Hill.
2006   Demonstrative communication in forensic interviewing. APSAC Colloquium, Nashville, TE.
       With Mark Everson, Ph.D., University of North Carolina at Chapel Hill.
2006   Keynote: The Process of Disclosure of Child Sexual Abuse. Nordic International Congress on
       Child Abuse and Neglect, Malmo, Sweden.
2006   Allegations of Abuse in Divorce. Nordic International Congress on Child Abuse and Neglect,
       Malmo, Sweden.
2006   Keynote: Beyond leading questions. Canadian Society for the Investigation of Child Abuse,
       Calgary, Alberta, CA.
2006   The Coached Child: Professional Perceptions. Canadian Society for the Investigation of Child
       Abuse, Calgary, Alberta, CA.
2006   A model for assessment of abuse allegations in divorce. 22nd National Symposium on Child
       Abuse Huntsville, AL.
2006   Communicating with children: More than words.          22nd National Symposium on Child
       Abuse, Huntsville, AL.
2006   Beyond leading questions: Complexities of interviewing children. Eastern Conference on
       Child Sexual Abuse Treatment Wash., D.C.
2006   Demonstrative communication in forensic interviewing. Eastern Conference on Child Sexual
       Abuse Treatment, Wash., D.C.
2006   Accusations of child abuse in family court. 20th International San Diego Conference on Child
       and Family Maltreatment, San Diego . With Prof. John E.B Myers, Hon Harry Elias, Hon.
       Lorna Alksne.
2006   Psychological evidence in sexual abuse cases.20th International San Diego Conference on
       Child and Family Maltreatment, San Diego. With Prof. Thomas Lyon, USC Law School
2005   Evidence based treatment of traumatized children. Child Abuse and Neglect Prevention,
       Assessment and Treatment. Ypsilanti, MI. With Mary Ortega, A.C.S.W.
2005   Multidisciplinary assessment of allegations of abuse in divorce/custody cases. Child Abuse
       and Neglect Prevention, Assessment and Treatment. Ypsilanti, MI. With Mary Ortega, A.C.S.W.
2005   Recurring reports of child maltreatment with no resolution. Colloquium of the American
       Professional Society on the Abuse of Children, New Orleans
2005   Evaluating the quality of forensic interviewing: Results from a pilot study. Colloquium of the
       American Professional Society on the Abuse of Children, New Orleans. With Ilene Berson,
       Ph.D., Michael Haney, Ph.D., Jon Conte, Ph.D., & Kee MacFarlane, M.S.W.
2005   Multidisciplinary assessments of substantiated CPS Cases involving young children: Findings
       from a pilot study. Colloquium of the American Professional Society on the Abuse of Children,
       New Orleans
2005   Child and system outcomes from multidisciplinary assessments of substantiated serious CPS
       cases involving young children. 15th National Conference on Child Abuse and Neglect. Boston.
2005   Understanding child welfare workforce challenges. With Robert Ortega. .Children’s Bureau
       Child Welfare Grantees Conference and Meeting. Washington, D.C.
2005   Structure in forensic interviews: An evidence-based critique. 21st National Symposium on
       Child Abuse. Huntsville, AL.
2005   Multidisciplinary evaluation of complex child welfare cases, with Mary Ortega, ACSW. 21st
       National Symposium on Child Abuse. Huntsville, AL.




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2005   Evaluating forensic interviews. International Conference on Child and Family Maltreatment.
       San Diego.
2005   The coached child. International Conference on Child and Family Maltreatment. San Diego.
2005   Use of media in forensic interviewing. International Conference on Child and Family
       Maltreatment. San Diego.
2005   Peer review of forensic interviews. International Conference on Child and Family
       Maltreatment. San Diego.
2004   Disclosure of child sexual abuse. International Congress on Child Abuse and Neglect.
       Brisbane, AU.
2004   The power and limitations of multivariate analysis to understand successful criminal
       prosecution of child sexual abuse. Society for Social Work and Research, New Orleans.
       Symposium organized by Karen Staller; with Bill Birdsall, Jim Henry, Frank Vandervort, and
       Elana Buch.
2004   Successful criminal prosecution of child sexual abuse: A mixed methods study.         San
       Diego Conference of Child Maltreatment, Center for Child Protection, Children’s Hospital and
       Health Center, with Karen Staller, Bill Birdsall, Frank Vandervort, and Elana Buch.
2004   The Hasbro Early Assessment Project. National Symposium on Child Maltreatment,
       Huntsville, AL, with Mary Ortega, M.S.W.
2004   Models for extended evaluations of sexual abuse cases. National Symposium on Child
       Maltreatment, Huntsville, AL.
2004   The use of media in forensic interviews. National Symposium on Child Maltreatment,
       Huntsville, AL.
2004   Legal issues in child sexual abuse. Imagine: Breaking the Cycle Conference XXVI, South Bend,
       Indiana.
2003   Contested issues in child sexual abuse. Annual New Jersey MDT Conference Crimes against
       Children. Trenton, New Jersey
2003   Decision-making in child sexual abuse. Annual New Jersey MDT Conference Crimes against
       Children, Newark.
2003   Evidence-based practice in forensic interviewing. Colloquium of the American Professional
       Society on the Abuse of Children, Orlando. 11th annual national conference
2003   The Parental Alienation Syndrome, parental alienation, and the alienated child.
       Colloquium of the American Professional Society on the Abuse of Children, Orlando. 11th
       annual national conference
2003   Successful criminal prosecution of child sexual abuse: A mixed methods study. International
       Conference on Family Violence, San Diego. with James Henry, Ph.D., Western Michigan
       University (other co-authors, Karen Staller, Bill Birdsall, Frank Vandervort, Elana Buch.
2003   Advanced Forensic Interviewing. 11th Annual Conference on Child Abuse and Neglect,
       Bretton Woods, New Hampshire.
2003   Sexual abuse in religious settings. 11th Annual Conference on Child Abuse and Neglect,
       Bretton Woods, New Hampshire.
2003   Parental alienation syndrome, parental alienation, and the alienated child. 11th Annual
       Conference on Child Abuse and Neglect, Bretton Woods, New Hampshire
2003   Decision-making in Child Sexual Abuse: A Process or an Event? 4th Annual Child Abuse
       Summit, Portland, Oregon
2003   Interviewing Children who are Reluctant to Disclose Sexual Abuse: A Process or an Event? 4th
       Annual Child Abuse Summit, Portland, Oregon



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2003   Children’s Disclosures of Child Sexual Abuse: A Process or an Event? 4th Annual Child Abuse
       Summit, Portland, Oregon
2003   Coordinated Intervention Can Work: Successful Criminal Prosecution of Child Sexual Abuse.
       14th National Conference on Child Abuse and Neglect, St. Louis, MO. with James Henry, Ph.D.
2003   Early Assessment and Follow-up to Help Children and Families Reported to Child Protective
       Services. 14th National Conference on Child Abuse and Neglect, St. Louis, MO. with Elaine
       Pomeranz, M.D.
2003   Multidisciplinary Assessment of First-time Referrals to Child Protective Services Cases
       Involving Young Children. Children’s Bureau, Conference for Child Welfare Training and
       Adoption Opportunities, Washington. D.C. with Deborah Willis, M.S.W., M.A., & Jan Baeszler.
2003   Forensic Interviewing Dilemmas in Sexual Abuse Cases: Null Findings, False Negatives, and
       Recantations. Nineteenth National Symposium on Child Abuse, Huntsville, AL. with Julie
       Javeri.
2003   Multidisciplinary Assessment of Complex Child Welfare Cases. Nineteenth National
       Symposium on Child Abuse, Huntsville, AL. with Mary Ortega, M.S.W.
2003   Parental Alienation Syndrome, Parental Alienation, and the Alienated Child. Nineteenth
       National Symposium on Child Abuse, Huntsville, AL.
2002   Contested Issues in Interviewing Children About Sexual Abuse, American Professional
       Society on the Abuse of Children, New Orleans.
2002   Forensic Interview Protocols: A Critique, American Professional Society on the Abuse of
       Children, New Orleans.
2002   Evidence-based Practice and Child Forensic Interviewing, International Society on the
       Prevention and Treatment of Child Abuse and Neglect, Denver, CO. with David Corwin, M.D.
2002   Successful Criminal Prosecution of Child Sexual Abuse (poster session) International Society
       on the Prevention and Treatment of Child Abuse and Neglect, Denver, CO. with James Henry,
       Ph.D.
2002   Early Assessment of Cases Referred to Child Protective Services (poster session),
       International Society on the Prevention and Treatment of Child Abuse and Neglect, Denver,
       CO. with Elaine Pomeranz, M.D.
2002   American Professional Society on the Abuse of Children, Forensic Interviewing Institute (1
       day) International Society on the Prevention and Treatment of Child Abuse and Neglect,
       Denver, CO.
2002   Allegations of Sexual Abuse in Divorce, Seventh Annual Northern New England Conference
       on Child Maltreatment, Portland, Maine
2002   Parental Alienation Syndrome: What Are the Research Findings?, Seventh Annual Northern
       New England Conference on Child Maltreatment, Portland, Maine
2002   Decision-making in Child Sexual Abuse. Seventh Annual Northern New England Conference
       on Child Maltreatment, Portland, Maine
2002   Pre-conference Institute—Assessing Allegations of sexual abuse in divorce. Midwest
       Conference on Child Sexual Abuse, Madison, WI.
2002   Parental Alienation Syndrome: What Does Research Tell Us? Midwest Conference on Child
       Sexual Abuse, Madison, WI.
2002   Allegations of Abuse in Divorce Proceedings. Summit on Children and the Courts: Improving
       Court Responses to Child Victims of Intra-Familial Violence and Sexual Abuse, THE Children’s
       Law and Policy Initiative at Massachusetts Citizens For Children, Boston, MA.




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2002  Decision-making in Child Sexual Abuse. 21st Annual Michigan Statewide Conference on Child
      Abuse and Neglect, University of Michigan, Ypsilanti, MI.
2002 Update on Allegations of Sexual Abuse in Divorce. Nineteenth National Symposium on Child
      Sexual Abuse, Huntsville, AL..
2002 Contested Issues and Current Controversies in Interviewing Children Who May Have Been
      Sexually Abused. Nineteenth National Symposium on Child Sexual Abuse, Huntsville, AL.
2002 Forensic Interviewing of Young Children: Research & Practice. (Institute) San Diego
      Conference on Child and Family Maltreatment, San Diego, CA.
2002 What Makes Sex Offenders Confess? San Diego Conference on Child and Family Maltreatment,
      San Diego, CA.
2002 A New Approach to Substantiated CPS Cases with Young Children. San Diego Conference on
      Child and Family Maltreatment, San Diego, CA.
2002 What Makes Sex Offenders Confess? Society for Social Work and Research, San Diego.
2001 Parental Mental Health Problems and Children's Welfare. 5th New England Conference on
      Child Sexual Abuse, University of Vermont, Burlington, VT.
2001 Domestic Abuse and Children's Welfare. 5th New England Conference on Child Sexual Abuse,
      University of Vermont, Burlington, VT.
2002 Allegations of Sexual Abuse in Divorce. Kansas Professional Society on the Abuse of Children,
      Topeka, KS., with Anne Haralambie, J.D.
2001 The Art and Science of Forensic Interviewing of Young Children. (Institute). Prevent Child
      Abuse South Carolina, Columbus, S.C.
2001 The Parental Alienation Syndrome: A Critical Analysis of Issues. National Association of
      Counsel for Children, San Diego, CA.
2001 The Art and Science of Forensic Interviewing of Young Children. (Institute). Georgia Council
      on Child Abuse, Atlanta, Ga.
2001 An Update on Allegations of Abuse in Divorce. Colloquium, American Professional Society of
      the Abuse of Children, Washington, D.C., with Thomas Lyon, J.D., Ph.D.
2001 Pre-conference Workshop: Screening for Substance Abuse in Child Welfare Clients. National
      Conference on Child Abuse and Neglect, Albuquerque, with Melnee McPherson, M.S.W.
2001 Decision-making in Child Sexual Abuse. Seventeenth National Symposium on Child Sexual
      Abuse, National Children’s Advocacy Center, Huntsville, AL.
2001 The Art and Science of Forensic Interviewing. Seventh Annual South Carolina Professional
      Colloquium on Child Abuse, Charleston, S.C.
2001 Decision-making in Child Sexual Abuse Cases. Seventh Annual South Carolina Professional
      Colloquium on Child Abuse, Charleston, S.C.
2001 Predictors of Confession to Child Sexual Abuse. Fifteenth Annual San Diego Conference on
      Responding to Child Maltreatment, San Diego, CA.
2001 Update on Findings about Allegations of Abuse in Divorce & Custody cases. Fifteenth Annual
      San Diego Conference on Responding to Child Maltreatment, San Diego, CA.
2000 Patterns of Disclosure in Child Sexual Abuse Victims. Fifteenth Annual San Diego Conference
   on Responding to Child Maltreatment, San Diego, CA.
2000 Forensic Interviewing: Parts 1&2.Midwest Regional Children’s Advocacy Center Conference
      on Child Abuse, Minneapolis, MN.
2000 Keynote Presentation: The Needs of Child Victims of Sexual Abuse: Research and Practice
      Implications. National Organization for the Treatment of Abusers 10th Annual Conference,
      Dublin, Ireland.
2000 Seminar: Allegations of Sexual Abuse in Divorce. National Organization for the Treatment of
      Abusers 10th Annual Conference, Dublin, Ireland.


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2000  Keynote: The Art and Science of Forensic Interviewing of Young Children. Child and
      Adolescent Sexual Abuse Victims and Sexual Offenders, Fourth Annual Broken Boundaries
      Conference, Providence, R.I.
2000 Forensic Interviewing of Children who May Have Been Sexually Abused. 2000 Western
   Regional Symposium on Child Abuse and Sexual Assault. Eugene, Oregon.
2000 Interviewing Child Sexual Abuse Victims. Children’s Advocacy Services Fourth Annual
      Symposium. St. Louis, MO.
2000 A Critical Review of Forensic Interview Protocols Recommended for Investigation of Child
      Sexual Abuse. APSAC Colloquium on Child Maltreatment, Chicago.
2000 Keynote: Child sexual abuse in historical and political perspective. Current Thinking/New
      Directions Conference. Children’s Cove & District Attorney’s Office, Cape Cod, MA.
2000 Keynote: Child sexual abuse in historical and political perspective. Current Thinking/New
      Directions Conference. Children’s Cove & District Attorney’s Office, Cape Cod, MA.
2000 Successful Management of Child Sexual Abuse Cases. Colloquium, American Professional
      Society of the Abuse of Children, Chicago, IL.
2000 Protocols for Interviewing Children who may have been Sexually Abused. 19th Annual Child
      Abuse and Neglect Conference, University of California at Davis, Sacramento, CA.
2000 Forensically Defensible Questioning Techniques for Children who may have been Sexually
      Abused. 19th Annual Child Abuse and Neglect Conference, University of California at Davis,
      Sacramento, CA.
2000 Decision-making in Child Sexual Abuse. 19th Annual Child Abuse and Neglect Conference,
      University of California at Davis, Sacramento, CA.
2000 Child Sexual Abuse: Abuse and System Impacts. Annual Conference, New Mexico Crime
      Victims Reparations Commission, Albuquerque.
2000 Child Sexual Abuse: A Case Study In Community Collaboration. With James Henry, Ph.D.
      Annual Conference Michigan Chapter NASW, Mt. Pleasant, MI.
2000 Questioning Children Who May Have been Sexually Abused. Eighth Annual Children’s Justice
      Act Conference, Seattle, WA.
2000 Forensic Interviewing: Problem Cases. Eighth Annual Children’s Justice Act Conference,
      Seattle, WA.
2000 Forensic Interviewing in Child Sexual Abuse. Annual Conference, New Mexico Crime Victims
      Reparations Commission, Albuquerque.
2000 False positive and false negative allegations of sexual abuse, with Erna Olafson, Ph.D., Psy.D.,
      San Diego Conference, Responding to Child Maltreatment, San Diego CA.
2000 Forensic Interviewing. with Kee MacFarlane, M.S.W. American Professional Society on the
      Abuse of Children Day Long Institute, San Diego, CA.
2000 Forensic interviewing: A mental health perspective. Forensic Interviewing Conference:
      Addressing the Investigation and Prosecution of Child Sexual Abuse in the New Millenium.
      Commonwealth of Kentucky, Louisville, KY.
2000 A Critical Analysis Of Protocols For Interviewing Children Who May Have Been Sexually
      Abused. Sixteenth National Symposium on Child Sexual Abuse. Huntsville, AL.
2000 Assessment of Child Maltreatment Cases With Parental Substance Abuse, Domestic Violence,
      And Mental Health Problems. With Frank Vandervort, J.D. Sixteenth National Symposium on
      Child Sexual Abuse. Huntsville, AL.
1999 Forensically Defensible Interviewing of Children. With Melissa McDermott, A.C.S.W. APSAC
      Rhode Island Chapter, Providence, R.I.
1999 Child Maltreatment And Endangerment In The Context Of Divorce. Child Embattled by
      Divorce Symposium, University of Arkansas Law School, Little Rock, AR.



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1999   Interviewing Children Who May Have Been Sexually Abused.. New Mexico Coalition of Sexual
       Assault Programs, Inc., Albuquerque, N.M.
1999   Allegations of Sexual Abuse in Divorce. Fifteenth Annual Symposium, Georgia Council on
       Child Abuse, Atlanta, GA.
1999   Focused Questions for Asking about Child Endangerment and Maltreatment. Michigan
       Statewide Conference on Child Abuse, University of Michigan Hospitals, Ann Arbor, MI.
1999   The Art and Science of Forensic Interviewing, with Mark Everson, Ph.D., APSAC Colloquium
       on Child Maltreatment, San Antonio, TX.
1999   Allegations of Sexual Abuse in Divorce, with Thomas Lyon, J.D., Ph.D., APSAC Colloquium on
       Child Maltreatment, San Antonio, TX.
1999   Question Design for Forensic Interviewers. With Kee MacFarlane, M.S.W. Responding to Child
       Maltreatment, Children’s Hospital and Health Center, San Diego..
1999   Media in Forensic Interviewing: Research Findings and Practice Implications. Responding to
       Child Maltreatment, Children’s Hospital and Health Center, San Diego..
1999   Expert Testimony in Child Maltreatment Cases: Courtroom Skills for All Disciplines. With
       Hon. Harry Elias, Paul Stern, J.D., & David Chadwick, M.D. APSAC Advanced Training
       Institutes.
1998   Allegation of Abuse in Divorce, National Conference on Child Abuse and Neglect, Cincinnati,
       OH.
1998   Interviewing Children Who May Have Been Sexually Abused, Western Regional Conference,
       National Children’s Advocacy Center, Anchorage, AL.
1998   Forensic Interviewing for Child Sexual Abuse, Midwest Conference on Sexual abuse and
       Incest, University of Wisconsin, Madison.
1998   Keynote—History of Children’s Advocacy,
       Evaluation of sex offender treatment
       Allegations of sexual abuse and divorce
       Florida Children’s Advocacy Center Annual Conference, Lakeland, FL.
1998   Closing keynote—Children’s Memory and Suggestibility, Statewide conference, Louisiana
       Department of Human Resources, Lafayette, LA. (half day).
1998   Lessons Learned from Lawsuits, with Kee MacFarlane, M.S.W., APSAC Colloquium, Chicago.
1998   The Polygraph: Uses and Abuses, with Theodore Cross, Ph.D., Brandeis University. APSAC
       Colloquium, Chicago.
1998   Interview in Children Using Focused Questions about Maltreatment and Endangerment. Child
       Protection: Our Responsibility, Cedar Rapids, Iowa.
1998   Allegations of Abuse and Divorce. Child Protection: Our Responsibility, Cedar Rapids, Iowa--
       (1/2 day)
1998   Allegations Of Abuse And Divorce: Research and Practice, Michigan Chapter of the National
       Association of Social Workers, Traverse City, MI.
1998   Focused Questions for Interviewing Children, Statewide Conference, American Professional
       Society on the Abuse of Children, New Jersey Chapter, Newark, N. J.
1998   Assessing Allegations of Abuse in Divorce, Statewide Conference, American Professional
       Society on the Abuse of Children, New Jersey Chapter, Newark, N. J..
1998   Allegations of Child Abuse in Divorce, Annual Domestic Relations Conference, Arizona State
       Supreme Court, Phoenix, AZ.
1998   Allegations of Sexual Abuse in Divorce, Fourteenth National Symposium on Child Sexual
       Abuse, National Children’s Advocacy Center, Huntsville, AL.
1998   The Use of Media in Child Interviewing, Fourteenth National Symposium on Child Sexual
       Abuse, National Children’s Advocacy Center, Huntsville, AL.


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1998   Allegations of Abuse And Divorce: Case Management Strategies, 98 Children’s Justice
       Conference, Washington Department of Social and Health Services, Bellevue, WA.
1998   Allegations of Abuse And Divorce: Research Findings 98 Children’s Justice Conference,
       Washington Department of Social and Health Services, Bellevue, WA.
1998   APSAC Institute: The Art and Science of Forensic Interviewing, with Mark Everson & Thomas
       Lyon, Responding to Child Maltreatment, Children’s Hospital and Health Center, San Diego.
1998   Interviewing Strategies: Relating Research to Practice. Responding to Child Maltreatment,
       Children’s Hospital and Health Center, San Diego.
1998   The U.S. Child Protection System. International Panel: Comparing Child Protection Systems,
       Responding to Child Maltreatment, Children’s Hospital and Health Center, San Diego.
1997   Open Forum: Leading Questions in Forensic Interviews, Kathleen Coulborn Faller, Ph.D.,
       Convenor, Mark Everson, Ph.D., John E. B. Myers, J.D., Patricia Toth, J.D., Barbara Boat, Ph.D.,
       Wendy Bourg, Ph.D., Nancy Lamb, J.D., David Corwin, M.D., Panelists. Fifth National APSAC
       Colloquium, Tucson, AZ.
1997   The Polygraph, Its Use in Decision-making About Child Sexual Abuse: An Exploratory Study,
       The International Family Violence Research Conference, University of New Hampshire,
       Durham, N. H.
1997   Focused Questions for Interviewing Children about Child Maltreatment and other
       Endangering Behaviors, Midwest Conference on Child Sexual Abuse and Incest, University of
       Wisconsin, Madison, WI.
1997   Allegations of Abuse in Divorce: Research and Case Management, Midwest Conference on
       Child Sexual Abuse and Incest, University of Wisconsin, Madison, WI.
1997   Forensic Interviewing, Midwest Conference on Child Sexual Abuse and Incest, University of
       Wisconsin, Madison, WI.
1997   APSAC Institute: The Art and Science of Forensic Interviewing, with Mark Everson, Ph.D., &
       Nancy Lamb, J.D., APSAC Colloquium, Miami (2 one day institutes).
1997   Interviewing Young Children Who May Have Been Sexually Abused, Annual Conference
       Michigan Association of Children’s Alliances, Ypsilanti, MI.
1997   Child Sexual Abuse, Annual Conference of the Michigan Foster Care Review Board, Grand
       Rapids, MI.
1997   Peer Review in a Hierarchical Institution, with Robert Passick, Ph.D., Midwest Clinical Law
       Conference, University of Michigan Law School, Ann Arbor, MI.
1997   APSAC’s Commitment to the U.N. Convention on the Rights of the Child, Advancing Children’s
       Futures; The Role of Non-Governmental Organizations in Supporting Children’s Rights,
       Indiana University-Purdue University, Indianapolis, IN.
1997   Child Abuse as a Form of Family Violence, The Eight International Conference on Family
       Violence and Child Welfare, Seoul, S. Korea.
1997   National Conference: Developing a Research Agenda in Child Abuse and Neglect, Center for
       Child Protection and Children’s Rights, Bangkok, Thailand. (4 days).
1997   APSAC Institute: The Art and Science of Forensic Interviewing, with Mark Everson & Thomas
       Lyon,, Responding to Child Maltreatment, Children’s Hospital and Health Center, San Diego.
1996   Research on Corroboration of Child Sexual Abuse, with Ellen DeVoe, International Conference
       on Trauma and Memory, University of New Hampshire, Durham, N. H.
1996   Questioning strategies to be used with children who may have been sexually abused, with
       Ellen DeVoe, International Congress on Child Abuse and Neglect, Dublin, Ireland




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1996   Research on allegations of abuse in divorce, with Ellen DeVoe, Eleventh International
       Congress on Child Abuse and Neglect, Dublin, Ireland
1996   The joys and sorrows of multidisciplinary evaluation, Protecting Children: American
       Perspectives: A Multiprofessional Conference, Glasgow, Scotland
1996   APSAC Institute: The Art and Science of Forensic Interviewing, with Larry Ricci, Thomas Lyon,
       & William Walsh, Colloquium of the American Professional Society on the Abuse of Children,
       Chicago, IL. 2 one day Institutes
1996   Sexual abuse allegations in divorce, Protecting Children: American Perspectives: A
       Multiprofessional Conference, Glasgow, Scotland
1996   Allegations of sexual abuse in divorce: Research and case management, National Conference
       on Child Abuse and Neglect, Wash., D.C.
1996   Child abuse prevention programs that work, Children’s Trust Fund Conference, Lewiston, MI.
1996   New controversies in child interviewing, Michigan Professional Society on the Abuse of
       Children, Mt. Pleasant, MI.
1996   Children’s memory, suggestibility, and credibility as witnesses of abuse, North Carolina
       Division of Social Services, Raleigh, N.C.
1996   Working with non-abusive parents, Michigan Statewide Conference on Child Abuse,
       University of Michigan Hospitals, Ann Arbor, MI.
1996   Assessing Allegations of Child Sexual Abuse, with Rosemary Niedzwicki, Second International
       Symposium on Child Custody Evaluations, Association of Family and Conciliation Courts,
       Orlando, FL.
1996   APSAC Institute: The Art and Science of Forensic Interviewing, with Mark Everson &
       Catherine Stephenson, Responding to Child Maltreatment, Children’s Hospital and Health
       Center, San Diego.
1996   Psychotherapy with Alleged Victims of Child Sexual Abuse, with Mark Everson, Responding
       to Child Maltreatment, Children’s Hospital and Health Center, San Diego.
1995   APSAC Institute: The Art and Science of Forensic Interviewing, with Mark Everson,
       Colloquium of the American Professional Society on the Abuse of Children, Tucson, AZ.
       2 one day Institutes
1995   Questioning Strategies for Children Who May Have Been Sexually Abused, with Ellen DeVoe,
       The Fourth International Family Violence Conference, University of New Hampshire,
       Durham, N. H.
1995   Allegations of Sexual Abuse in Divorce. The Fourth International Family Violence Conference,
       University of New Hampshire, Durham, N. H.
1995   Forensically Defensible Interviewing of Children. Midwest Conference on Child Sexual Abuse,
       Madison, WI.
1995   Computer Assisted Interviewing of Children Who May Have Been Sexually Abused. Midwest
       Conference on Child Sexual Abuse, Madison, WI.
1995   Investigation of Sexual Abuse Allegations Involving Preschoolers. First National Research and
       Best Practice Symposium on Sexual Abuse of Young Children. Institute for the Prevention of
       Child Abuse, Toronto, ONT.
1995   Assessment of Child Abuse in Child Custody Cases, with D. Corwin, M.D. San Diego Conference
       on Responding to Child Maltreatment. Center for Child Protection, Children’s Hospital, San
       Diego, CA.




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1995   Computer Assisted Interviewing, with Ellen DeVoe, A.C.S.W. San Diego Conference on
       Responding to Child Maltreatment. Center for Child Protection, Children’s Hospital, San
       Diego, CA.
1995   APSAC Institute: The Art and Science of Forensic Interviewing of Children Who May Have
       Been Sexually Abused. San Diego Conference on Responding to Child Maltreatment. Center
       for Child Protection, Children’s Hospital, San Diego, CA.
1994   Women Who Sexually Abused Children. International Symposium on the Sexual Offender.
       Klinik und Poliklinik fur Kinder- und Jugendpsychiatrie, Universitat Munster, Germany.
1994   Allegations of Sexual Abuse in Divorce. Eleventh Annual Conference: Confronting our
       Sexually Violent Society. Albany County Rape Crisis Center, Albany, N.Y.
1994   Child sexual abuse: The art and Science of Forensic Interviewing. Eleventh Annual
       Conference: Confronting our Sexually Violent Society. Albany County Rape Crisis Center,
       Albany, N.Y.
1994   Polyincestuous Families. Child Protection Center Fall Conference: Interdisciplinary
       Approaches to Child Abuse Prevention, Investigation, and Treatment. St. Luke’s Hospital,
       Cedar Rapids, IA.
1994   Suggestibility and Credibility of Children’s Recollections. Child Protection Center Fall
       Conference: Interdisciplinary Approaches to Child Abuse Prevention, Investigation, and
       Treatment. St. Luke’s Hospital, Cedar Rapids, IA.
1994   Extrafamilial Sexual Abuse. Child Protection Center Fall Conference: Interdisciplinary
       Approaches to Child Abuse Prevention, Investigation, and Treatment. St. Luke’s Hospital,
       Cedar Rapids, IA.
1994   Allegations of Sexual Abuse during Divorce Proceedings. Child Protection Center Fall
       Conference: Interdisciplinary Approaches to Child Abuse Prevention, Investigation, and
       Treatment. St. Luke’s Hospital, Cedar Rapids, IA.
1994   Basic Interviewing Skills and Issues in Joint Interview/investigations of Child Sexual Abuse.
       Fourth Gulf Regional Conference on Child Abuse. Children’s Advocacy Center, Mobile, AL.
1994   Interviewing Young Victims of Abuse. Eleventh Annual Conference on Infancy and Childhood.
       (1 day) Utah State University, Logan, UT.
1994   The Art and Science of Forensic Interviewing. Second Oklahoma Conference on Child abuse
       and Neglect. The University of Oklahoma, Oklahoma City.
1994   Women Who Sexually Abuse Children. Thirteenth Annual Michigan Statewide Conference:
       Child Abuse and Neglect. The University of Michigan Medical School, Ann Arbor, Mi.
1994   Ritual Abuse: Current Knowledge and Research. Second Oklahoma Conference on Child abuse
       and Neglect. The University of Oklahoma, Oklahoma City.
1994   The Art and Science of Forensically Interviewing Children. Second Oklahoma Conference on
       Child abuse and Neglect. The University of Oklahoma, Oklahoma City.
1994   Allegations of Sexual Abuse in Divorce. Fourth Annual Time for Effective Action on
       Maltreatment of Minors Conference, University of Minnesota, Minneapolis.
1994   An Exploratory Study of 215 Cases of Sexual Abuse and Divorce. San Diego Conference:
       Responding to Child Sexual Abuse. San Diego, CA.
1994   Interviewing Children Alleged to Have Been Sexually Abused. Twelfth Annual Child
       Victimization Conference, (2 days) Arlington, TX.
1994   Children as Historians. North Carolina Professional Society on the Abuse of Children,
       Statewide Conference, Raleigh, N.C.




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1994   The Art and Science of Forensic Interviewing, with Mark Everson, Ph.D. American
       Professional Society on the Abuse of Children Colloquium. (2 days) Boston.
1994   Ritual Abuse, a Review of the Research, with Susan Kelley, Ph.D. American Professional
       Society on the Abuse of Children Colloquium. Boston.
1994   Research Using a Computer Assisted Interview with Children Suspected of Having Been
       Sexually Abused, with Jane Mildred, A.C.S.W. and Ellen DeVoe, A.C.S.W. American Professional
       Society on the Abuse of Children Colloquium. Boston.
1993   Allegations of Sexual Abuse in Divorce. NASW Annual Conference. Anchorage.
1993   Keynote: Child Sexual Abuse; Truth and Consequences. NASW Annual Conference.
       Anchorage.
1993   Plenary Session: Female Sex Offenders. National Society for the Prevention of Cruelty to
       Children. Manchester, Eng.
1993   Allegations of Sexual Abuse in Divorce. National Society for the Prevention of Cruelty to
       Children. Manchester, Eng.
1993   Assessing Children Alleged to Have Been Sexually Abused. Michigan Statewide Conference on
       Child Abuse. Ann Arbor, MI.
1993   Allegations of Sexual Abuse in Divorce, with D. Corwin, M.D. National Conference on Child
       Abuse and Neglect. Pittsburgh.
1993   Ask the author: Session on NCCAN User Manual Series, with J. Howard, M.D. & M. Salus, M.S.W.
       National Conference on Child Abuse and Neglect. Pittsburgh.
1993   Criteria for Substantiating Child Sexual Abuse. San Diego Conference, Health Science
       Response to Child Maltreatment. Children’s Hospital and Health Center, San Diego.
1993   Allegations of Sexual Abuse in Divorce, with David Corwin, M.D. San Diego Conference, Health
       Science Response to Child Maltreatment. Children’s Hospital and Health Center, San Diego.
1993   APSAC Institute: Interviewing Young Children Suspected of Being Sexually Abused, with
       Barbara Bonner. San Diego Conference, Health Science Response to Child Maltreatment.
       Children’s Hospital and Health Center, San Diego.
1993   Children’s Memory and Suggestibility as it Relates to Accounts of Sexual Abuse. False Memory
       Syndrome Conference. Schoolcraft College, MI.
1993   Children as historians. Conference on Child Custody Cases. New Jersey Coalition for Battered
       Women, Rutgers, N. J.
1993   Backlash in Child Welfare. Children’s Aid Societies of Essex County Annual Meeting, Windsor,
       Ont.
1993   Ritual Abuse: A Professional Overview. First National Conference of Believe the Children,
       Chicago.
1993   Research on Allegations of Sexual Abuse in Divorce. Conference on Child Sexual Abuse.
       Wayne State Law School, Detroit.
1992   Sex Offender Assessment and its Relationship to Treatment. Midwest Conference on Child
       Sexual Abuse. Madison, WI.
1992   Interviewing the Child Suspected of Sexual Abuse. Midwest Conference on Child Sexual
       Abuse. Madison, WI.
1992   Child Abuse. Michigan State Medical Society Annual Conference. Dearborn, MI.
1992   Psychosocial Indicators of Child Maltreatment. Michigan State Medical Society Annual
       Conference. Dearborn, MI.
1992   APSAC Institute: Interviewing the Young Child Alleged to Have Been Sexually Abused, with
       Barbara Bonner, Ph. D, and Mark Everson, Ph. D. Responding to Child Maltreatment,



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       Conference of the Center for Child Protection, Children’s Hospital and Health Center, San
       Diego, CA.
1992   Keynote: Backlash against Child Welfare. Top of Michigan Children’s Agencies, Charlevoix, MI.
1992   Interviewing Children Alleged to Have Been Sexually Abused, with Barbara Bonner, Ph. D.
       International Congress on Child Abuse and Neglect, Chicago.
1992   Sexual Abuse of Children in Foster Care. National Conference on Responding to Child
       Maltreatment, San Diego, CA.
1991   Possible Explanations for Allegations in Divorce. Ninth National Conference on Child Abuse
       and Neglect, Denver, CO.
1991   Interviewing the Young Child Alleged to Have Been Abused, with Barbara Bonner, Ph. D. Ninth
       National Conference on Child Abuse and Neglect, Skill Session, Denver, CO.
1991   Permanency Planning and Child Sexual Abuse. National Conference for Foster Care Review
       Boards, Portland, Oregon.
1991   Possible Explanations for Allegations of Sexual Abuse in Divorce. First North American
       Conference on Child Abuse and Neglect, Toronto, Canada
1991   Polyincestuous Families: An Exploratory Study. National Conference on Sexual Abuse of
       Children, Children’s Advocacy Center, Huntsville, Alabama.
1991   Polyincestuous Families: An Exploratory Study. The San Diego Conference: Responding to
       Child Maltreatment, San Diego, California.
1990   Preparing Children for Court Testimony, with Lisa D’Aunno, J.D. Michigan Statewide
       Conference on Child Abuse and Neglect, Ann Arbor, Michigan.
1990   Polyincestuous Families. Michigan Statewide Conference on Child Abuse and Neglect, Ann
       Arbor, Michigan.
1990   Criteria for Determining the Credibility of Children’s Statements About their Sexual Abuse.
       National Conference on the Victimization of Children, Atlanta, Georgia.
1990   Sexual Abuse of Children in Family Foster Care. National Conference on the Victimization of
       Children, Atlanta, Georgia.
1990   An Exploratory Study of Polyincestuous Families. American Humane Association Annual
       Conference, Nashville.
1990   A Follow-up Study of Sexually Abused Children Identified by Protective Services. National
       Conference on Child Abuse and Neglect, San Diego, CA.
1989   Parent-Child Interaction: Assessment and Treatment; National Association of Social Workers,
       New Mexico Chapter, Annual Conference, Santa Fe, N. M.
1989   Differential Diagnosis with High Risk Families. National Association of Social Workers, New
       Mexico Chapter, Annual Conference, Santa Fe, N. M.
1989   Women Who Sexually Abuse Children. Children’s Hospital, Annual Conference on Child Abuse
       and Neglect, Columbus, OH.
1989   Child Sexual Abuse: Patterns, Causes, and Intervention. Lustrum Congress: Intervention in
       Special Education, University of Groningen, Groningen, The Netherlands.
1989   Adolescent Sex Offenders. National Center on Child Abuse and Neglect: State Liaison Officers
       Meeting, Washington, D.C..
1989   Criteria for Determining Whether Children Have Been Sexually Abused. Child Welfare League
       of America, Midwest Regional Conference, Chicago.
1998   Adolescent Sex Offenders. National Center on Child Abuse and Neglect: Children’s Justice Act
       and Challenge Grantees Conference, Washington, D.C.




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1989   Causes of Sexual Violence. Director’s Discovery Conference on Sexual Violence, Michigan,
       Lansing, MI.
1989   Coordinating Community Responses to Child Sexual Abuse; Statewide Conference on Child
       Abuse And Neglect, Durham, N.C.
1989   Women Who Sexually Abuse Children, Statewide Conference on Child Abuse And Neglect,
       Durham, N. C.
1989   Criteria for Determining Whether Children Have Been Sexually Abused. National Association
       of Social Workers, San Francisco.
1989   Discussant, Think Tank on Ritual Sexual abuse of Children. National Conference on Child
       Abuse and Neglect, Salt Lake City, UT.
1989   Criteria for Determining Whether Children Have Been Sexually Abused. National Conference
       on Child Abuse and Neglect, Salt Lake City, UT.
1988   Women Who Sexually Abuse Children. National Association of Social Workers, Philadelphia.
1988   Women Who Sexually Abuse Children. National Conference on the Victimization of Children,
       Anaheim, CA.
1988   A Follow-Up Study of 58 Sexually Abused Children Identified by the Child Protection System,
       Annual Conference of The Society for Applied Sociology, Chicago.
1988   Women Who Sexually Abuse Children, National Association of Social Workers, Michigan
       Chapter, Grand Rapids, MI.
1988   A Follow-Up Study of Sexually Abused Children Identified by Protective Services, National
       Association of Social Workers, Michigan Chapter, Grand Rapids, MI.
1987   Sexual Abuse in Day Care. Third National Family Violence Research Conference, Durham, N.
       H.
1987   Women Who Sexually Abuse Children. Third National Family Violence Research Conference,
       Durham, N.H.
1987   Sexual Abuse Allegations in Divorce. National Conference for the Prevention of Child Sexual
       Abuse, Ann Arbor, MI.
1987   Sexual Abuse in Day Care. National Conference for the Prevention of Child Sexual Abuse, Ann
       Arbor, MI.
1986   Credibility of Child Witnesses in Sexual Abuse. National Conference for the Prevention of
       Child Sexual Abuse, New Orleans, LA.
1985   Decision-Making in Child Sexual Abuse Cases. National Association of Social Workers
       Professional Symposium, Chicago.
1985   Sexual Abuse by Paternal Caretakers. National Conference on Child Abuse and Neglect,
       Chicago.
1985   Indicators of Sexual Abuse. Ohio School Psychologists Association, 42nd Annual Meeting,
       Columbus, OH.
1985   Indicators of Physical Abuse. Ohio School Psychologists Association, 42nd Annual Meeting,
       Columbus, OH.
1985   Community Decision Points in Child Sexual Abuse. Michigan Department of Social Services,
       Statewide Conference on Sexual Abuse, Lansing, MI.
1985   Differential Diagnosis of Child Sexual Abuse. Michigan Department of Social Services,
       Statewide Conference on Sexual Abuse, Lansing, MI.
1985   Interviewing the Victim, Mother, and Perpetrator. Michigan Department of Social Services,
       Statewide Conference on Sexual Abuse, Lansing, MI.




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1985  Sexual Abuse Allegations in Disputed Custody Cases. Michigan Interprofessional Association
      Conference on Child Sexual Abuse, Birmingham, MI.
1985 Four Types of Intrafamilial Sexual Abuse. Down River Guidance Clinic Conference on Family
      Violence, Southgate, MI.
1985 Interviewing Sexually Abused Children. Down River Guidance Clinic Conference on Family
      Violence, Southgate, MI.
1984 Sexual Abuse by Caretakers. National Conference of Family Violence Researchers, Durham,
      NH.
1984 Play Therapy with Maltreated Children. Michigan Alliance of Children’s Agencies, Troy, MI.
1984 Interdisciplinary Issues in Child Sexual Abuse. Kalamazoo County Child Abuse and Neglect
      Council, Annual Conference, Kalamazoo, MI.
1983 Issues in Evaluation of In-Home Family Based Treatment Services. National Conference on
      Child Abuse and Neglect, Baltimore, MD.
1983 The Impact of Reagan Budget Cuts on Services to Abused and Neglected Children. Bush Child
      Development Conference, University of Michigan, Ann Arbor, MI.
1982 Unanticipated Consequences of the American Child Protection System. International
      Congress on Child Abuse and Neglect, Paris, France.
1982 Interdisciplinary Management of Child Sexual Abuse. International Congress on Child Abuse
      and Neglect, Paris, France.
1982 Child Sexual Abuse. National Conference on Women and the Law, Detroit, MI.
1982 The Politics of Teenage Pregnancies, with others. National Conference on Women and the
      Law, Detroit, MI.
1982 Stress as a Factor in Child Abuse and Neglect. Infant Mental Health Conference, Ann Arbor,
      MI.
1982 Mental Health and Legal Collaboration in Permanency Planning, with Ellen Tickner, J.D. Mid-
      Regional Child Welfare League of America Conference, Detroit, MI.
1981 Interdisciplinary Management of Child Sexual Abuse. National Conference on Child Abuse and
      Neglect, Milwaukee, WI.
1981 Mock Trial: Expert Testimony in Child Abuse. National Conference on Child Abuse and
      Neglect, Milwaukee, WI.
1981 The Nuts and Bolts of Multidisciplinary Teams. Governor’s Conference on Community
      Prevention of Child Abuse and Neglect, Dearborn, MI.
1981 Results from the Fifty-One Families Study. Annual Meeting of the Washtenaw County
      Coordinating Council of Children at Risk, Ann Arbor, MI.
1981- Child Sexual Abuse: Diagnosis and Intervention, three sessions of three days,
1983 Top of Michigan Children’s Agencies, Black Lake, Schuss Mountain, Presque Isle, MI.
1981 Child Sexual Abuse. Annual Meeting of the Jackson County Community Mental Health
      Association, Jackson, MI.
1981 Child Sexual Abuse. Annual Meeting of the St. Clair County Community Mental Health
      Association, Port Huron, MI.
1981 Child Abuse and Neglect: The State of Knowledge. Annual Meeting of Monroe County Council
      for Children at Risk, Monroe, MI.
1980 Child Sexual Abuse. Annual Meeting of the Michigan Chapter of the National Committee for
      the Prevention of Child Abuse, two workshops, Kalamazoo, MI.




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1979   Outreach Therapy with Abusive and Neglectful Families; Seminar: Social-Medical-Legal
       Collaboration in Family Treatment, International Symposium of Family Therapy, Workshop
       Series, Zurich, Switzerland.
1979   Interdisciplinary Collaboration in Child Abuse and Neglect, Second Annual Conference of
       Consortium on Child Abuse and Neglect, Flint, MI.
1979   Child Abuse and Neglect, Annual Conference, Michigan NASW, Ann Arbor, MI.
1978   Teaching Intervention Strategies in Child Abuse and Neglect, Second International Congress
       on Child Abuse and Neglect, London, England.
1978   Research in Progress: Family-Community Intervention; Child Abuse and Neglect, Third
       National Conference on Child Abuse and Neglect, New York.
1977   Role of School Counselors in Child Abuse and Neglect, Michigan Personnel and Guidance
       Association Annual Meeting, Lansing, MI.
1976   Family Policy and Child Abuse and Neglect, Groves Conference on Marriage and the Family,
       Presentation with Professor Paul Glasser, Kansas City, MO.
1973   Behavior Modification with Delinquent Youth, International Workshop on Behavior
       Modification, Presentation with Professor Richard Stuart, Bangor, North Wales.

LECTURE TOUR
1980           Five week lecture tour in England sponsored by British-American Associates. The
tour included the cities of London, Wolverhampton, Bristol, Birmingham, Sheffield, Canterbury,
Durham, Newcastle, and Cleveland. Topics covered included Case Management and Treatment of
Child Abuse and Neglect, the American Family and Inner City Social Problems. Audiences were social
workers in practice, multidisciplinary groups, and academic audiences, including students and
faculty at the London School of Economics and Political Science, University of Kent, Sheffield
University, Newcastle University, Wolverhampton Polytechnic, and the Social Work Course run by
the National Society for the Prevention of Cruelty to Children, and some more general audiences.

CONSULTATION
2011—present         Consultation with National Resource Center for Permanency and
Family Connections: A Service of the Children's Bureau
2010—present Advisory Board Member, National Children’s Advocacy Center
1996-2007    Board member. Michigan Foster Care Review Board
2004-present Steering Committee, Center for Excellence, The Guidance Center
2000-2007    Children’s Center of Detroit
2000-2002    Ennis & Associates, Inc.
1995-1999    Office of the Children’s Ombudsman, State of Michigan
1995-96      National Judicial Education Program (a project of NOW and the National Association
of
             Women Judges)
1994-2000    Children’s Home of Detroit, Grosse Pointe, MI.
1993-96      Girlstown, Belleville, MI.
1993-94      Wolverine Human Services, Detroit, MI.
1988-89      Families First, St. Clair Co., MI.
1985-86      Essex County Children’s Aid Society, Windsor, Ontario, Canada.
1985-86      Team for Justice, Detroit, Michigan.
1984         Lutheran Children’s Services, Detroit, Michigan.



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1984           Wayne County Office of Children and Youth Services, Detroit, Michigan.
1983-86        Hamilton County Legal Services, Cincinnati, Ohio.
1982           Children’s Defense Fund, Washington, D.C.
1981-89        Michigan Department of Social Services: Program Office, Neglect Services, Lansing,
               Michigan.
1981-86        Lucas County Children’s Services Board, Toledo, Ohio.
               Livingston County Department of Social Services, Howell, Michigan.

WORKSHOPS/TRAINING SESSIONS
2015 Child Sexual Abuse: What Child Welfare Professionals Need To Know. Practicing
     Permanency: Advanced Certificate Course in Adoption and Foster Care Competency, Baton
     Rouge, LA.
2015 Grandparents in Distress, with Mary Ortega, LMSW. University of Michigan School of Social
     Work, Ann Arbor, MI
2013 NCWWI Annual Traineeship: Principal Investigator Interview Report, National Child
     Welfare Workforce Institute Annual Traineeship Meeting, Chicago
2013 Pre-conference Workshop for Guardians ad litem: Issues in Sexual Abuse of Children, with
     Frank Vandervort, J.D., Vincent Palusci, M.D.,& Mark Stone, D.O. Colloquium of the American
     Professional Society on the Abuse of Children, Las Vegas, NV.
2012 NCWWI Annual Traineeship: Principal Investigator Interview Report, National Child
     Welfare Workforce Institute Annual Traineeship Meeting, Chicago
2012 Nd'nibwaakaami--We Are Wise: Adapting Comprehensive Family Assessments to the Native
     American Community, with Abigail Eiler, Tina Louise, Mary Ortega, Robert Ortega, and
     Charla Sanders. American Indian Health and Family Services, Detroit. Two days
2012 Systems of Care webinar: Why Adapt Comprehensive Family Assessments, with Abigail
     Eiler, American Indian Health and Family Services and Michigan Intertribal Council
2012 Systems of Care webinar: Interviewing Children, with Abigail Eiler, American Indian Health
     and Family Services and Michigan Intertribal Council
2012 Working with parents with developmental disabilities, with Mary Ortega, University of
     Michigan School of Social Work. One half day.
2011 Finding a place for cultural humility in a culturally competent world with Mary Ortega,
     School of Social Work 90th Anniversary Alumni Association, Lansing, MI
2011 Cultural Humility in Child Welfare Management. Webinar for the National Child Welfare
     Workforce Institute Leadership Academy for Middle Managers, 2 hours. University of
     Michigan. With Robert Ortega.
2011 Cultural Humility in Child Welfare Management. Webinar for the National Child Welfare
     Workforce Institute Leadership Academy for Middle Managers, 2 hours. University of
     Michigan. With Robert Ortega.
2011 Grandparents in Distress. Webinar for the Midwest Children’s Advocacy Center, 2 hours.
     University of Michigan with Mary Ortega
2011 Multidisciplinary Institute on Child Sexual Abuse. 4 days. University of Michigan with
     Robert Ortega, Ph.D., Bethany Mohr, M.D., Mary Ortega, A.C.S.W., Abigail Eiler, M.S.W., Frank
     Vandervort, J.D., Kimberly Thomas, J.D., & Samuel Holtz, J.D.
2011 Cultural Humility in Management. Webinar with Robert M. Ortega, for the National Child
     Welfare Workforce Institute.




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2010   Allegations of abuse in divorce & custody cases. Webinar for the Midwest Region Children’s
       Advocacy Center
2010   The Child Welfare Challenge: Making better workers & making workers better. With Mary
       Ortega. UM School of Social Work’s 90th Anniversary.
2010   Clinical Supervision in Child Sexual Abuse. Louisiana Department of Social Services /Office
       of Community Services. 3 days Shreveport
2010   Clinical Supervision in Child Sexual Abuse. Louisiana Department of Social Services /Office
       of Community Services 4 days in Lafayette, LA
2010   Clinical Supervision in Child Sexual Abuse. Louisiana Department of Social Services /Office
       of Community Services. 4 days in New Orleans
2010   Multidisciplinary Institute on Child Sexual Abuse       With Mary Ortega, Robert Ortega,
       Bethany Mohr, James Henry, Frank Vandervort, Vivek Sankaran, & Samuel Holtz. 5 days.
2010   Cultural Humility, with Robert Ortega, ½ day UM Continuing Ed.
2010   Cultural humility in child welfare. Catholic Charities of West Michigan. 1 day presented with
       Robert Ortega, PhD.
2010   Parents with Developmental Disabilities. University of Michigan School of Social Work
       Continuing Education. 1/2 day. Co-presented with Mary Ortega, Ann Arbor, Michigan.
2009   Visitation and Decision-making in Child Welfare. Workshop for Michigan Department of
       Human Services. ½ day. Ann Arbor, Michigan.
2009   Cultural humility in child welfare. Child Welfare Consortium. University of Michigan, ½ day.
       With Prof. Robert Ortega.
2009   Social work and legal ethics: When world views collide. Child Welfare Consortium. University
       of Michigan, ½ day. With Prof. Frank Vandervort. Ann Arbor, Michigan.
2009   Forensic interviewing in child sexual abuse. Leftover Love Conference Center. 1 day. Seoul, S.
       Korea.
2008   Cultural Humility for Child Welfare Workers. 2 days With Robert Ortega, Ph.D. University of
       Southern Maine, Muskie School of Social Policy.
2008   Cultural Humility for Child Welfare Workers: Train the trainers. ½ day With Robert Ortega,
       Ph.D. University of Southern Maine, Muskie School of Social Policy.
2008   Allegations of sexual abuse in divorce. University of Wisconsin—Midwest Conference on
       Child Sexual Abuse, Madison, WI.
2008   Disclosure of child sexual abuse. University of Wisconsin—Midwest Conference on Child
       Sexual Abuse, Madison, WI.
2008   Extended assessments in child sexual abuse. Alaska Child Maltreatment Conference,
       Anchorage, AK.
2008   Allegations of abuse in divorce and custody cases. Alaska Child Maltreatment Conference,
       Anchorage, AK.
2008   Cultural Humility. With Robert Ortega, Ph.D. University of Michigan Recruitment and
       Retention of Child Welfare Staff Program. ½ day. The Guidance Center, Southgate, MI.
2008   Allegations of sexual abuse in divorce: Research findings and case management strategies.
       Youth and Children’s Advocacy Center, 1 day. Lewisburg, WV.
2007   Use of media in forensic interviews. National Children’s Advocacy Center Advanced Forensic
       Interview Training, Huntsville, AL.
2007   Techniques for interviewing children who are reluctant to disclose abuse. National Children’s
       Advocacy Center Advanced Forensic Interview Training, Huntsville, AL.




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2007     Identification of child abuse and reporting requirements identification of child abuse and
        reporting requirements. Mitchell School, Ann Arbor, MI.
2007     Cultural Humility. With Robert Ortega, Ph.D. University of Michigan Recruitment and
        Retention of Child Welfare Staff Program. The Guidance Center
2007    Disclosure of sexual abuse. National Children’s Advocacy Center Advanced Forensic
        Interview Training:, Huntsville, AL
2007     Use of media in forensic interviewing of children. National Children’s Advocacy Center.
        Advanced Forensic Interview Training. Huntsville, AL.
2007    Legal training in Cultural Humility. The Guidance Center, Southgate, MI .With Frank
        Vandervort, J.D.
2007    Asking questions about child abuse. Arizona Court Improvement Project, Flagstaff, AZ.
2006    Cultural Humility in Child Welfare. Children’s Bureau Recruitment and Retention of Child
        Welfare Workers. 3 days, Ann Arbor MI & Detroit, With Robert Ortega, Ph.D.
2006    What Prevention Specialists Need to Know about Child Sexual Abuse. Children’s Trust Fund
        of Michigan Annual Conference. Kalamazoo, MI.
2006    Peer-review of child abuse interviews. Child Maltreatment Conference, University of Toronto
        SCAN Program and Hospital for Sick Children. Panel presentation, Toronto.
2006    Roundtable on supervised visitation. U.S. Dept. of Justice, Office of Violence against Women.
        Consultant to participants—child abuse and Safe Havens, Atlanta.
2006    Research and practice on the disclosure process in child sexual abuse. New Mexico Network
        of Children’s Saferooms &Community Against Violence, Taos, NM (1 day).
2005    University-based Multidisciplinary Teams. University of Wisconsin School of Social Work IV
        E presentation, Madison, WI..
2005    Allegations of abuse in divorce: What can the research tell us? Dane County Child Welfare,
        Madison, WI.
2005    Peer review of videotapes of forensic interviews. Colloquium of the American Professional
        Society on the Abuse of Children, New Orleans.
2005    Cultural humility. Governor’s Task Force on Children’s Justice, Marquette, MI (1 day).
2005    Peer review of videotapes of forensic interviews. Colloquium of the American Professional
        Society on the Abuse of Children, New Orleans (1.5 hrs.)
2005    Forensic interviewing. Ennis Center for Children Detroit, MI (1 day).
2005    Forensic Interview Clinic. APSAC and the Florida Department of Health, Orlando. (3 days).
2004    Forensic evaluation of Child sexual abuse Clinica de Salud Mental de la Communidad, Carlos
        Albizu University, San Juan, PR (2 days).
2004    Multidisciplinary training in child sexual abuse. Department of Child and Family Services. San
        Juan, PR (1 day).
2004    Issues in Child Abuse Cases. Administrative Office of the Illinois Courts, Bloomington, IL. (4
        hours).
2004    APSAC Institute: Supervision and peer review of videotaped forensic interviews, American
        Professional Society on the Abuse of Children, San Diego, CA. (6 hours), with Deborah Davies,
        LICSW.
2004    Forensic Interviews in Child Sexual Abuse. University of Oklahoma Center on Child Abuse and
        Neglect & Oklahoma Department of Human Services, Norman, OK (16 hours).
2003.   Update on Allegations of Sexual Abuse in Divorce. Mercer County Multidisciplinary Team,
        Princeton, NJ.
2003    Workshop: Contested Issues in child sexual abuse, Trenton, NJ.



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2003   Advanced forensic interview training; Use of media in forensic interviewing; Decision-
       making in child sexual abuse, & Videotape review       National Children’s Advocacy Center,
       Huntsville, AL (1 day).
2003   American Professional Society on the Abuse of Children Institute on Forensic Interviewing
       Prevent Child Abuse Georgia, Atlanta, GA. (1 day- institute).
2003   Workshop: Cutting edge issues in forensic interviewing. Colloquium of the American
       Professional Society on the Abuse of Children, Orlando, FL (6 hours).
2003   Workshop: Critiquing forensic interviews, Colloquium of the American Professional Society
       on the Abuse of Children, Orlando, FL (1.5 hours).
2003   Advanced Forensic Interview Training, National Children’s Advocacy Center, Huntsville, AL
       (1 day) hrs.
2003   Kids caught in the middle: Collaborative management of sexual abuse cases in the family,
       juvenile and criminal courts, Sexual Abuse Information Network and the Criminal Justice
       Institute, College of Lake County, IL (1 day).
2003   Multidisciplinary Assessment of Complex Child Welfare Cases. University Center for the Child
       and Family, Ann Arbor, MI (2 hours) with Mary Ortega, M.S.W.
2003   American Professional Society on the Abuse of Children, Forensic Interview Clinic. University
       of Michigan, Ann Arbor, MI. (40 hours) with Dennison Reed, Ph.D., Kee MacFarlane, M.S.W.,
       Richard Cage, Hon Harry Elias, Steve Wilson, J.D., & Frank Vandervort, J.D.
2002   Child Safety and Parental Substance Abuse and Mental Health Problems. Roswell & Las
       Cruces, N.M., with Melnee McPherson. M.S.W., M.A. & Paula Bank, M.D., Ph.D. (2 two-day
       sessions).
2002   Co-morbidity: Parental Problems and Children’s Welfare, Governors State University,
       University Park, Illinois, with Melnee McPherson & Dan Saunders (2 days).
2002   University of Michigan Child Welfare Supervisors' Training Program. Detroit, MI., with
       William Meezan, Ph.D., John Tropman, Ph.D., Frank Vandervort, J.D., Beverly Araujo, M.S.W.,
       & Michelle Marie Mendez, J.D. (3 days).
2002   Contested Issues in Forensic Interviewing of Children; & Assessing Allegations of Abuse in
       Divorce and Custody Cases. Getting to the Truth without Taint: Gathering Information From
       and About Children, Dallas County Family and Juvenile Courts. Dallas, TX (1 day).
2002   Contested Issues in Forensic Interviewing of Children & Decision-making in Child Sexual
       Abuse. Family Advocacy Staff Training Advanced Forensic Interview Training Course,
       Heidelburg, Germany (1 day).
2002   Overview of Forensic Interview Issues & Lessons for Forensic Interviewing from Research.
       American Professional Society on the Abuse of Children, Forensic Interview Training for the
       Commonwealth of Kentucky (1 day).
2002   Training for Trainers, Overview of Forensic Interview Issues, & Lessons for Forensic
       Interviewing from Research. American Professional Society on the Abuse of Children,
       Forensic Interview Training for the Commonwealth of Kentucky (2 day).
2002   Child Safety and Parental Substance Abuse and Mental Health Problems. New Mexico State
       University, Albuquerque, N.M., with Melnee McPherson. M.S.W., M.A. & Paula Bank, M.D., Ph.D.
       (2 two-day sessions).
2002   Child Abuse Response Team-Joint Interview Training. U.S. Army, Ludwigschafen, Germany,
       with Russell Strand, U.S. Army (5 days).




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2002    University of Michigan Child Welfare Supervisors' Training Program. Lansing, MI., with
        William Meezan, Ph.D., John Tropman, Ph.D., Frank Vandervort, J.D., Beverly Araujo, M.S.W.,
        & Michelle Marie Mendez, J.D. (3 days).
2002    Forensic Interviewing Protocols: A Critique. State of Kentucky Commonwealth Attorney's
        Office, Louisville, KY (1/2 day)
2002    Parental Substance Abuse and Child Welfare. University of Michigan 19th Annual Medstart
        Conference., Ann Arbor, MI.
2002    Testifying in Court: What Professionals Need to Know. University of Michigan School of Social
        Work Continuing Education. Ann Arbor, MI., with Frank Vandervort, J.D. (1 day).
2001    University of Michigan Child Welfare Supervisors' Training Program. Detroit, MI., with
        William Meezan, Ph.D., John Tropman, Ph.D., Frank Vandervort, J.D., Beverly Araujo, M.S.W.,
        & Michelle Marie Mendez, J.D. (3 days).
2001    Allegations of Abuse in Divorce. Children's Justice Task Force Conference, Morgantown &
        Charleston, W.VA. (2 half days).
2001    Art & Science of Forensic Interviewing. Children's Justice Task Force Conference,
        Morgantown & Charleston, W.VA. (2 half days).
2001    Child Abuse Response Team-Joint Interview Training. U.S. Army, Heidelberg, Germany, with
        Russell Strand, U.S. Army. (5 days).
2001    Innovations in Social Welfare Services: Hasbro Early Assessment Project. Michigan
        Collaborative of Social Services Agencies, Ann Arbor, MI with Susan Smith, M.S.W.
2001    Forensic Interviewing of Children. Advanced Training Institute, American Professional
        Society on the Abuse of Children, Huntsville, AL with Anne Graffam-Walker. (1 day).
2001   A Critical Look at the Decision-making Process in Custody Evaluations Involving Allegations
        of Sexual Abuse. PACE Domestic Violence and Child Custody Evaluators’ Seminar, San Diego,
        CA (2 hours).
2000    Parental Mental Health Problems and Child Maltreatment. National Resource Center on Child
        Maltreatment, Atlanta, GA (1/2 day).
2000    A Critical Analysis of Child Interview Protocols. Department of the Army, Academy of Health
        Sciences, Advanced Forensic Child Sexual Abuse, Fort Sam Houston, San Antonio, TX. (1/2
        day).
2000   Art and Science of Forensic Interviewing. Ohio Department of Mental Health. Ashland, OH (1
        day).
2000    Forensic Interviewing. American Professional Society on Abuse of Children Institute. With
        Kee MacFarlane, M.S.W., Katherine Eagleson, Det. Michael Johnson, Thomas Fallon, J.D. Battle,
        Creek, MI (3 days).
2000    Social Workers as Experts. Maple Clinic, Traverse City, MI (1 day).
2000    Expert testimony in court: A mental health perspective. (Jan.). Loyola University Chicago,
        School of Law, Chicago.
2000    A continuum of questions for children who may have been sexually abused: Integrating
        research and practice. Colloquium Series on Child Welfare, Rutgers University School of
        Social Work, Camden, N.J.
2000    The art and science of forensic interviewing of young children who may have been sexually
        abused. AVOISE & Talbert House, Cincinnati, OH (1 day).
2000    APSAC Intensive Interview Clinic, with Kee MacFarlane, M.S.W., Melissa Steinmetz, M.S.W.,
        Paul Stern, J.D., Hon. Harry Elias, Katherine Eagleson, Ann Graffin Walker, Ph.D., & Donna
        Pence. U.S. Navy Training Series, Baltimore, MD (5 days).



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1999   Testifying in Court. With Frank Vandervort, J.D. University of Michigan School of Social Work
       Continuing Education in Human Services, Ann Arbor, MI (1 day).
1999   Interdisciplinary Management of Child Welfare Cases involving Domestic Violence, Substance
       Abuse, and Mental Health Issues, with Daniel Saunders, Ph.D., Melnee D. McPherson, M.S.W.,
       and Frank Vandervort, J.D. University of Michigan School of Social Work, Grand Rapids, MI (3
       days).
1999   Interdisciplinary Management of Child Welfare Cases involving Domestic Violence, Substance
       Abuse, and Mental Health Issues, with Daniel Saunders, Ph.D., Melnee D. McPherson, M.S.W.,
       and Frank Vandervort, J.D. University of Michigan School of Social Work, Ann Arbor, MI (3
       days).
1999   Interviewing Children who May Have Been Sexually Abused: What Can the Research Tell Us?
       Colloquium Series on Child Welfare, State University of New Jersey at Rutgers, School of Social
       Work, Rutgers, NJ.
1999   Forensic Interviewing of Young and Special Needs Children. State of Louisiana Department of
       Child and Family Services, New Orleans (3 days).
1999   Interdisciplinary Management of Child Welfare Cases involving Domestic Violence, Substance
       Abuse, and Mental Health Issues, with Daniel Saunders, Ph.D., Melnee D. McPherson, M.S.W.,
       and Frank Vandervort, J.D. University of Michigan School of Social Work, Bloomington, IL (3
       days).
1999   Multidisciplinary Child Protection Team Training; Train the Trainers. University of South
       Florida Department of Child and Family Studies and the State of Florida, Tampa, FL (2 days).
1999   Interdisciplinary Management of Child Welfare Cases involving Domestic Violence, Substance
       Abuse, and Mental Health Issues, with Daniel Saunders, Ph.D., Melnee D. McPherson, M.S.W.,
       Cheryll D. Bellamy, M.S.W., and Frank Vandervort, J.D. University of Michigan School of Social
       Work, Fort Wayne, IN (3 days).
1999   APSAC Intensive Interview Clinic, with Kee MacFarlane, M.S.W., Melissa Steinmetz, M.S.W.,
       Deborah Davies, LCSW, Charles Wilson, MSSW, Ann Graffin Walker, Ph.D., & Donna Pence. (5
       1/2 days), National Symposium on Child Sexual Abuse, Huntsville, AL.
1998   The role of social workers in multidisciplinary teams (panel with others), Western Regional
       Conference, National Children’s Advocacy Center, Anchorage, AL (half day).
1998   Allegations of Sexual Abuse in Divorce, University of Michigan School of Social Work,
       Muskegon, MI (1 day).
1998   Forensic interviewing, Louisiana Department of Human Resources, Lafayette, LA (half day).
1998   The relationship between Domestic Violence and Child Maltreatment, State of Michigan Office
       of the Children’s Ombudsman, Ann Arbor, MI (half day).
1998   APSAC Intensive Interview Clinic, with Kee MacFarlane, M.S.W., Melissa Steinmetz, M.S.W.,
       Harry Elias, J.D., Deborah Davies, L.C.S.W. (5 1/2 days), University of Dundee, Scotland.
1998   Forensic Interviewing. Taos (NM) Community Against Violence. (1/2 day).
1998   Structured versus Unstructured Forensic Interviews. New Mexico Network of Saferooms. (1
       day).
1998   Child Sexual Abuse, Domestic Violence, and Substance Abuse. Looking Behind the Veil,
       Michigan Public Health Institute, Lansing, MI (1/2 day).
1998   Assessing Children for Sexual Abuse (one day), Downriver Guidance Clinic, Southgate, MI.
1998   Forensic Interviewing Children who May Have Been Sexually Abused: Art and Science (two
       days), U.S. Military Forces, Kadena Air Force Base, Okinawa, Japan.
1998   Allegations of Child Abuse in Divorce, Maricopia County Bar Association, Phoenix, AZ.



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1998   APSAC Intensive Interview Clinic, with Kee MacFarlane, M.S.W., Melissa Steinmetz, M.S.W.,
       Harry Elias, J.D., John Stirling, M.D., Charles Wilson, MSSW, Ann Graffin Walker, Ph.D., & Donna
       Pence. (5 1/2 days), Huntsville, AL.
1998   A Mental Health Perspective on Expert Testimony. Trial Practice Course, Loyola University,
       Chicago School of Law, Chicago.
1997   The Intersection and Prevention of Child Abuse, Substance Abuse, and Domestic Violence
       (one day), Kent County Council for Children at Risk, Grand Rapids, MI.
1997   Developing a Sexual Abuse Treatment Program for Boy Victims (3 half days), Children’s Home
       of Detroit, Grosse Pointe, MI.
1997   Treatment of Sexually Abused Girls (5 half days), Vista Maria Residential Treatment Center,
       Detroit.
1997   Teleconference: Children’s Memory and Suggestibility. Medical College of Ohio, Toledo, OH.
1997   Understanding Ritual Abuse Allegations, Office of the Children’s Ombudsman, State of
       Michigan. Lansing, MI.
1997   The Art and Science of Forensic Interviewing of Young Children who May have Been Abused,
       University of Michigan Continuing Professional Education Program, Ann Arbor, MI (Also a
       distance learning training program).
1997   Treating Abused Children, Center for Child Protection and Children’s Rights, Bangkok,
       Thailand. (1 day).
1997   APSAC Intensive Interview Clinic, with Kee MacFarlane, M.S.W., Melissa Steinmetz, M.S.W.,
       David Corwin, M.D., Mark Everson, Ph.D., Harry Elias, J.D., Karen Saywitz, Ph.D., John Stirling,
       M.D., & Donna Pence. (5 1/2 days), Ann Arbor, MI.
1997   Social Work Evaluation of Maltreated Children, workshop at the Annual Conference of
       Michigan Foster Care Review Board, Grand Rapids, MI.
1997   Interviewing children who may have been sexually abused (4 hours), University of Arkansas
       School of Social Work, Fayetteville, AR.
1997   Treatment of abused and neglected children (2 hours), Korean Association for the Protection
       of Children, Seoul, S. Korea.
1997   Child Welfare in the United States (2 hours), Tokai (Japan) University Social Work students,
       Ann Arbor, MI.
1997   Developing a sexual abuse treatment program for boy victims (3 half days), Children’s Home
       of Detroit, Grosse Pointe, MI.
1997   Allegations of child abuse in divorce (4 hours), San Diego Conference on Responding to Child
       Maltreatment, San Diego, CA.
1997   The intersection and prevention of child abuse, substance abuse, and domestic violence (one
       day), Kent County Council for Children at Risk, Grand Rapids, MI.
1997   A Mental Health Perspective on Expert Testimony. Trial Practice Course, Loyola University,
       Chicago School of Law, Chicago.
1997   A Mental Health Perspective on Expert Testimony. Trial Practice Course, Loyola University,
       Chicago School of Law, Chicago.
1996   Forensic interviewing of children who may have been sexually abused (one day), St.
       Tammany Children’s Advocacy Center, New Orleans, LA.
1996   Treatment of sexually abused girls (two half days), Vista Maria Residential Treatment Center,
       Detroit
1996   Forensic evaluation of children who may have been sexually abused, (two days), Navy Family
       Advocacy Program, Annapolis Naval Academy.



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1996   Teleconference: Children’s Memory and Suggestibility. Medical College of Ohio, Toledo, OH.
1996   A Mental Health Perspective on Expert Testimony. Trial Practice Course, Loyola University,
       Chicago School of Law, Chicago.
1996   Treatment of the Sexually Abused Child. Monroe County Intermediate School District,
       Monroe, MI.
1996   Resiliency in Sexually Abused Children. University of Michigan Flint and Mott Children’s
       Health Center, Flint, MI.
1996   Child Sexual Abuse. Muskegon County Family Independence Agency & Catholic Social
       Services, Muskegon, MI.
1996   Survivors of Child Sexual Abuse: Preparing Adolescents for Independence, Region 5 Family
       Independence Agency, Saginaw, MI.
1995   An overview of Child Sexual Abuse, Civitas ChildLaw Center, Loyola University, Chicago.
1995   The Art and Science of Forensic Interviewing, Direct Practice with the Sexually Abused Child,
       University of Michigan, Ann Arbor, MI.
1995   Interviewing Children who May Have Been Sexually Abused, Children’s Advocacy Center and
       Department of Child and Family Services, Philadelphia
1995   Assessing Allegations of Sexual Abuse. Foothills Child Abuse Council, Pasadena, CA.
1995   Allegations of Sexual Abuse in Divorce. Giarretto Institute and Children’s Institute
       International, Los Angeles, CA.
1995   Working with Non-abusive Parents. Ausbildungsinstitut fur systemische Therapie und
       Beratung, Zurich, Switzerland.
1995   Paedophilia: Assessment and Intervention. Ausbildungsinstitut fur systemische Therapie und
       Beratung, Zurich,Switzerland.
1995   Case consultation. Ausbildungsinstitut fur systemische Therapie und Beratung, Zurich.
1995   Sexual Abuse and Teen Mothers. Empowering Teen Parents: Dependency to Self-sufficiency,
       MDSS, E. Lansing, MI.
1995   Interviewing sexually abused children. Tennessee Chapter of the American Professional
       Society on the Abuse of Children.(1 day) Nashville, TN.
1995   Assessment: Interviewing children about possible sexual abuse. National Resource Center on
       Child Sexual Abuse. (2 days) Huntsville, AL.
1994   Interviews mit Kindern bei Verdacht auf sexuelle Ubergriffe. Ausbildungsinstitut fur
       systemische therapie und beratung. (2 days) Zurich, Switzerland.
1994   Ritual abuse: Research findings, controversies, and case management strategies. Children’s
       Advocacy Center. (1 day) Chattanooga.
1994   Age appropriate interviewing of child victims. National Resource Center on Child Sexual
       Abuse. (1 day), Traverse City, MI.
1994   Allegations of Sexual Abuse in Divorce. Coalition for Accuracy in Abuse. Ann Arbor, MI.
1994   Diagnosis and Treatment of Sexually Abused Children. Monroe County Intermediate School
       District: Tenth Annual In Service. (1/2 day) Monroe, MI.
1994   Extrafamilial sexual abuse; Sexual Abuse and Divorce. University of Michigan School of Social
       Work Spring-Summer Symposium. (2 days) Ann Arbor, MI.
1994   Treating Child Sexual Abuse. Community Care Services. (1 day) Romulus, MI.
1994   The Backlash and its Relevance: Child Sexual abuse: Recent research and state of the art
       practice. Illinois Coalition against Sexual Assault. (1 day) Chicago.
1994   Comprehensive Child Sexual Abuse Intervention: Advanced Training in the Multidisciplinary
       Approach. National Resource Center on Child Sexual Abuse. (2 days) Huntsville, AL.



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1994   Diagnosis and Treatment of Child Sexual Abuse. Monroe County Intermediate School District.
       (1/2 day) Monroe, MI.
1994   Assessment of allegations of sexual abuse. St. Joseph Mercy Hospital, Pontiac, MI.
1994   Sexual Abuse of Children and Adults, with Diane Shoemaker, A.C.S.W. Sexual Assault
       Prevention and Awareness Center, University of Michigan, Ann Arbor, MI.
1994   Assessment and Intervention of Sexually Abused Children in the School System, (1 day).
       Michigan Association of School Psychologists and Michigan Association of School Social
       Workers. Grayling, MI.
1994   Sexual abuse allegations in divorce, (1 day). University of Michigan School of Social Work
       Continuing Education, Ann Arbor, MI.
1994   Treating child sexual abuse: The use of play therapy techniques, (1 day). Community Care
       Services, Romulus, MI.
1993   Child physical and sexual abuse, (3 days). United States Navy Family Advocacy Program.
       Keflavik, Iceland.
1993   Assessing child sexual abuse cases. Charter North Hospitals. Anchorage, AL.
1993   Child sexual abuse assessment and treatment, (2 days). American Prosecutors Research
       Institute. Morgantown, W. VA.
1993   Indicators of child sexual abuse. University of Iowa Hospitals, Division of Developmental
       Disabilities. Iowa City.
1993   Sexual abuse in religious settings. United Methodist Church. Lansing, MI.
1993   Indicators of child sexual abuse. United Methodist Church. Lansing, MI.
1993   Use of anatomical dolls and other media in assessing children suspected of being sexually
       abused, (one half day). Jackson County Department of Social Services. Jackson, MI.
1993   Ritual abuse, (1 day). Kent County YWCA Sexual Abuse Treatment Program. Grand Rapids,
       MI.
1993   Sexual abuse: Prevalence and Indicators. St. John’s Hospital. Detroit.
1993   Assessment of Child Sexual abuse. (1 day) Essex County Children’s Aid Society. Windsor, Ont.,
       Canada.
1993   Physical and sexual abuse of children. (3 days) United States Navy Family Advocacy Program.
       Garmisch, Germany.
1993   Treatment of child sexual abuse in a forensic context. Jackson County Catholic Social Services.
       Jackson, MI.
1993   Assessment of Sexually Abused Children, (half day). Michigan Chapter of the NASW Annual
       Conference. Traverse City, MI.
1992   Treatment of the sexually abused child. (2 days) Sarnia-Lampton Child Abuse Council. Sarnia,
       Ont., Canada
1992   Assessment and treatment of child sexual abuse. (2 days)Top of Michigan Children’s
       Agencies. Shanty Creek, MI.
1992   Identification, Assessment, and Treatment of Maltreated Children. (4 days) LaPeer County
       Community Mental Health. LaPeer, MI.
1992   Identification and Intervention with the Sexually Abused Child. (1 day) Kinderspital,
       Department of Psychiatry. Zurich, Switzerland.
1992   The Sexual Offender: Assessment and Treatment. (2 days) Institut fur Ehe und Familie.
       Zurich, Switzerland.
1992   Interviewing Children Alleged to have been Sexually Abused. (1 day) American Professional
       Society on the Abuse of Children (Michigan Chapter). Lansing, MI.



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1991   New Developments in Child Abuse and Neglect Assessment. (1 day) Marquette County Child
       Abuse and Neglect, Marquette, MI.
1991   Child Sexual Abuse. (1.5 days) Tennessee Network for Child Advocacy, Nashville, TN.
1991   Permanency Planning for the Sexually Abused Child. (1 day) Michigan Association of Court
       Appointed Special Advocates. Kalamazoo, MI.
1991   Diagnosis and Treatment of Child Sexual Abuse. (2 days) Sarnia-Lampton Child Abuse
       Council. Sarnia, Ont. Canada.
1991   Assessing Children Alleged to Have Been Sexually Abused. (1 day) Alpena County
       Prosecutor’s Office, Alpena, MI.
1991   Evaluating Children for Sexual Abuse. Wayne County Clinic for Child Study, Detroit, MI.
1990   Providing Expert Testimony in Court. Children’s Center of Michigan, Detroit, MI.
1990   False Allegations of Sexual Abuse. Children’s Center of Michigan, Detroit, MI.
1990   Ritual Abuse of Children. Children’s Center of Michigan, Detroit, MI.
1990   New Knowledge About Child Sexual Abuse. Essex County Child Abuse Council, Windsor, Ont,
       Canada.
1990   Treatment of Child Sexual Abuse. Livingston County Community Mental Health, Brighton, MI.
1990   Child Maltreatment: Physical and Sexual Abuse. Michigan Psychological Association, Novi, MI.
1990   Treatment of Sexually Abused Children. Sarah Fisher Home, Detroit, MI.
1990   Emotional Maltreatment of Children. Washtenaw County Council for Children, Ann Arbor, MI.
1990   Female Perpetrators of Sexual Abuse. Children’s Center of Michigan, Detroit.
1990   Allegations of Child Abuse in Divorce. University of Michigan Continuing Education in the
       Human Services, Detroit.
1990   Treatment of Sexually Abused Children. Livingston County Community Mental Health,
       Howell, MI.
1990   Adolescents and Child Sexual Abuse. Michigan Runaway Network, Lansing, MI.
1990   The Diagnosis and Treatment of Adolescent Sex Offenders. Windsor-Essex O.A.P.S.W. and the
       Roman Catholic Children’s Aid Society, Windsor, Ont., Canada.
1990   Ritual Abuse of Children. Eastwood Community Clinic, Detroit.
1989   Child Sexual Abuse. Shiawassee County Department of Social Services, Shiawassee, MI.
1989   Critical Issues in Child Sexual Abuse. Interdisciplinary Project on Child Abuse and Neglect,
       Detroit.
1989   Interviewing Victims of Child Sexual Abuse. Child Abuse and Neglect Council of Oakland
       County, Pontiac, MI.
1989   Child Sexual Abuse: Diagnosing True and False Allegations. Ottawa County Child and Family
       Services, Holland, MI.
1989   Child Sexual Abuse: An Overview. Washtenaw County Council for Children, Ann Arbor, MI.
1989   A Generic Model of Child Welfare Service Delivery. University of Michigan Continuing
       Education in the Human Services, Ann Arbor, MI.
1989   Child Sexual Abuse, (2 days) with Don Duquette, J.D., Northwest Region Council on Child
       Abuse and Neglect, Petoskey, MI.
1989   Community Approach to Child Sexual Abuse, with others, (2 three day sessions),
       Interdisciplinary Project on Child Abuse and Neglect, Escanaba, MI, and Ann Arbor, MI.
1988   Emotional Maltreatment of Children. Michigan State Department of Social Services, Grand
       Rapids, MI.
1988   SAID Syndrome, Fact or Fallacy. Kent County Council for the Prevention of Child Abuse and
       Neglect and Grand Valley State College, Grand Rapids, MI.



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1988   Female Perpetrators of Sexual Abuse. Ypsilanti Regional Psychiatric Hospital, Ypsilanti, MI.
1988   Community Approach to Child Sexual Abuse, two sessions of three days, University of
       Michigan Interdisciplinary Project on Child Abuse and Neglect, Ann Arbor, MI.
1988   Adolescent Sex Offenders and Prevention of Sexual Abuse. National Council on Child Abuse
       and Neglect Workshop for Challenge Grantees, Washington, DC.
1988   Sexual Abuse of Children: A Victim-Centered Approach, with Lisa D’Aunno, JD, (three days)
       University of Michigan Continuing Education in Human Services, Ann Arbor, MI.
1988   Organizing Intervention for Sexually Abused Children. Wexford County Child Abuse Council,
       Cadillac, MI.
1988   Child Neglect. Lucas County Child Abuse Council, Toledo, OH.
1988   Emotional Abuse and Neglect. Michigan Child Abuse Council, Battle Creek, MI.
1988   Treatment of Sexually Abused Children. Huron Valley Child Guidance Clinic, Ann Arbor, MI.
1988   False Allegations of Sexual Abuse. Macomb County Child Abuse Council, Mt. Clemens, MI.
1987   Child Abuse and Neglect. St. Joseph Hospital SCAN Team, Flint, MI.
1987   Emotional Abuse and Neglect. State of Michigan Foster Care Review Boards, Grand Rapids,
       MI.
1987   False Allegations of Sexual Abuse. University of Michigan Child Protection Team, Ann Arbor,
       MI.
1987   Follow-Up Training for Community Based Child Sexual Abuse Teams. University of Michigan,
       Interdisciplinary Project on Child Abuse and Neglect, Ann Arbor, MI.
1987   Adolescent Maltreatment. Michigan Committee for the Prevention of Child Abuse, Lansing,
       MI.
1987   Community Approach to Child Sexual Abuse. (three sessions of three days), University of
       Michigan, Interdisciplinary Project on Child Abuse and Neglect, Ann Arbor, MI.
1987   Interviewing Sexually Abused Children Jackson County Department of Social Services,
       Jackson, MI.
1987   Validating Cases of Sexual Abuse. Essex County Child Abuse Council, Windsor, Ont., Canada.
1986   The Family of the Sexually Abused Child. Cleveland Public Schools, Cleveland, OH.
1986   The Effects of Sexual Abuse Through the Life Cycle. Cleveland Public Schools, Cleveland, OH.
1986   Child Sexual Abuse. (one day), Lorain County Community College, Lorain, OH.
1986   Child Sexual Abuse. (one day) Williams County Children’s Services Board, Williams County,
       OH.
1986   Outreach Treatment in Child Sexual Abuse. Down River Guidance Center, Wayne County, MI.
1986   Psychological Evaluations in Child Abuse and Neglect. Lucas County Child Abuse Prevention
       Center, Toledo, OH.
1986   Community Approach to Child Sexual Abuse, (two sessions of three days, with others).
       University of Michigan, Interdisciplinary Project on Child Abuse and Neglect, Ann Arbor, MI.
1985   Indicators of Child Sexual Abuse. Beacon Day Treatment Center, Wayne County, MI.
1985   Investigating Cases of Sexual Abuse. (one-half day) Lucas County Children’s Services Board,
       Toledo, OH.
1985   Investigating Cases of Physical Abuse. (one-half day) Lucas County Children’s Services Board,
       Toledo, OH.
1985   Psychological Evaluations in Child Protection Cases. (one-half day) Lucas County Children’s
       Services Board, Toledo, OH.
1985   Sexual Abuse Allegations in Child Custody Cases, with others (one-half day) Ann Arbor Center
       for the Family, Ann Arbor, MI.



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1985   Assessment of Child Sexual Abuse. Children’s Psychiatric Hospital, University of Michigan,
       Ann Arbor, MI.
1985   Developing Multidisciplinary Child Abuse and Neglect Teams. (one day) University of
       Michigan, Interdisciplinary Project on Child Abuse and Neglect, Grayling, MI.
1985   Follow-Up Training Session for Multidisciplinary Teams, with Interdisciplinary Project on
       Child Abuse and Neglect faculty (two sessions of two days) University of Michigan,
       Interdisciplinary Project on Child Abuse and Neglect, Ann Arbor, MI.
1985   The Effects of Child Sexual Abuse. Ypsilanti Regional Psychiatric Hospital, Ypsilanti, MI.
1984   Child Sexual Abuse. Mercywood Hospital, Ann Arbor, MI.
1984   Child Sexual Abuse, (one day). Monroe County Child Abuse and Neglect Council, Monroe, MI.
1984   Use of Anatomically Explicit Dolls in Sexual Abuse Diagnosis. Livingston County Child Abuse
       and Neglect Council, Howell, MI.
1984   Intake Management in Child Welfare. Lucas County Children’s Services Board, Toledo, OH.
1984   Multidisciplinary Approaches to Foster Care. Michigan Department of Social Services,
       Lansing, MI.
1984   Assessment and Treatment of Child Sexual Abuse, (two half days) Community Mental Health,
       Lincoln Park, MI.
1984   Assessment and Treatment of High Risk Infants and Toddlers, with Vivian Shapiro, MSW,
       (two days) University of Michigan Continuing Education in Human Services, University of
       Michigan, Ann Arbor, MI.
1984   Recent Research in Child Maltreatment. University of Michigan Science Research Club,
       University of Michigan, Ann Arbor, MI.
1984   Diagnosis and Treatment of Child Sexual Abuse. (one day) Jefferson County Children’s
       Services Board, Jefferson County, OH.
1984   Long-term Treatment Issues in Child Sexual Abuse. (one day) Family Outreach Center Annual
       Workshop, Grand Rapids, MI.
1984   Interdisciplinary Management of Child Abuse and Neglect, with Interdisciplinary Project on
       Child Abuse and Neglect faculty. (two sessions of three days) University of Michigan,
       Interdisciplinary Project on Child Abuse and Neglect, Ann Arbor, MI.
1984   Sexual Abuse in Institutions. Michigan Department of Social Services, Bureau of Licensing,
       Lansing, MI.
1983   Diagnosis and Case Management in Child Sexual Abuse. (three days) University of Michigan
       Continuing Education in Human Services, Ann Arbor, MI.
1983   Diagnosis of Child Sexual Abuse. Jackson County Child Abuse and Neglect Prevention Council,
       Jackson, MI.
1983   Child Sexual Abuse. Lenawee County Child Abuse and Neglect Council, Adrian, MI.
1983   Differential Diagnosis of Child Sexual Abuse. Livingston County SCAN Team, Howell, MI.
1983   Differential Diagnosis in Child Abuse and Neglect, (three sessions of one-half day) Lucas
       County Children’s Services Board, Toledo, OH.
1983   Protocol for Evaluating Allegations of Physical Abuse. (two sessions of one-half day) Lucas
       County Children’s Services Board, Toledo, OH.
1983   Protocol for Evaluating Allegations of Sexual Abuse. (one day) Lucas County Children’s
       Services Board, Toledo, OH.
1983   Child Sexual Abuse (three days) Niagara Region Child and Family Services, Niagara, Canada.
1983   Child Sexual Abuse. University of Michigan Continuing Medical Education, Ann Arbor, MI.
1983   Child Sexual Abuse. (two sessions of two hours) York Woods, Ypsilanti, MI.



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1983  Diagnosis of Child Sexual Abuse. Woodcreek Counseling Service, Farmington, MI.
1982  Treatment and Child Sexual Abuse. (one day) Alpena County Council for Children at Risk,
      Alpena, MI.
1982 In-Service on Child Sexual Abuse. Ann Arbor Schools, Ann Arbor, MI.
1982 Child Sexual Abuse. (two days) Hamilton County Department of Public Welfare, Cincinnati,
      OH.
1982 Social Work Intervention with Involuntary Clients. (two days) University of Michigan
      Continuing Education in the Human Services, Ann Arbor, MI.
1982 Workshop on Child Sexual Abuse. Washtenaw County Coordinating Council for Child at Risk,
      Ann Arbor, MI.
1981 Emotional Abuse and Neglect: Interdisciplinary Collaboration in Child Abuse and Neglect.
      (one day) Lucas County Children’s Services Board, Toledo, OH.
1981 Emotional Abuse and Neglect. (one day) Michigan Department of Social Services, Traverse
      City, MI.
1981 Interdisciplinary Approaches to Permanency Planning for Children, with Donald Duquette,
      JD, (four sessions of one day workshops) Michigan Department of Social Services, Detroit,
      Lansing, Saginaw, Traverse City, MI.
1981 Multidisciplinary Management of Child Abuse and Neglect, with Interdisciplinary Project on
      Child Abuse and Neglect faculty. (two training sessions of three days) Michigan Department
      of Social Services, Detroit, Gaylord, MI.
1981 Interdisciplinary Management of Child Sexual Abuse, with Ellen Tickner, JD. (three day
      symposium) University of Michigan Continuing Education in the Human Services, Ann Arbor,
      MI.
1980 Child Sexual Abuse. (one day) Crawford County Consortium, Grayling, MI.
1980 Child Sexual Abuse: Assessment and Treatment. (one-half day) Michigan Department of
      Social Services, Detroit, MI.
1980 Multidisciplinary Management of Child Abuse and Neglect, with Interdisciplinary Project on
      Child Abuse and Neglect faculty. (three sessions of two days) Michigan Department of Social
      Services, Ann Arbor, Lansing, Grand Rapids, MI.
1980 Treatment of Child Sexual Abuse. (one-half day) Michigan Department of Social Services,
      Marquette, MI.
1980 Treatment of Child Sexual Abuse. (one-half day) Michigan Department of Social Services,
      Kalamazoo, MI.
1980 Interdisciplinary Management of Child Sexual Abuse, with Donald N. Duquette, JD. (three day
      symposium) University of Michigan Continuing Education in the Human Services, Ann Arbor,
      MI.
1980- Multidisciplinary Management of Child Abuse and Neglect. (Ten sessions of three day
1984 workshops on for professionals from forty Michigan counties) University of Michigan
      Interdisciplinary Project on Child Abuse and Neglect.
1979 Expert Witnessing in Cases of Child Abuse and Neglect. (two sessions), Beth Mosher Clinic,
      Jackson, MI.
1979 Child Abuse and Neglect, with others. (two day workshop) Eastern Michigan University and
      Washtenaw Community College Continuing Education Programs, Ypsilanti, MI.
1978 Intervention Strategies in Child Abuse and Neglect with M. L. Bowden, ACSW. (one day
      workshop), Child Abuse Prevention Center, Toledo, OH.




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1978   Child Abuse and Neglect for Mental Health Professionals. (one day workshop)         Institut
       fur Ehe und Familie, Zurich, Switzerland.
1978   Professional Roles in Child Abuse and Neglect with Donald Duquette, J.D. (two day workshop)
       Northwest Detroit Interagency Council, Detroit, MI.
1978   Child Abuse and Neglect. University of Michigan Continuing Education for Physicians; Family
       Practice Seminars, Ann Arbor, MI.
1978   Child Abuse and Neglect. Emergency Room Physicians’ Seminars, Ann Arbor, MI.
1978   The Use of Network Therapy with Abusive and Neglectful Families. University of Michigan
       Hospital, Ann Arbor, MI.
1978   The Use of Network Therapy with Abusive and Neglectful Families. Washtenaw County
       Catholic Social Services, Ann Arbor, MI.
1977   Monthly one-half day training sessions for Washtenaw County Protective Services and
1980   Child Welfare Workers, Ann Arbor, MI.
1977   Monthly day-long training sessions for Wayne County Protective Services Workers,
1980   Detroit, MI.
1977   Case simulation with Interdisciplinary Project on Child Abuse and Neglect. Michigan
       Department of Social Services, Governor’s Conference on Community Networks for Child
       Abuse and Neglect, Lansing, MI.
1977   Workshop on Child Abuse and Neglect, with Paul Glasser, Ph.D., Donald Duquette, J.D.,
       University of Michigan Mental Health Skills Lab, Detroit.
1971   In-Service Teacher Training in Behavior Modification in Classroom Management, with Sally
       Iman, M.S.W., Jackson County Elementary Schools, Jackson, MI.

LICENSURE/CERTIFICATIONS
Academy of Certified Social Workers, National Association of Social Workers (NASW); I.D. #
881396606
Licensed Clinical and Macro Social Worker--State of Michigan; I.D. # 6801061768; L880104
Diplomate in Clinical Social Work, National Association of Social Workers (NASW)
National Register of Clinical Social Workers, National Association of Social Workers (NASW)

MEMBERSHIP IN PROFESSIONAL ORGANIZATIONS
National Association of Social Workers
American Professional Society on the Abuse of Children (APSAC)
        Board of Directors 1991-1997; Executive Committee 1992-1997
x       Advisory Board 1998-2008
        Co-chair, Guidelines Task Forces 1994-2000
        Board of Directors, Michigan Chapter of APSAC 1997-2001
        Board of Directors, 2013-2015
        Executive Committee 2014-2015
        Chair, Guidelines Task Forces 2013-2015
Society on Social Work and Research
International Society for the Prevention of Child Abuse and Neglect
National Organization of Forensic Social Work
American Association of Orthopsychiatry
Council on Social Work Education




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July, 2015.




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                          Elizabeth Ann Toplyn, Ph.D., L.P.
                              4955 Hickory Pointe Blvd
                                 Ypsilanti, MI 48197
                                   734-434-3024

EDUCATION:

Ph.D. in Clinical Psychology, 1997, New School for Social Research, 65
Fifth Avenue, New York, New York 10001, 1997.
B.A. in Psychology, University of Michigan, Ann Arbor, Michigan, 1985.

LICENSES
Michigan License as Full Psychologist, 2006.
New York License, 1998.

PROFESSIONAL EXPERIENCE:

Family Assessment Clinic at Catholic Social Services, Ann Arbor, MI, April 2014 to present.
Provide psychological evaluations for select cases

Center for Forensic Psychiatry, Saline Michigan, April 2009 to present.
Conduct supervised court ordered criminal responsibility and competency
evaluations
Provide inpatient group treatment.
Provide psychological assessment of inpatients as needed.

Private Practice, Ann Arbor, MI, October 2008 to present.
Provide individual and family therapy to adults and children.

Catholic Social Services, Ann Arbor, MI, Psychologist February 2007-April 2009.
Saw adults and children for individual therapy.
Diagnoses include substance abuse, anxiety problems, depression, work and
relationship problems.

Daily Life Center, 5038 Miller Rd. Flint, MI, September 2006-February 2007.
Provided psychotherapy for individuals, children and couples.

Private Practice, New York, NY, May 2000-June 2006.
Provided play therapy and psychotherapy to children and adults.
Specialized in anxiety disorders and depression with adults.
Practice also focused on children with adoption issues and learning disabilities.
Worked with clients referred by EAP programs for difficulties on their job.

Che Senior Psychological Services, Brooklyn, NY October 2004-June 2006.


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Provided assessment and psychotherapy to residents of nursing homes and
rehabilitation facilities.
Included work with significant number of chronically mentally ill.

New York Foundling Hospital, Bronx, NY, October 1999-0ctober 2005.
Provided psychological assessment and psychotherapy for children in foster care.
Children ranged in age from 0 through 21.
Provided screening batteries to assess developmental delays.
Participated in and led clinical team meetings.
Developed extern program and supervised pre doctoral candidates.

Metropolitan Center for Mental Health, New York, NY, July 1994-May2000.
Provided psychotherapy and intakes in outpatient mental health clinic.
Provided suicidality assessments at time of intakes. Serviced both children and adults.
Provided therapy to clients residing in therapeutic community treating drug
addiction.

Catholic Charities, Thea Bowman Center, Brooklyn, NY, June 1998-September 1999.
Participated in and administered grant funded program aimed at providing foster care
children with mental health services in their primary care setting.
Collaborated care with family practitioner and nurse practitioner.
Provided psychological assessment to assess developmental and speech delays.
Provided psychotherapy to children.
Responsible for administrative duties in program.
Supervised part time clinician on grant.

Lakeside Family and Children's Services, Brooklyn, NY, October 1993-September 1995.
Provided psychological assessment to children in foster care.
Provided crisis intervention and short term psychotherapy to select group of children.
Collaborated with caseworkers and provided direction in regards to mental health
needs of children on their caseloads.

Renaissance Health Care Network/Sydenham, New York, NY, October 1993-June 1998.
Provided psychological assessment in developmental evaluation unit.
Assessed children ages 0-21 for developmental delays, speech delays, emotional issues
and learning disabilities.
Did individual and group psychotherapy with select group of children.
Provided group therapy supervision to M.A. level extern. Provided talented and gifted
assessments as well.

Creedmoor Psychiatric Center, Queens Village, NY, APA approved internship
September 1992 -August 1993.
Provided psychotherapy and assessment to patients on Creedmoor's transitional
community preparation unit.
Provided weekly psychotherapy to outpatient chronically mentally ill population.



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 TEACHING EXPERIENCE:
 Adjunct Faculty, College of New Rochelle, New York, NY, September 1999-September 2000.
 Taught Introductory Psychology course to undergraduates.
 Students included diverse student body and adult students.

 Manhattan Borough of Community College, New York, NY, 1996
 Taught Developmental psychology to nursing students in joint program with Harlem
Hospital.

 Berkeley College, New York, NY, 1989-1992.
 Taught introductory psychology, psychopathology, group dynamic, social psychology
 to community college students.

 REFERENCES AVAILABLE UPON REQUEST




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                        MARY B. ORTEGA, M.S.W., L.M.S.W., A.C.S.W.
                             O: (734) 998-9703 – (734) 926-4650
                            FAX: (734) 998-9710 - (734) 971-2730

EDUCATION:
1986 M.S.W. University of Michigan, Ann Arbor, MI
Major: Interpersonal Practice with Families and Groups
Minor: Community Organization
1977 B.A. Psychology, University of Michigan, Ann Arbor, MI

EMPLOYMENT:
Administrative/Clinical:
2013-Present Clinic Administrator/Clinical Social Worker
Family Assessment Clinic
Catholic Social Services Washtenaw County
2013-Present Clinic Administrator
Family Assessment Learning Laboratory for Education and Research
2011-Present Child Welfare Learning Community Coordinator
School of Social Work, University of Michigan
2002-2013 Clinic Administrator/Clinical Social Worker
Family Assessment Clinic
School of Social Work, University of Michigan
2000-2008 Clinical Administrator/Clinical Social Worker II
1992-1999 University Center for the Child and the Family
Rackham/IHA, University of Michigan

Teaching/Instruction:
2014-Present Part-time Lecturer
School of Social Work, Eastern Michigan University
2012-Present LEO II Faculty
School of Social Work, University of Michigan
2004-2005 Teaching Fellow, Field Project in Alaska
Global Intercultural Experience for Undergraduates (GIEU)
University of Michigan
2001-2005 Adjunct Faculty
School of Social Work, University of Michigan
1999-2000 Visiting Faculty

School of Social Work, New Mexico Highlands University
(February, 2009-Consulted on BSW/MSW Field Placement Outcome Measure)




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Date: March 17, 2017
Case name: M        /P       family
Contractual arrangement: The Family Assessment Clinic through Co-Director, Kathleen
Coulborn Faller, Ph.D., was contacted by James R. Marsh of the Marsh Law Firm on
February 3, 2015 to undertake a document review and family member assessments related
to the exploitation of the M       children in pornography. The contract specifies a fee of
$295 an hour for work on this case (document review, interviews, testing, report writing,
deposition, and court testimony) paid to Catholic Social Services of Washtenaw County. No
personal compensation is received for this review. The Clinic’s administrative support and
internal consultation are not billed.
Brief biographical sketch: KATHLEEN COULBORN FALLER, Ph.D., A.C.S.W., D.C.S.W., is
Marion Elizabeth Blue Professor Emerita at the University of Michigan. She is also Co-
Director of the Family Assessment Clinic at Catholic Social Services of Washtenaw County.
Dr. Faller is involved in research, clinical work, teaching, training, and writing in the area of
child welfare, child sexual abuse, and the child welfare workforce. She conducts case record
reviews where the issues related to child sexual abuse, other types of child maltreatment,
and child welfare and social work best practice. She has conducted over 300 juried
conference presentations at state, national, and international conferences and over 250
workshops.
She is the author, editor or co-editor of 10 books, including Social Work with Abused and
Neglected Children (The Free Press, 1981), Child Sexual Abuse: An Interdisciplinary Manual
for Diagnosis, Case Management, and Treatment (Columbia, 1988), Understanding Child
Sexual Maltreatment (Sage, 1990), Child Sexual Abuse: Intervention and Treatment
(Department of Health and Human Services, 1993), the American Professional Society on
the Abuse of Children Study Guide: Interviewing Children Suspected of Having Been Sexually
Abused (Sage, 1996), Maltreatment in Early Childhood: Tools for Research-based Intervention
(Haworth Press, 2000), Understanding and Assessing Child Sexual Maltreatment, Second
Edition (Sage, 2003), Interviewing Children about Sexual Abuse: Controversies and Best
Practice (Oxford, 2007), Seeking Justice in Child Sexual Abuse: Shifting Burdens and Sharing
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Responsibilities (Columbia, 2010) and Contested Issues in Child Sexual Abuse Evaluation
(2014), as well as approximately 100 research and clinical articles.
Reason for referral: Members of the M           /P        family were evaluated on February 24,
2015, a little over two years ago. The interviews described in this report were conducted as
a follow-up to assess the ongoing and current impact of the pornographic images of the
M        children on the victims and the family. The producers of the pornography were
R                M        , the children’s biological father, and J     B        , a General Motors
executive. Both men are currently incarcerated, but they distributed the pornography on
the internet. These images of sexual abuse of the M            girls are still available on the
internet and involve scores of additional offenders who have accessed, traded, shared, and
utilized the M        children’s sexual abuse images.
Process of evaluation: The children’s mother, A      P       , and Fiona1 were interviewed
on Mar. 17, 2017. Erin was supposed to be interviewed, but was in an auto accident and
had no means of transportation. Altogether, interviews with Mrs. P         and Fiona lasted
approximately 2.5 hours, an hour and a half of which was spent with Mrs. P         , with an
additional three-quarters of an hour spent with Fiona. Mrs. P        signed releases for the
interviews to be videotaped and for reports to be sent to their attorney, James Marsh. I was
assisted by Caitlyn Hayes and Jason Lam; graduate student interns at the University of
Michigan School of Social Work. The interns also took notes.
                    Interview with A                P         , mother of the victims
Mrs. P       was asked about the current family situation, her functioning, the functioning
of each of her children, her marriage, and the current impact of the downloading, sharing,
and trading of sexual abuse images of her children.
Current living situation: Mrs. P       , Fiona, 15, her husband, A      , and their daughter,
C         , now 8, now live in              , Indiana. When interviewed 2 years ago, Mrs.
P       expressed a wish to leave the state of Michigan. This was because of the publicity
related to the sexual abuse, the presence of pornographic images of her daughters on the
internet, and the fact that identifying information about her girls was also shared. Mrs.
P       was fearful that one of the people who downloaded the images might kidnap her
girls.
The move to              was prompted by a job offer in 2015 to do essentially the same
work she had done in Michigan: human resources work in a health setting, but at higher
pay. Mrs. P      did not want to disrupt Erin’s senior year of high school by moving, so the
health system allowed her to complete some of her work from home. Mrs. P          spent a
few days a week in             to complete the remainder of her work; the rest of the
family remained in Michigan. This arrangement ended in August, 2016 when the family,
with the exception of Erin, moved permanently to                .

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       Pseudonyms are used for the girls. Fiona is now 15 and her sister, Erin, is 18.
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Current functioning: Mrs. P        was quite traumatized when interviewed in 2015 and is
predisposed to anxiety. She was asked in the follow-up interview if she was doing well or
not doing so well. She stated that in some ways things were better, but in some ways worse.
She said that the knowledge of the continuing access by pedophiles to images of her
daughters is a source of ongoing trauma. It has also affected her memory, especially in
terms of the sequencing of events. She stated she has to compartmentalize in order to cope.
In 2015, when interviewed, Mrs. P        stated that one of the most traumatic aspects of the
discovery of the pornography involving her girls in 2010 was the assumption that she was
complicit, even though she was divorced from Mr. M          , the children’s father. After the
discovery of the child pornography, she was the subject of an open child protective services
case for three months, which was characterized by frequent and intrusive visits from
multiple child protective workers. During this time, she was very frightened that her
children would be removed. In 2015, Erin was engaging in a range of self-destructive
behaviors: skipping school, having unprotected sex, and using drugs. Erin also was
suffering from depression. Erin, when interviewed, had the insight to understand that these
behaviors and her affect were directly related to her sexual exploitation, which included
both the betrayal by her father and the knowledge that the images were being downloaded
and shared.
Mrs. P      was fearful that Erin’s behavior would result in another report to child
protective services, and the past CPS involvement would be used against her. During 2016,
her fear came true: there were two reports made to protective services. Erin and Fiona
were sneaking out of the house at night to meet with boys, who sexually exploited them,
and to use drugs. During this time, Fiona had sex with a boy who was 18 while she was
underage.
Mrs. P        said when the first CPS case was opened, she and her husband made a safety
plan which involved putting an alarm system on the windows so they would be alerted if
the girls tried to go out the window. The girls outsmarted the alarm system and went out
the window at least one additional time. In the morning the parents discovered that the
girls were gone and called the police. When the girls came home, the police gave them a
lecture which was directed especially at Erin, who was older. Erin, however, was defiant. A
second CPS investigation ensued. Mrs. P         said she and her husband were called “perps”
and she felt like a criminal. She was told she needed to take a parenting class; she observed
that parenting classes don’t teach how to raise children who have been sexually exploited
and who are aware that pedophiles are downloading their pornographic images. She was
also afraid that she would not be able to move to Indiana as the family was planning. After a
follow-up visit in August, 2016, she heard nothing more from CPS.
Fiona: At the time of the second report, Fiona confided in her brother that she was suicidal,
which he revealed to the parents. Fiona was then hospitalized in Havenwyck for about a
week. Mrs. P       stated the hospitalization was good for Fiona. She received good care
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there and was put on medication that stabilized her mood, though it made her tired. She
had been suffering from depression.
The move to                has also been good for Fiona. She likes her school: she is doing
well academically and has decent friends. Mrs. P        stated that she has a boyfriend who
treats her well. He lost his mother to cancer and they have a bond based upon the loss of a
parent (Mr. M         received a sentence of 45 years for sexually exploiting his daughters).
That said, Mrs. P       is still worried about Fiona. She states that Fiona believes that
because of her sexual exploitation, especially the fact that pedophiles are accessing the
images on the internet, she is predestined to be promiscuous. She states that Fiona “hangs
her value” on boys due to her father’s actions and absence, as well as due to knowing how
her images are being used online. Mrs. P         reports conversations with her daughter in
which Fiona has basically told her that she doesn’t know how to say no. She also is
concerned that Fiona has poor boundaries with peers with regards to how much she shares
about her sexual exploitation. Fiona told her about an incident from 8th grade in which a
peer made a post on social media asking ‘Who’s f’ed Fiona?’ Someone responded with ‘her
dad.’ Mrs. P       said she feels “crushed” hearing about it, but she is glad her daughter can
tell her these things.
Erin: Although Mrs. P       perceives Erin as doing better, she still has many challenges
because of the sexual exploitation and the presence of her images on the internet. Before
the family’s move to Indiana, Erin’s behavior was clearly out of control. She did not
complete high school. She was destructive of property, breaking windows in the home, and
assaultive. She lunged at her sister, K     , jumping on top of her, an experience that still is
a source of trauma for K       . She would defiantly smoke pot on the family’s front porch
and would leave when told to stop. She broke a window in an attempt to let her friends into
the house. The parents had to resort to calling the police on Erin, but Erin was “sassy to the
police”. On one occasion, Erin was arrested at the home and was found to be in possession
of drugs. She was placed in the back of the police car where she kicked at the car window.
When law enforcement told her to stop, she said she wanted to kill herself. They then took
her to hospital. Mrs. P      was hoping the psychiatric facility would keep her and she
would get help. However, she was let out after 24 hours and her behavior did not change.
Erin had one friend in particular who was arguably more self-destructive than herself. Erin
had a strong desire to “rescue” this friend. Her mother advised against this relationship, but
Erin felt that she had to support her because no one else was there for her. When the rest of
the family moved to               , Erin remained in Michigan. She and her friend moved into
an apartment together.
Erin’s friend had a boyfriend, who had his own “unsavory friends”. This group would come
over and take advantage of Erin and her friend. On one occasion, Erin tried to make these
people leave and they physically assaulted her. She told her landlord, who helped her file a
police report. The landlord evicted Erin’s friend. Now Erin lives alone in the apartment,
though her boyfriend spends a lot of time there. She works long hours at                 in
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order to pay rent. Ms. P      said Erin is diagnosed with bi-polar disorder and is on her
medication.
One thing that has helped Erin is that she had a very good counselor, but presently she is
not seeing the counselor. She also liked to draw, but she had stopped doing so. Recently,
however, she gave Mrs. P        artwork for her birthday.
Christina: Christina, now 8, was 1 year old when the pornography was discovered. Mrs.
P       reports she is doing well. She does not cope with change easily, and so Mrs. P
has to be sure that she has routines.
D (formerly S           ): D is transgender and is one of twins. He has been affected by
what has happened to his family. (Mrs. P        did not differentiate between the effect of
his younger sisters’ risk-seeking behaviors, the effect of having a father who made
pornography using his children, and the effect of the constant downloading of the
pornography from the internet.) He was identified by Mrs. P          as often being a resource
for his siblings. Dan is a student at               University, majoring in criminal justice,
and will graduate in May.
K      :K       is the other twin. She suffers from anxiety. She completed an internship
with Disney in Florida and currently is staying with Mrs. P       ’s parents. She was
supposed to move into Erin’s apartment, but did not because they don’t get along. Her
anxiety was exacerbated by the child pornography.
Marriage: We spent some time on the topic of the P        s’ marriage. Mrs. P     stated
that she is not the person she was when she and her husband got married. The sexual
abuse of her daughters and the presence of their pornographic images on the internet have
changed her dramatically and have had a profound impact on their relationship. She
believes that A         would rather not be married to the person she is today. She added
that they do not have a lot of fun together. This makes her sad.
Impact of the availability of sexual images of her daughters on the internet: Mrs. P
perceives that the circle of people downloading images of her daughters is getting bigger.
She continues to receive notices of new cases and progress on old cases, which she
forwards to her attorney, James Marsh. She estimates she receives about 15 a day, with
higher volume around the holidays. She stated she used to get a sense of control by
following the cases, but now doing so primarily makes her feel overwhelmed. As a mother,
she wants to write a letter to every perpetrator so that he (or she) can see there is a real
person who is affected. She wishes she could attend every sentencing and read her victim
impact statement, as she did during the prosecutions of Mr. M          and Mr. B       . She
wants to put a face on the victim so the perpetrators see there is a human being involved.
She said she “feels there is no way to heal.” The case (actually cases) never ends. She says
sometimes she sees information about cases in the news. She is drawn toward them and
feels she should be doing something, but she does not know what to do.
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She does not believe her children would ever have gotten into drugs, breaking windows, or
other problem behaviors had it not been for the making of pornography and its availability
on the internet. She is angry over the fact her daughter, Fiona, can’t say “no” to boys. “There
is no way that Fiona can get over this,” she said. “Just because she doesn’t look like the girl
in the picture anymore, it doesn’t mean she not affected by this anymore. All the moments
in her life will be affected by that moment.” She added, “There’s no way to fix or solve it.”
Mrs. P        said she is convinced Fiona will seek out the wrong people. At this point, she
was crying.
Mrs. P      wants some form of justice, but she doesn’t know if she believes in justice
anymore. She has lost hope. She is upset that people are still passing the images around,
and she has an acute awareness of the way those images are used as currency and to groom
new victims. She is affected by the knowledge that these images contribute to the
victimization of other children.
She was asked if she still has fears about predators tracking down her children. She said
she feels safer in Indiana, but she knows that her children would be pretty easy to track.
She tries to tell herself that the predators are interested in young children, so her teenage
and adult children are no longer targets. This is only moderately reassuring, however, and
she still feels a surge of anxiety at anything unexpected. For example, if she gets a call from
an unknown number on her cellphone, she assumes it is related to the pornography. She is
traumatized by white vans, which is what the children’s father drove.


                    Interview with Fiona P          , the primary victim
Fiona was interviewed for about 45 minutes. She was told that she would be asked a lot of
questions, but she did not have to answer a question if she did not want to. She was asked
about the move to              , her school, her friends, what she remembered about her
abuse, her relationships with her siblings, and the future. Fiona was soft-spoken and
somewhat reticent, but cooperative. She has matured markedly over the last two years.
Current living situation: Fiona and her family moved to               in August of 2016. She
described the move to               in positive terms, although later she said that she had
not wanted to move beforehand. She is happier there. She said the people in
are nicer and described her friends in Michigan as mean and not nice to her. People in
         care about her more. Her family consists of her mother, her stepfather, and her half-
sister, C        .
It does not seem that they do a lot together as a family. They watch TV and sometimes go to
the mall. Her mother cooks and cleans. Fiona has some chores, cleaning her room and her
bathroom, sometimes helping her mother with cooking, and putting dishes in the
dishwasher.
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School: Fiona said her school is one of the top 100 high schools in the country. She is a
freshman and the school has a center for freshman, which has made the transition to high
school easier. She has made lots of friends at school. When asked about what courses she is
taking, she said algebra, geography, biology, gym, and Spanish. This is her first year of
Spanish. She said that she gets lots of A’s and does well in everything except algebra. She
passed algebra, but will retake it because she does not want a low grade to impede her
ability to go to college.
Friends: When asked about friends and dating partners, Fiona said she has a few friends
and a boyfriend. She does not hang out with her friends that much outside of school. When
she does, they go to each other’s houses, talk to each other, and go to the mall. She has no
best friend yet. She said she has had a boyfriend since she first moved to              . He is
different from the boys in Michigan: they were exploitive, but he cares more about her. She
said that her new friends do not use drugs, so she has also stopped using drugs. She said
she does not miss it. Fiona reports that she uses social media to a moderate extent, but that
she does not post much and that her usual means of communicating with her friends is via
texting, rather than online.
In general, Fiona described her peers in Indiana as being nicer than peers in Michigan.
Peers in Michigan “hated” her. As an example, Fiona described an incident from 8th grade.
She was dating a boy with whom she had a sexual relationship. He had sex with another girl
who was very popular. Fiona broke up with him and he began dating the popular girl. Fiona
had sex with him again toward the end of the school year, and the girl found out. This
spurred a fight which Fiona’s sister Erin also became involved in. The girl sent two cars of
people to Fiona’s house. Fiona finished the account by saying, “Then it got bad.”
Relationship with Erin: Fiona was asked a little about the trouble she got into with Erin.
The two have a strong bond; out of all her siblings, she is closest with Erin. She said in
Michigan they did a lot of drugs and “crazy stuff.” They got into a lot of fights. They had sex
with boys. Fiona reported that Erin did drugs she had never heard of, and though she
herself did not use drugs to the same extent, she still did use them a lot. She described
arriving at school while high on Xanax, which resulted in her being sent to see the school
counselor. The counselor called child protective services. Fiona states the counselor also
told her peers’ parents that they should not be friends with her.
During this time, Fiona was experiencing severe depression related to her history of sexual
exploitation. In summer, she ended up in the hospital after disclosing to her brother, who
disclosed to her parents, that she was suicidal. Fiona said the people were really nice there
and helped her. She got on medication which made her depression better. She is still on
medication.
When asked if Erin ever comes to             , she said no. Fiona comes to Michigan on
weekends to see Erin. She stays at her apartment. There is no furniture so she sleeps on the
floor. They hang out and watch movies. She does not do drugs when she visits. Erin works a
lot at              .
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Fiona talked a little about Erin’s auto accident. She said Erin was racing and hit a patch of
ice and went off the road, totaling her car. Erin was not hurt. Now her mother has to buy
Erin a new car. Her mother is stressed because she still has a house in Michigan, bought a
house in               , and now has to buy Erin a new car.
C         : Fiona has a less than positive view of C       . She described her as “snobby,”
and with an attitude toward her parents. She stated she never would have acted that way at
8. Her stepdad allows it and babies C          , but mom tries to stop her. Sometimes
C          hits her parents. When asked about a specific instance, Fiona described an
incident when C            was kicking Fiona, her mother took away C            ’s iPad, and
C          had “a complete fit.” She added that when C          is told to go to her room, she
says, “No,” and she gets mad really easily.
The sexual exploitation: Fiona was asked what she remembered about the sexual
exploitation. She reported more recollections than she did two years ago. She said that
much of her memory was vague, but she remembered one incident. She said she was at her
dad’s house for the weekend, and none of her siblings were there. She remembered J
because he had come over before. Her dad had bought her a Lego set because she liked
Legos. The three of them were sitting on the floor making things with Legos, and she told
her father her back hurt. Her dad rubbed her back but then gave her medication for her
back. She fell asleep. She remembers waking up and she had thrown up all over herself. Her
dad gave her more medication and she fell asleep again. She remembers waking up again
and being naked with J       on top of her. J  left the room and said, “C     (her father’s
nickname), she’s up.” Fiona said she felt confused and didn’t think about it.
When asked about pictures, she remembered a time when she was wearing a bathing suit
because there was a pool at her dad’s house. She was asleep and the flash from the camera
woke her up. She asked why her dad was taking a picture of her. She now understands they
were making child pornography. She also said she knows they took pictures and sold them
on the internet.
Fiona said that knowing her images are available on the internet meant she could have
gone one of two ways in terms of development: becoming very socially anxious and
withdrawn, or becoming very sexual. She ended up being sexual, although she also has
social anxiety. She feels the better path was becoming sexual because she does not want to
be like her sister, K      .K       has social anxiety because of the sexual exploitation, and
Fiona notes that K         has never had a boyfriend.
With regards to the availability of the images, Fiona said, “It bothers me. I hate it,” but she
doesn’t sit there and feel bad about it. She said, “It was really bad at first,” but she is doing
better.
She does not consider her dad as a dad anymore. A              is a stepdad and cannot replace
her dad.
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Future: We asked Fiona again about college. She said she would like to go to
but is concerned that her grades won’t be good enough. She expects she will go to
community college for two years and then transfer. As to what she might want to study, she
said she was considering cosmetology or becoming a detective like her brother.
Fiona is not currently in counseling. She has difficulty trusting counselors due to the
incident when her school counselor called child protective services, as well as an additional
incident when her private counselor called child protective services after she disclosed
having sex with an 18 year-old boy. In spite of this, Fiona expressed a desire for counseling.
She stated that she knew that Erin had a good counselor and, and she would like to find
someone like that.
                                         Impressions
On the one hand, Mrs. P          is still functioning and trying to make the best decisions she
can for her children: both for Erin, who has been enormously damaged by her and her
siblings’ initial sexual exploitation and the continuing exploitation through the sharing of
images online, and for Fiona, who emulated her sister but has been helped by
hospitalization and relocation.
On the other, Mrs. P      , by her own communications and insights as well as our
observations, is chronically suffering, presently because of the knowledge that images of
the sexual exploitation of her children are regularly be accessed, downloaded, shared,
traded, and used for sexual gratification. She knows persons who access this material also
use the images to entice other victims into sexual exploitation. She is affected by how these
images are used.
Moreover, she is traumatized by knowledge that there are new and continuing cases
against these pedophiles and that the problem of her children’s exposure to more
perpetrators expands the scope of their exploitation. Despite the fact her children are
getting older and out of the range of desire of the pedophiles who are downloading their
images, she worries that some deranged pedophile will be able to track her children and do
them harm.
Erin’s self-destructive behavior and compromised capacity to have a decent life speak to
the catastrophic harm she has experienced not only because of her father’s betrayal, but
also because of the knowledge that she and her sisters are subject to repeated downloading
of their images which are used for the sexual gratification of sexual predators against
children. The likelihood of her ever having a normal life is minimal.
Fiona, although the primary object of the pornography, was drugged during most of the
sexual assaults. Thus, her memory of the sexual assaults is attenuated. Nevertheless, she
has an appreciation of how she was victimized. Her description about how she has
responded to her victimizations by becoming sexual indicates that both the experiences of
the sexual victimization and the knowledge that people are regularly downloading images
of her sexual victimization have resulted in high risk-taking behavior. Her close
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relationship with Erin has caused her to follow in her sister’s footsteps in expressing her
trauma by engaging in promiscuous and risky sexual behavior, substance abuse, and
aggressive behavior. Presently, because of hospitalization, medication, and relocation,
Fiona is doing much better. But she remains fragile and quite vulnerable to exploitation
because of her abuse and her knowledge of how the images of sexual abuse are currently
being used.


Respectively submitted,




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